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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                      Plaintiff
                                                               PA0001207060
  1   Guilty Conscience                                                              Colgems-EMI Music Inc. / WB Music Corp.
                                                               PA0000954422
  2   Freak Like Me                                            PA0001158289          Colgems-EMI Music, Inc. / Screen Gems-EMI Music, Inc.
  3   Wasted Years                                             PA0001819821          Cotillion Music, Inc.
                                                               Eu0000964275
  4   When Something Is Wrong With My Baby                                           Cotillion Music, Inc.
                                                               RE0000654514
 5    (515)                                                    PA0001062108          EMI April Music Inc.
 6    (sic)                                                    PA0001040104          EMI April Music Inc.
 7    50 Ways To Say Goodbye                                   PA0001799437          EMI April Music Inc.
 8    Be The One                                               PA0000795267          EMI April Music Inc.
 9    Beautiful                                                PA0001850260          EMI April Music Inc.
 10   Before I Forget                                          PA0001231062          EMI April Music Inc.
 11   Book Of John                                             PA0001910898          EMI April Music Inc.
 12   By Your Side                                             PA0001159519          EMI April Music Inc.
 13   Can U Handle It?                                         PA0001159345          EMI April Music Inc.
 14   Caught Up                                                PA0001159081          EMI April Music Inc.
 15   Choose                                                   PA0001157849          EMI April Music Inc.
 16   Cleveland Is The City                                    PA0001105255          EMI April Music Inc.
 17   Creep                                                    PA0000797832          EMI April Music Inc.
 18   Dance With My Father                                     PA0001105451          EMI April Music Inc.
 19   dearjohn                                                 PA0001624582          EMI April Music Inc.
 20   Digital (Did You Tell)                                   PA0001722498          EMI April Music Inc.
 21   Dirt                                                     PA0001640796          EMI April Music Inc.
 22   Dress On                                                 PA0001843834          EMI April Music Inc.
 23   Drips                                                    PA0001092246          EMI April Music Inc.
 24   Duality                                                  PA0001231062          EMI April Music Inc.
 25   Ego Tripping Out                                         PA0000065832          EMI April Music Inc.
 26   Elevate                                                  PA0001825038          EMI April Music Inc.
 27   Every Now And Then                                       PA0001131589          EMI April Music Inc.
 28   Everything Ends                                          PA0001102120          EMI April Music Inc.
 29   Eyeless                                                  PA0000965864          EMI April Music Inc.
 30   Fall                                                     PA0001920169          EMI April Music Inc.
 31   Follow Me                                                PA0001159084          EMI April Music Inc.
 32   Follow My Life                                           PA0001131993          EMI April Music Inc.
 33   G Is For Girl (A-Z)                                      PA0001649993          EMI April Music Inc.
 34   Get Inside                                               PA0001115051          EMI April Music Inc.
 35   Get Up Get Down                                          PA0001839489          EMI April Music Inc.
 36   God Bless                                                PA0001111571          EMI April Music Inc.
 37   God In Me                                                PA0001640766          EMI April Music Inc.
 38   Gone Be Fine                                             PA0000914750          EMI April Music Inc.
 39   Good Girl                                                PA0001807727          EMI April Music Inc.
 40   Good Girls Go Bad                                        PA0001167699          EMI April Music Inc.
 41   Heart Ain't A Brain                                      PA0001885554          EMI April Music Inc.
 42   Hero/Heroine                                             PA0001165802          EMI April Music Inc.
 43   How I Feel                                               PA0001159657          EMI April Music Inc.
 44   How Long                                                 PA0001850276          EMI April Music Inc.
 45   Human                                                    PA0001625982          EMI April Music Inc.
 46   I Can't Wait To Meetchu                                  PA0000986835          EMI April Music Inc.
 47   I Miss You                                               PA0000978102          EMI April Music Inc.
 48   I Wanna Be                                               PA0001589983          EMI April Music Inc.
 49   I Will                                                   PA0001850366          EMI April Music Inc.
 50   I Wish                                                   PA0001813030          EMI April Music Inc.
 51   I'm Running                                              PA0001640785          EMI April Music Inc.
 52   I've Committed Murder                                    PA0000976706          EMI April Music Inc.
 53   Inhale                                                   PA0001115050          EMI April Music Inc.
 54   Innocence                                                PA0001194022          EMI April Music Inc.
 55   Jane Doe                                                 PA0001065078          EMI April Music Inc.
 56   Kissed It                                                PA0001737022          EMI April Music Inc.
 57   Land of the Snakes                                       PA0001975666          EMI April Music Inc.
 58   Lately                                                   PA0001737021          EMI April Music Inc.




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                             Track                                  Reg. No.                                Plaintiff
 59    Left Behind                                             PA0001102120          EMI April Music Inc.
 60    Lesson Learned                                          PA0001590133          EMI April Music Inc.
 61    Let Me Love You                                         PA0001160636          EMI April Music Inc.
 62    Let's Go Out Tonight                                    PA0001166136          EMI April Music Inc.
 63    Like Sugar                                              PA0001850238          EMI April Music Inc.
 64    Little Girl                                             PA0001111575          EMI April Music Inc.
 65    London Bridge                                           PA0001165471          EMI April Music Inc.
 66    Love Sex Magic                                          PA0001649982          EMI April Music Inc.
 67    loveofmylife                                            PA0001625858          EMI April Music Inc.
 68    Luxurious                                               PA0001160424          EMI April Music Inc.
 69    Mannequin                                               PA0001888782          EMI April Music Inc.
 70    Mr. Man                                                 PA0001065080          EMI April Music Inc.
 71    My Fondest Childhood Memories                           PA0001131694          EMI April Music Inc.
 72    My Plague                                               PA0001102120          EMI April Music Inc.
 73    Nylon 6/6                                               PA0001718972          EMI April Music Inc.
 74    Old Man & Me                                            PA0000795267          EMI April Music Inc.
                                                               PA0001735856
 75 On Fire                                                                          EMI April Music Inc.
                                                               PA0001731108
  76   One Thing                                               PA0001848513          EMI April Music Inc.
  77   Only Wanna Be With You                                  PA0000734279          EMI April Music Inc.
  78   Orchids                                                 PA0001115050          EMI April Music Inc.
  79   Our Song                                                PA0001850280          EMI April Music Inc.
  80   Overjoyed                                               PA0001850364          EMI April Music Inc.
  81   Party Hard / Cadillac (Interlude)                       PA0002094531          EMI April Music Inc.
  82   Piano & I                                               PA0001065075          EMI April Music Inc.
  83   Pieces                                                  PA0001718970          EMI April Music Inc.
  84   Praise                                                  PA0000101381          EMI April Music Inc.
  85   Prelude 3.0                                             PA0001231062          EMI April Music Inc.
  86   Put Your Hands Up                                       PA0001850287          EMI April Music Inc.
  87   Radio                                                   PA0001850359          EMI April Music Inc.
  88   Relating To A Psychopath                                PA0001092131          EMI April Music Inc.
  89   Remind Me                                               PA0001743361          EMI April Music Inc.
  90   Return The Favor                                        PA0001667243          EMI April Music Inc.
  91   Rock Me In                                              PA0001626940          EMI April Music Inc.
  92   Rock That Body                                          PA0001666771          EMI April Music Inc.
  93   Say You'll Haunt Me                                     PA0001722494          EMI April Music Inc.
  94   Sexual Healing                                          PA0000162210          EMI April Music Inc.
  95   Shattered Heart                                         PA0001624650          EMI April Music Inc.
  96   She's So Mean                                           PA0001850358          EMI April Music Inc.
  97   Show Me                                                 PA0001804834          EMI April Music Inc.
  98   Sleeping At The Wheel                                   PA0001850160          EMI April Music Inc.
  99   So Beautiful                                            PA0001624586          EMI April Music Inc.
 100   Space                                                   PA0001194022          EMI April Music Inc.
 101   Speechless                                              PA0001131696          EMI April Music Inc.
 102   Spit It Out                                             PA0000965864          EMI April Music Inc.
 103   Spread Yo Shit                                          PA0001245481          EMI April Music Inc.
 104   Still                                                   PA0000986836          EMI April Music Inc.
 105   Surfacing                                               PA0000965864          EMI April Music Inc.
 106   Take A Number                                           PA0001115050          EMI April Music Inc.
 107   Take Our Time                                           PA0000797830          EMI April Music Inc.
 108   Taken                                                   PA0001813025          EMI April Music Inc.
 109   The Bitter End                                          PA0001718944          EMI April Music Inc.
 110   The Blister Exists                                      PA0001231062          EMI April Music Inc.
 111   The Definition                                          PA0001626025          EMI April Music Inc.
 112   The Fighter                                             PA0001806416          EMI April Music Inc.
 113   The Heretic Anthem                                      PA0001102120          EMI April Music Inc.
 114   The Impossible                                          PA0001145924          EMI April Music Inc.
 115   The Life                                                PA0001065079          EMI April Music Inc.
 116   The More I Drink                                        PA0001993843          EMI April Music Inc.
 117   The Nameless                                            PA0001231062          EMI April Music Inc.
 118   Think About You                                         PA0001105460          EMI April Music Inc.




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                                Track                               Reg. No.                                Plaintiff
 119   Think Like A Man                                        PA0001820629          EMI April Music Inc.
 120   Threadbare                                              PA0001718936          EMI April Music Inc.
 121   Throwback                                               PA0001159346          EMI April Music Inc.
 122   Troubles                                                PA0001065076          EMI April Music Inc.
 123   Tumult                                                  PA0001157849          EMI April Music Inc.
 124   U Make Me Wanna                                         PA0001241284          EMI April Music Inc.
 125   Undertow                                                PA0001779997          EMI April Music Inc.
 126   Vermilion Pt. 2                                         PA0001231062          EMI April Music Inc.
 127   Wait And Bleed                                          PA0001040104          EMI April Music Inc.
 128   Walking                                                 PA0001738379          EMI April Music Inc.
 129   Waterfalls                                              PA0000797831          EMI April Music Inc.
 130   What Makes You Beautiful                                PA0001790417          EMI April Music Inc.
 131   What's A Guy Gotta Do                                   PA0001159557          EMI April Music Inc.
 132   When You Really Love Someone                            PA0001158370          EMI April Music Inc.
 133   Who Is She 2 U (Recall Version)                         PA0001159573          EMI April Music Inc.
 134   Your Heart Is A Muscle                                  PA0001842646          EMI April Music Inc.
 135   Your Secret Love                                        PA0000826398          EMI April Music Inc.
 136   4 Minutes                                               PA0001164517          EMI April Music Inc.
 137   And I                                                   PA0001159779          EMI April Music Inc.
 138   Angel Eyes                                              PA0001810572          EMI April Music Inc.
 139   Attention                                               PA0001621899          EMI April Music Inc.
 140   Bat Country                                             PA0001162004          EMI April Music Inc.
 141   Beast And The Harlot                                    PA0001162005          EMI April Music Inc.
 142   Betrayed                                                PA0001162006          EMI April Music Inc.
 143   Biting Down                                             PA0002007289          EMI April Music Inc.
 144   Blinded In Chains                                       PA0001162007          EMI April Music Inc.
 145   Bodies                                                  PA0001731809          EMI April Music Inc.
 146   Burn It Down                                            PA0001162008          EMI April Music Inc.
 147   Butterflyz                                              PA0001065075          EMI April Music Inc.
 148   Caged Bird                                              PA0001065075          EMI April Music Inc.
 149   Camouflage                                              PA0001743344          EMI April Music Inc.
 150   Can U Help Me                                           PA0000846618          EMI April Music Inc.
 151   Cry Baby                                                PA0001731812          EMI April Music Inc.
 152   Diary                                                   PA0000115368          EMI April Music Inc.
 153   Do It All Again                                         PA0001866549          EMI April Music Inc.
 154   Do It To Me                                             PA0001159080          EMI April Music Inc.
 155   Dragon Days                                             PA0001158214          EMI April Music Inc.
 156   Drive (For Daddy Gene)                                  PA0001118350          EMI April Music Inc.
 157   Fallin' (Remix)                                         PA0001118374          EMI April Music Inc.
 158   Feeling U, Feeling Me (Interlude)                       PA0001158215          EMI April Music Inc.
 159   Fold Your Hands Child                                   PA0001656112          EMI April Music Inc.
 160   Girlfriend                                              PA0001065074          EMI April Music Inc.
 161   Glass                                                   PA0001157807          EMI April Music Inc.
 162   Harlem's Nocturne                                       PA0001158371          EMI April Music Inc.
                                                               PA0001920258
 163 I Love LA                                                                       EMI April Music Inc.
                                                               PA0001879197
 164 I Want You                                                PA0001731813          EMI April Music Inc.
 165 If I Ain't Got You                                        PA0001158216          EMI April Music Inc.
 166 It's All About The Pentiums                               PA0000976952          EMI April Music Inc.
                                                               PA0001920253
 167 Just For One Day                                                                EMI April Music Inc.
                                                               PA0001879169
 168   Karma                                                   PA0001158372          EMI April Music Inc.
 169   M.I.A.                                                  PA0001162010          EMI April Music Inc.
 170   Million Dollar Bills                                    PA0002007289          EMI April Music Inc.
 171   No Better                                               PA0002007289          EMI April Music Inc.
 172   Nobody Not Really (Interlude)                           PA0001158373          EMI April Music Inc.
 173   Pete Wentz Is The Only Reason We're Famous              PA0001667218          EMI April Music Inc.
 174   Pretty Boy Swag                                         PA0001734530          EMI April Music Inc.
 175   Royals                                                  PA0002007289          EMI April Music Inc.
 176   Samsonite Man                                           PA0001158374          EMI April Music Inc.
 177   Satisfied                                               PA0001731823          EMI April Music Inc.




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                                Track                               Reg. No.                                      Plaintiff
 178   Seize The Day                                           PA0001162009          EMI April Music Inc.
 179   Sensuality                                              PA0001395664          EMI April Music Inc.
 180   Sidewinder                                              PA0001162011          EMI April Music Inc.
 181   Slow Down                                               PA0001158938          EMI April Music Inc.
 182   Strength Of The World                                   PA0001162012          EMI April Music Inc.
 183   The Love Club                                           PA0001904440          EMI April Music Inc.
 184   The Scene Is Dead; Long Live The Scene                  PA0001662732          EMI April Music Inc.
 185   The Wicked End                                          PA0001162014          EMI April Music Inc.
 186   The World Will Never Do                                 PA0001662901          EMI April Music Inc.
 187   Thug Mentality                                          PA0001023895          EMI April Music Inc.
 188   Trashed And Scattered                                   PA0001162013          EMI April Music Inc.
 189   Twork It Out                                            PA0000846613          EMI April Music Inc.
 190   Wake Up                                                 PA0001158369          EMI April Music Inc.
 191   Wet Hot American Summer                                 PA0001662916          EMI April Music Inc.
 192   When It Hurts                                           PA0001621885          EMI April Music Inc.
 193   Where Were You (When the World Stopped Turning)         PA0001076926          EMI April Music Inc.
 194   Y.O.U.                                                  PA0001621886          EMI April Music Inc.
 195   Yeah!                                                   PA0001159089          EMI April Music Inc.
 196   You                                                     PA0001621886          EMI April Music Inc.
 197   Come Back                                               PA0000893388          EMI April Music Inc.
 198   My Way                                                  PA0000893387          EMI April Music Inc.
 199   Nice And Slow                                           PA0000893386          EMI April Music Inc.
 200   One Day You'll Be Mine                                  PA0000893389          EMI April Music Inc.
 201   Papers                                                  PA0001753740          EMI April Music Inc.
 202   You Make Me Wanna...                                    PA0000893384          EMI April Music Inc.
                                                               PA0001033071
 203 Just Like Me                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0000893385
 204   Have Some Fun                                           PA0001158407          EMI April Music Inc. / EMI Blackwood Music Inc
 205   Right On the Money                                      PA0000922532          EMI April Music Inc. / EMI Blackwood Music Inc
 206   All I Ever Wanted                                       PA0001131835          EMI April Music Inc. / EMI Blackwood Music Inc.
 207   Changes                                                 PA0001731492          EMI April Music Inc. / EMI Blackwood Music Inc.
 208   Everywhere                                              PA0001731500          EMI April Music Inc. / EMI Blackwood Music Inc.
 209   In Memory                                               PA0001131837          EMI April Music Inc. / EMI Blackwood Music Inc.
 210   Left Out                                                PA0001131839          EMI April Music Inc. / EMI Blackwood Music Inc.
 211   Make My Day                                             PA0001731490          EMI April Music Inc. / EMI Blackwood Music Inc.
 212   Meet Virginia                                           PA0000695779          EMI April Music Inc. / EMI Blackwood Music Inc.
 213   Never Forget You                                        PA0001738485          EMI April Music Inc. / EMI Blackwood Music Inc.
 214   Seduction                                               PA0001159869          EMI April Music Inc. / EMI Blackwood Music Inc.
 215   Take Your Hand                                          PA0001159167          EMI April Music Inc. / EMI Blackwood Music Inc.
 216   Takin' It There                                         PA0001640699          EMI April Music Inc. / EMI Blackwood Music Inc.
 217   When The Music Stops                                    PA0001073068          EMI April Music Inc. / EMI Blackwood Music Inc.
 218   Who Dat                                                 PA0001640769          EMI April Music Inc. / EMI Blackwood Music Inc.
 219   You Don't Know My Name                                  PA0001158217          EMI April Music Inc. / EMI Blackwood Music Inc.
 220   Better Version                                          PA0001131836          EMI April Music Inc. / EMI Blackwood Music Inc.
 221   Lacerated                                               PA0001131838          EMI April Music Inc. / EMI Blackwood Music Inc.
 222   Outro (Obie Trice/ Cheers)                              PA0001159257          EMI April Music Inc. / EMI Blackwood Music Inc.
 223   Piano Man                                               PA0001625977          EMI April Music Inc. / EMI Blackwood Music Inc.
 224   So Simple                                               PA0001158375          EMI April Music Inc. / EMI Blackwood Music Inc.
 225   Streets Of New York                                     PA0001162554          EMI April Music Inc. / EMI Blackwood Music Inc.
 226   Un-thinkable (I'm Ready)                                PA0001666749          EMI April Music Inc. / EMI Blackwood Music Inc.
 227   Warm It Up (With Love)                                  PA0001624745          EMI April Music Inc. / EMI Blackwood Music Inc.
                                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / Sony/ATV Music
 228 Like This                                                 PA0001072623
                                                                                     Publishing LLC
                                                               PA0001227184          EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane
 229 Bad Girl
                                                               PA0001159548          Publishing Corp.
                                                               PA0001227182          EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane
 230 Simple Things
                                                               PA0001159549          Publishing Corp.
                                                               PA0001227183          EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane
 231 That's What It's Made For
                                                               PA0001159550          Publishing Corp.
                                                               PA0001227182          EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-Tamerlane
 232 Truth Hurts
                                                               PA0001159551          Publishing Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                        Plaintiff
                                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / Warner-
 233 Someone To Love Me (Naked)                                PA0001842413
                                                                                     Tamerlaner Publishing Corp.
                                                               PA0001750279
 234 Out Of My Head                                                                  EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001738574
                                                                                     EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music Corp. /
 235 We Run This Town                                          PA0001967419
                                                                                     Warner/Chappell Music, Inc.
                                                               PA0001870880          EMI April Music Inc. / EMI Blackwood Music Inc. / WB Music
 236 That's My Kind Of Night
                                                               PA0001967409          Corp./Warner/Chappell Music, Inc.
                                                                                     EMI April Music Inc. / EMI Consortium Songs Inc. d/b/a EMI
 237 A Moment To Myself                                        PA0000986838
                                                                                     Longitude Music
                                                                                     EMI April Music Inc. / EMI Consortium Songs, Inc. d/b/a EMI
 238 backagain                                                 PA0001395994
                                                                                     Longitude Music
 239 until                                                     PA0001624579          EMI April Music Inc. / Jobete Music Co Inc.
 240 Superstar                                                 PA0001159085          EMI April Music Inc. / Jobete Music Co. Inc.
                                                                                     EMI April Music Inc. / Jobete Music Co. Inc. / Warner-Tamerlane
 241 Die In Your Arms                                          PA0001793961
                                                                                     Publishing Corp.
                                                                                     EMI April Music Inc. / Songs of Universal, Inc. / Polygram Publishing,
 242 Good Man                                                  PA0001752533
                                                                                     Inc.
 243   All My Life                                             PA0001644944          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 244   Bossin' Up                                              PA0001908708          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 245   Bravado                                                 PA0001904440          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 246   Climax                                                  PA0001825135          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 247   Cold                                                    PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 248   Energy                                                  PA0001840559          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 249   Fistful Of Tears                                        PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 250   Help Somebody                                           PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 251   Love You                                                PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 252   Nothing                                                 PA0001072625          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 253   Phoenix Rise                                            PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 254   Playing Possum                                          PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 255   Respirator                                              PA0001821672          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 256   Save You Tonight                                        PA0001784623          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 257   Slower                                                  PA0001835570          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 258   Stop The World                                          PA0001707770          EMI April Music Inc. / Sony/ATV Music Publishing LLC
 259   Without You                                             PA0001877914          EMI April Music Inc. / Sony/ATV Music Publishing LLC
                                                                                     EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI
 260 Mind On My Money                                          PA0001807828
                                                                                     Blackwood Music
                                                                                     EMI April Music Inc. / Sony/ATV Music Publishing LLC / EMI
 261 Lemme See                                                 PA0001828069
                                                                                     Blackwood Music Inc.
                                                                                     EMI April Music Inc. / Sony/ATV Music Publishing LLC / Jobete Music
 262 Anything (To Find You)                                    PA0001900915
                                                                                     Co. Inc.
                                                                                     EMI April Music Inc. / Sony/ATV Music Publishing LLC / Warner-
 263 Brand New                                                 PA0001858773
                                                                                     Tamerlane Publishing Corp.
 264 My Boo                                                    PA0001159778          EMI April Music Inc. / Unichappell Music, Inc.
 265 Living In The Sky With Diamonds                           PA0001678956          EMI April Music Inc. / Unichappell Music, Inc. /WB Music Corp.
 266 Turn It Up                                                PA0001317543          EMI April Music Inc. / Universal Music Corp.
                                                               PA0001227181
 267 Burn                                                                            EMI April Music Inc. / W.B.M. Music Corp.
                                                               PA0001159079
                                                               PA0001227181
 268 Confessions Part II                                       PA0001159082          EMI April Music Inc. / W.B.M. Music Corp.
                                                               PA0001160227
                                                               PA0001227181
 269 Confessions Part II (Remix)                                                     EMI April Music Inc. / W.B.M. Music Corp.
                                                               PA0001160227
                                                               PA0001700475
 270 Hey Daddy (Daddy's Home)                                                        EMI April Music Inc. / W.B.M. Music Corp.
                                                               PA0001707160
                                                               PA0001248726
 271 U Got It Bad                                                                    EMI April Music Inc. / W.B.M. Music Corp.
                                                               PA0000846614
 272   Above The Law                                           PA0001808400          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 273   I'm On Everything                                       PA0001808404          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 274   I'm Still A Guy                                         PA0001167815          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 275   Loud Noises                                             PA0001808399          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                       Plaintiff
 276 One of Those Lives                                        PA0002004472          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 277 Take From Me                                              PA0001808393          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 278 You Know What                                             PA0001373489          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001651821
 279 A Milli                                                                         EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001646370
 280 Dirt Road Anthem                                          PA0001694080          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001851192
 281 Einstein                                                                        EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001771871
 282 Good To Me                                                PA0001016045          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001728545
 283 Ground Zero                                                                     EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001706473
 284 Gun Shot                                                  PA0001868333          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 285 Hands in the Air                                          PA0000186999          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
 286 Hold Up                                                   PA0001741949          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001648809
 287 Hustlenomics                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001648764
 288 I'm A G                                                   PA0001648787          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001387427
 289 Incredible                                                                      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001167536
 290 Legs Shakin'                                              PA0001933961          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001778259
 291 Pieces Of Me                                                                    EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001760343
 292 Rock the Pants                                            PA0001720639          EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001745296
 293 That Ain't Me                                                                   EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001744900
                                                               PA0001878243
 294 We Were Us                                                                      EMI April Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001947445
                                                               PA0001740847
 295 Billionaire                                                                     EMI April Music Inc. / WB Music Corp.
                                                               PA0001714525
 296 Breakdown                                                 PA0000896279          EMI April Music Inc. / WB Music Corp.
                                                               PA0001158218
 297 Heartburn                                                                       EMI April Music Inc. / WB Music Corp.
                                                               PA0001879469
 298   High Price                                              PA0001659051          EMI April Music Inc. / WB Music Corp.
 299   Shackles (Praise You)                                   PA0001157819          EMI April Music Inc. / WB Music Corp.
 300   Shawty                                                  PA0001765610          EMI April Music Inc. / WB Music Corp.
 301   Take You Down                                           PA0001395676          EMI April Music Inc. / WB Music Corp.
                                                               PA0001236716
 302 Turn It Up                                                                      EMI April Music Inc. / WB Music Corp.
                                                               PA0001159468
 303 Until It Breaks                                           PA0001840841          EMI April Music Inc. / WB Music Corp.
                                                                                     EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 304 4 Years Old                                               PA0001842281
                                                                                     Publishing Corp.
                                                               PA0001852357          EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 305 Hip Hop
                                                               PA0001874306          Publishing Corp.
                                                               PA0001679596          EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 306 Hot Mess
                                                               PA0001662752          Publishing Corp.
                                                                                     EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 307 Lighters                                                  PA0001842411
                                                                                     Publishing Corp.
                                                                                     EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 308 Nice Guys Finish Last                                     PA0001656109
                                                                                     Publishing Corp.
                                                               PA0001314213
                                                                                     EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 309 Real Hip Hop                                              PA0001159524
                                                                                     Publishing Corp.
                                                               PA0001241282
                                                                                     EMI April Music Inc. / WB Music Corp. / Warner-Tamerlane
 310 Someone Else                                              PA0001870024
                                                                                     Publishing Corp.
                                                               PA0001853121
 311 A Little Home                                                                   EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                               PA0001910890
                                                               PA0001743353
 312 Be The Lake                                                                     EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                               PA0002004490
                                                               PA0001742330
 313 Working On A Tan                                                                EMI April Music Inc. / WB Music Corp. / Warner/Chappell Music, Inc.
                                                               PA0002004468
 314 911                                                       PA0001837905          EMI Blackwood Music Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                    Plaintiff
 315   Am I Ever Gonna Find Out                                PA0001104897          EMI Blackwood Music Inc.
 316   Bad Things                                              PA0001164354          EMI Blackwood Music Inc.
 317   Beautiful Mess                                          PA0001153078          EMI Blackwood Music Inc.
 318   Breathing                                               PA0001051657          EMI Blackwood Music Inc.
 319   By The Way                                              PA0001640696          EMI Blackwood Music Inc.
 320   Celebrate                                               PA0001775496          EMI Blackwood Music Inc.
 321   Cling And Clatter                                       PA0001051657          EMI Blackwood Music Inc.
 322   Cool                                                    PA0001160425          EMI Blackwood Music Inc.
 323   Crazy Dream                                             PA0001159601          EMI Blackwood Music Inc.
 324   Dime Mi Amor                                            PA0001159602          EMI Blackwood Music Inc.
 325   Dreamer                                                 PA0001071485          EMI Blackwood Music Inc.
 326   Drive                                                   PA0001816534          EMI Blackwood Music Inc.
 327   English Town                                            PA0001850285          EMI Blackwood Music Inc.
 328   Even The Stars Fall 4 U                                 PA0001072625          EMI Blackwood Music Inc.
 329   Everybody                                               PA0001592998          EMI Blackwood Music Inc.
 330   Get To Me                                               PA0001867242          EMI Blackwood Music Inc.
 331   Goodbye Earl                                            PA0000969189          EMI Blackwood Music Inc.
 332   Heaven                                                  PA0001158408          EMI Blackwood Music Inc.
 333   Heaven                                                  PA0001159600          EMI Blackwood Music Inc.
 334   Hollywood                                               PA0001159603          EMI Blackwood Music Inc.
 335   Hurt So Good                                            PA0001842641          EMI Blackwood Music Inc.
 336   I Ain't Ready To Quit                                   PA0001728141          EMI Blackwood Music Inc.
 337   I Drive Your Truck                                      PA0001900113          EMI Blackwood Music Inc.
 338   If U Seek Amy                                           PA0001881662          EMI Blackwood Music Inc.
 339   If You Can Do Anything Else                             PA0000981323          EMI Blackwood Music Inc.
 340   International Harvester                                 PA0001642429          EMI Blackwood Music Inc.
 341   It's OK                                                 PA0001769596          EMI Blackwood Music Inc.
 342   La Contestacion                                         PA0001159599          EMI Blackwood Music Inc.
 343   Little Bit Of Everything                                PA0001947440          EMI Blackwood Music Inc.
 344   Long Distance Interlude                                 PA0001641290          EMI Blackwood Music Inc.
 345   Love Ain't Like That                                    PA0000894510          EMI Blackwood Music Inc.
 346   Love Somebody                                           PA0001824576          EMI Blackwood Music Inc.
 347   Mexicoma                                                PA0001910901          EMI Blackwood Music Inc.
 348   Miss You Being Gone                                     PA0001727845          EMI Blackwood Music Inc.
 349   More Than A Memory                                      PA0001864022          EMI Blackwood Music Inc.
 350   More Than Love                                          PA0001159604          EMI Blackwood Music Inc.
 351   My President                                            PA0001697454          EMI Blackwood Music Inc.
 352   Nobody Else                                             PA0001159606          EMI Blackwood Music Inc.
 353   Now I Know                                              PA0001162729          EMI Blackwood Music Inc.
 354   Nowhere Fast                                            PA0001642920          EMI Blackwood Music Inc.
 355   Onda                                                    PA0001160202          EMI Blackwood Music Inc.
 356   Out Of Breath                                           PA0001104538          EMI Blackwood Music Inc.
 357   Out of Character                                        PA0001395668          EMI Blackwood Music Inc.
 358   Parking Lot Party                                       PA0001900112          EMI Blackwood Music Inc.
 359   Pontoon                                                 PA0002049153          EMI Blackwood Music Inc.
 360   Praise You Forever                                      PA0001708382          EMI Blackwood Music Inc.
 361   Pucker Up                                               PA0001649988          EMI Blackwood Music Inc.
 362   Real Emotions                                           PA0001159607          EMI Blackwood Music Inc.
 363   Say Goodnight                                           PA0001756544          EMI Blackwood Music Inc.
 364   See You Again                                           PA0001807700          EMI Blackwood Music Inc.
 365   Senorita                                                PA0001159605          EMI Blackwood Music Inc.
 366   She Thinks My Tractor's Sexy                            PA0000950753          EMI Blackwood Music Inc.
 367   Simon                                                   PA0001051657          EMI Blackwood Music Inc.
 368   Someone Else's Song                                     PA0001051657          EMI Blackwood Music Inc.
 369   Something To Do With My Hands                           PA0001800963          EMI Blackwood Music Inc.
 370   Spin                                                    PA0001104539          EMI Blackwood Music Inc.
 371   Stanley Climbfall                                       PA0001104540          EMI Blackwood Music Inc.
 372   Tell Me Why                                             PA0001159608          EMI Blackwood Music Inc.
 373   That's Why I'm Here                                     PA0000867535          EMI Blackwood Music Inc.
 374   The One That Got Away                                   PA0001818449          EMI Blackwood Music Inc.
 375   The Recession                                           PA0001640694          EMI Blackwood Music Inc.




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                               Track                                Reg. No.                                    Plaintiff
 376   The Recession (Intro)                                   PA0001640694          EMI Blackwood Music Inc.
 377   There Goes My Baby                                      PA0001716542          EMI Blackwood Music Inc.
 378   This Kiss                                               PA0001864024          EMI Blackwood Music Inc.
 379   Time Flies                                              PA0001807051          EMI Blackwood Music Inc.
 380   Tiny Little Bows                                        PA0001820569          EMI Blackwood Music Inc.
 381   Trying                                                  PA0001051657          EMI Blackwood Music Inc.
 382   U Dont Know Me (Like U Used To)                         PA0000965774          EMI Blackwood Music Inc.
 383   Unknown                                                 PA0001051656          EMI Blackwood Music Inc.
 384   Velvet Sky                                              PA0001159613          EMI Blackwood Music Inc.
 385   What About Now                                          PA0001166336          EMI Blackwood Music Inc.
 386   When You Touch Me                                       PA0001072626          EMI Blackwood Music Inc.
 387   Why                                                     PA0001660621          EMI Blackwood Music Inc.
 388   Wine After Whiskey                                      PA0001807696          EMI Blackwood Music Inc.
 389   You Lie                                                 PA0001728328          EMI Blackwood Music Inc.
 390   Your Man                                                PA0001163481          EMI Blackwood Music Inc.
 391   10 Days Late                                            PA0000986880          EMI Blackwood Music Inc.
 392   All About Tonight                                       PA0001716538          EMI Blackwood Music Inc.
 393   Amazin'                                                 PA0001640767          EMI Blackwood Music Inc.
 394   Ballin'                                                 PA0001855548          EMI Blackwood Music Inc.
 395   BGTY                                                    PA0001760358          EMI Blackwood Music Inc.
 396   Black Crowns                                            PA0001788405          EMI Blackwood Music Inc.
 397   Boys 'Round Here                                        PA0001837383          EMI Blackwood Music Inc.
 398   Burning Bright                                          PA0001278083          EMI Blackwood Music Inc.
 399   Call Me                                                 PA0001601050          EMI Blackwood Music Inc.
 400   Calling                                                 PA0001832167          EMI Blackwood Music Inc.
 401   Careless World                                          PA0001788401          EMI Blackwood Music Inc.
 402   Celebration                                             PA0001788393          EMI Blackwood Music Inc.
 403   Circulate                                               PA0001640772          EMI Blackwood Music Inc.
 404   Crazy World                                             PA0001640764          EMI Blackwood Music Inc.
 405   Devour                                                  PA0001601052          EMI Blackwood Music Inc.
 406   Dive                                                    PA0001828070          EMI Blackwood Music Inc.
 407   Do It All                                               PA0001788396          EMI Blackwood Music Inc.
 408   Don't You Know                                          PA0001640771          EMI Blackwood Music Inc.
 409   Faded                                                   PA0001788407          EMI Blackwood Music Inc.
 410   Far Away                                                PA0001788325          EMI Blackwood Music Inc.
 411   Get Allot                                               PA0001640710          EMI Blackwood Music Inc.
 412   Good Ole Boys                                           PA0001760428          EMI Blackwood Music Inc.
 413   Honey Bee                                               PA0001760410          EMI Blackwood Music Inc.
 414   Hustlaz Ambition                                        PA0001640768          EMI Blackwood Music Inc.
 415   If You Only Knew                                        PA0001601046          EMI Blackwood Music Inc.
 416   Involve Yourself                                        PA0001395666          EMI Blackwood Music Inc.
 417   Jesse James                                             PA0000787272          EMI Blackwood Music Inc.
 418   Lay You Down                                            PA0001788308          EMI Blackwood Music Inc.
 419   Light Dreams                                            PA0001783047          EMI Blackwood Music Inc.
 420   Love Game                                               PA0001788312          EMI Blackwood Music Inc.
 421   Mine Would Be You                                       PA0001859225          EMI Blackwood Music Inc.
 422   Muthaf**ka Up                                           PA0001788404          EMI Blackwood Music Inc.
 423   Potty Mouth                                             PA0001783085          EMI Blackwood Music Inc.
 424   Red Light                                               PA0001241918          EMI Blackwood Music Inc.
 425   Second Chance                                           PA0001601042          EMI Blackwood Music Inc.
 426   Sin With A Grin                                         PA0001601054          EMI Blackwood Music Inc.
 427   Sound Of Madness                                        PA0001601045          EMI Blackwood Music Inc.
 428   Spectrum                                                PA0001832077          EMI Blackwood Music Inc.
 429   Ten Times Crazier                                       PA0001859226          EMI Blackwood Music Inc.
 430   The Crow & The Butterfly                                PA0001601051          EMI Blackwood Music Inc.
 431   This Is Like                                            PA0001788320          EMI Blackwood Music Inc.
 432   Vacation                                                PA0001640774          EMI Blackwood Music Inc.
 433   Welcome Back                                            PA0001640693          EMI Blackwood Music Inc.
 434   What A Shame                                            PA0001601047          EMI Blackwood Music Inc.
 435   What They Want                                          PA0001640765          EMI Blackwood Music Inc.




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                                  Track                             Reg. No.                                      Plaintiff
                                                                                     EMI Blackwood Music Inc. / EMI Al Gallico Music Corp. / WB Music
 436 They Ready                                                PA0001995515
                                                                                     Corp.
 437 Take You Out                                              PA0001068165          EMI Blackwood Music Inc. / EMI April Music Inc.
                                                               PA0001848047
                                                                                     EMI Blackwood Music Inc. / EMI April Music Inc. / WB Music Corp. /
 438 We Made You                                               PA0001706448
                                                                                     Warner-Tamerlane Publishing Corp.
                                                               PA0001957226
 439 Don't Do It                                               PA0001640702          EMI Blackwood Music Inc. / Jobete Music Co. Inc.
                                                                                     EMI Blackwood Music Inc. / Jobete Music Co. Inc. / EMI April Music
 440 Lil Freak                                                 PA0001700473
                                                                                     Inc.
 441   Ay Chico (Lengua Afuera)                                PA0001166251          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 442   Black Leather Jacket                                    PA0001947438          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 443   Blame It On Waylon                                      PA0001896309          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 444   Clarity                                                 PA0001832089          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 445   Glad You're Here                                        PA0001167415          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 446   I Won't Go Crazy                                        PA0001777806          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 447   Ice Cold                                                PA0001854208          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 448   Independence                                            PA0001728329          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 449   Lasso                                                   PA0001728410          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 450   Love's Poster Child                                     PA0001947446          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 451   Muny                                                    PA0001786604          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 452   Pause                                                   PA0001780988          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
 453   Teeth                                                   PA0001751976          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC
                                                               PA0001690182          EMI Blackwood Music Inc. / Sony/ATV Music Publishing LLC / EMI
 454 Love in This Club, Pt. II
                                                               PA0001659003          April Music Inc. / Warner-Tamerlane Publishing Corp.
 455 Untitled                                                  PA0001735849          EMI Blackwood Music Inc. / Unichappell Music, Inc.
                                                               PA0001835409
 456 No Such Thing As Too Late                                                       EMI Blackwood Music Inc. / W.B.M. Music Corp.
                                                               PA0001882752
 457 Sunburnt Lips                                             PA0001884828          EMI Blackwood Music Inc. / W.B.M. Music Corp.
                                                               PA0001953394
 458 Drink to That All Night                                                         EMI Blackwood Music Inc. / W.B.M. Music Corp. / WB Music Corp.
                                                               PA0001910988
 459 I Don't See 'Em                                           PA0002071585          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001856241
 460 Alone                                                                           EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001786329
                                                               PA0001771887
 461 Blind                                                                           EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001728367
 462 Burn The House                                            PA0001976123          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001856245
 463 Can't Be Friends                                                                EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001787041
                                                               PA0001680553
 464 Duffle Bag Boy                                                                  EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001590878
                                                               PA0001814506
 465 Echoes Interlude                                                                EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001788398
                                                               PA0001263487
 466 Goodies                                                                         EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001241896
                                                               PA0001058124
 467 I'm A Dog                                                                       EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001114111
                                                               PA0001802342
 468 Let It Show                                                                     EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001788316
                                                               PA0001850546
 469 Live Your Life                                                                  EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001654952
                                                               PA0001856242
 470 Massage                                                                         EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001786345
                                                               PA0001763331
 471 Motivation                                                                      EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001760929
                                                               PA0001842289
 472 No Worries                                                                      EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001885790
                                                               PA0001299027
 473 Number One                                                                      EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001160616
 474 Triple Beam Dream                                         PA0001868417          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.
 475 We Owned The Night                                        PA0001817027          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp.




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                               Track                                Reg. No.                                     Plaintiff
                                                               PA0001834384          EMI Blackwood Music Inc. / Warner-Tamerlane Publishing Corp. /
 476 Up In It
                                                               PA0001951620          W.B.M. Music Corp.
 477   Angel                                                   PA0001976122          EMI Blackwood Music Inc. / WB Music Corp.
 478   Anywhere With You                                       PA0001917492          EMI Blackwood Music Inc. / WB Music Corp.
 479   Don't Pay 4 It                                          PA0001852368          EMI Blackwood Music Inc. / WB Music Corp.
 480   Everything                                              PA0001640776          EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001814505
 481 For The Fame                                                                    EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001788406
 482 Gimmie That Girl                                          PA0001741424          EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001832802
 483 How Many Drinks?                                                                EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001917890
 484 It Was Faith                                              PA0001657887          EMI Blackwood Music Inc. / WB Music Corp.
 485 O Let's Do It                                             PA0001847140          EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001771886
 486 Red Lipstick                                                                    EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001786336
                                                               PA0001741424
 487 The Shape I'm In                                                                EMI Blackwood Music Inc. / WB Music Corp.
                                                               PA0001717909
 488 Cameltosis                                                PA0001058923          EMI Blackwood Music Inc. / WB Music Corp.
 489 Generation Away                                           PA0001864847          EMI Blackwood Music Inc. / WB Music Corp. / W.B.M. Music Corp.
                                                                                     EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 490 100 Favors                                                PA0001976129
                                                                                     Publishing Corp.
                                                               PA0001848048          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 491 Medicine Ball
                                                               PA0001706432          Publishing Corp.
                                                               PA0001848044          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 492 3 a.m.
                                                               PA0001707168          Publishing Corp.
                                                               PA0001693859          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 493 Back in the Day
                                                               PA0001707143          Publishing Corp.
                                                               PA0001856248          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 494 Bottoms Up
                                                               PA0001747296          Publishing Corp.
                                                               PA0001848045          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 495 Deja Vu
                                                               PA0001706428          Publishing Corp.
                                                               PA0001825014          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 496 Good Good Night
                                                               PA0001814345          Publishing Corp.
                                                                                     EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 497 High                                                      PA0001808178
                                                                                     Publishing Corp.
                                                               PA0001848044          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 498 Insane
                                                               PA0001666843          Publishing Corp.
                                                               PA0001693858          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 499 Kick It In The Sticks
                                                               PA0001707147          Publishing Corp.
                                                               PA0001814504          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 500 King & Queens
                                                               PA0001788319          Publishing Corp.
                                                               PA0001848040          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 501 Must Be The Ganja
                                                               PA0001706429          Publishing Corp.
                                                               PA0001693858          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 502 My Kind of Crazy
                                                               PA0001707144          Publishing Corp.
                                                               PA0001848040          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 503 My Mom
                                                               PA0001707169          Publishing Corp.
                                                               PA0001848040          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 504 Old Time's Sake
                                                               PA0001706421          Publishing Corp.
                                                               PA0001861898          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 505 So Bad
                                                               PA0001730981          Publishing Corp.
                                                               PA0001848044          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 506 Stay Wide Awake
                                                               PA0001943940          Publishing Corp.
                                                               PA0001852373          EMI Blackwood Music Inc. / WB Music Corp. / Warner-Tamerlane
 507 Take It To The Head
                                                               PA0001844665          Publishing Corp.
                                                               PA0001870876          EMI Blackwood Music Inc. / WB Music Corp. / Warner/Chappell
 508 Play It Again
                                                               PA0001967424          Music, Inc.
 509 She's Got It All                                          PA0000886673          EMI Consortium Music Publishing, Inc. d/b/a EMI Full Keel Music
 510 Angel Flying Too Close To The Ground                      PA0000049322          EMI Consortium Songs Inc.
 511 A Baltimore Love Thing                                    PA0001160841          EMI Consortium Songs, Inc. d/b/a EMI Longitude Music




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                      Plaintiff
                                                                                     EMI Entertainment World Inc. d/b/a EMI Foray Music / Warner-
 512 2012                                                      PA0001842279
                                                                                     Tamerlane Publishing Corp.
                                                               PA0001058125
 513 Trucker Anthem                                                                  EMI Feist Catalog Inc. / Warner-Tamerlane Publishing Corp.
                                                               PA0001142644
 514   Super High                                              PA0001821907          EMI Jemaxal Music Inc.
 515   GATman And Robbin                                       PA0001160842          EMI Miller Catalog Inc.
 516   Mighty "O"                                              PA0001165509          EMI Mills Music, Inc.
 517   Down With The King                                      PA0001143443          EMI U Catalog Inc.
 518   Two Words                                               PA0001292803          Intersong U.S.A. Inc.
 519   Ain't That Peculiar                                     EP0000203959          Jobete Music Co Inc.
 520   Trouble Man                                             EP0000307204          Jobete Music Co Inc.
                                                               Eu0000750856          Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music
 521 Hitch Hike
                                                               RE0000498339          Co. Inc.)
                                                                                     Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music
 522 If I Could Build My Whole World Around You                EP0000229884
                                                                                     Co. Inc.)
                                                                                     Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music
 523 What's Going On                                           EP0000281238
                                                                                     Co. Inc.)
                                                                                     Jobete Music Co Inc. / Stone Agate Music (a division of Jobete Music
 524 You                                                       EP0000232619
                                                                                     Co. Inc.)
 525   Ain't Nothing Like The Real Thing                       EP0000234188          Jobete Music Co. Inc.
 526   Come Get To This                                        EP0000315837          Jobete Music Co. Inc.
 527   Distant Lover                                           EP0000323322          Jobete Music Co. Inc.
 528   Good Lovin' Ain't Easy To Come By                       EP0000254456          Jobete Music Co. Inc.
 529   I Ain't Mad At Cha                                      PA0001070600          Jobete Music Co. Inc.
 530   I'll Be Doggone                                         EP0000198501          Jobete Music Co. Inc.
 531   Inner City Blues (Make Me Wanna Holler)                 EP0000287807          Jobete Music Co. Inc.
 532   Mercy Mercy Me (The Ecology)                            EP0000288939          Jobete Music Co. Inc.
 533   Never Can Say Goodbye                                   Eu0000187089          Jobete Music Co. Inc.
 534   Stay Fly                                                PA0001328092          Jobete Music Co. Inc.
 535   The Onion Song                                          EP0000259283          Jobete Music Co. Inc.
 536   Too Busy Thinking About My Baby                         EP0000219339          Jobete Music Co. Inc.
       When Did You Stop Loving Me, When Did I Stop Loving
 537                                                           PA0000041232          Jobete Music Co. Inc.
       You
 538   You're A Wonderful One                                  EP0000330074          Jobete Music Co. Inc.
 539   You're All I Need To Get By                             EP0000246516          Jobete Music Co. Inc.
 540   Your Precious Love                                      EP0000232154          Jobete Music Co. Inc.
 541   Anger                                                   PA0000041233          Jobete Music Co. Inc. / Stone Diamond Music Corp.
 542   Let's Get It On                                         EP0000314589          Jobete Music Co. Inc. / Stone Diamond Music Corp.
 543   3                                                       PA0001744943          Polygram Publishing, Inc.
 544   1/2 Full                                                PA0001134600          Polygram Publishing, Inc.
 545   After The Storm                                         PA0001932494          Polygram Publishing, Inc.
 546   All or None                                             PA0001134602          Polygram Publishing, Inc.
                                                               PA0000863872
 547 Anybody Seen My Baby?                                                           Polygram Publishing, Inc.
                                                               PA0000938844
 548   Arc                                                     PA0001134601          Polygram Publishing, Inc.
 549   Army Reserve                                            PA0001701781          Polygram Publishing, Inc.
 550   Around The Bend                                         PAu002141246          Polygram Publishing, Inc.
 551   Babel                                                   PA0001818828          Polygram Publishing, Inc.
 552   Below My Feet                                           PA0001818826          Polygram Publishing, Inc.
 553   Between Two Lungs                                       PA0001892800          Polygram Publishing, Inc.
 554   Big Wave                                                PA0001701775          Polygram Publishing, Inc.
 555   Blinding                                                PA0001892797          Polygram Publishing, Inc.
 556   Breakerfall                                             PA0001006823          Polygram Publishing, Inc.
 557   Broken Crown                                            PA0001818825          Polygram Publishing, Inc.
 558   Bu$hleaguer                                             PA0001134599          Polygram Publishing, Inc.
 559   Bugs                                                    PA0000663647          Polygram Publishing, Inc.
 560   Can't Keep                                              PA0001134588          Polygram Publishing, Inc.
 561   Candy Licker                                            PA0000322814          Polygram Publishing, Inc.
 562   Clint Eastwood                                          PA0001066504          Polygram Publishing, Inc.
 563   Come Back                                               PA0001701782          Polygram Publishing, Inc.
 564   Cosmic Love                                             PA0001892799          Polygram Publishing, Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                     Plaintiff
                                                               EFO000159444
                                                               RE0000822540
 565 Crocodile Rock                                                                  Polygram Publishing, Inc.
                                                               EP0000309236
                                                               RE0000836270
 566   Cropduster                                              PA0001134591          Polygram Publishing, Inc.
 567   Daniel in the Den                                       PA0001915733          Polygram Publishing, Inc.
 568   Deep                                                    PA0000544551          Polygram Publishing, Inc.
 569   Dog Days Are Over                                       PA0001892802          Polygram Publishing, Inc.
                                                               EU0000493982
 570 Don't Let The Sun Go Down On Me                                                 Polygram Publishing, Inc.
                                                               RE0000857914
 571   Don't You Remember                                      PA0001734876          Polygram Publishing, Inc.
 572   Down And Out                                            PA0000126583          Polygram Publishing, Inc.
 573   Evacuation                                              PA0001006825          Polygram Publishing, Inc.
 574   Evil Ways                                               RE0000774048          Polygram Publishing, Inc.
 575   Final Goodbye                                           V3541D787             Polygram Publishing, Inc.
 576   Flaws (Cinematic's in My Soul Remix)                    PA0001915732          Polygram Publishing, Inc.
 577   Flaws (Live At KOKO)                                    PA0001915732          Polygram Publishing, Inc.
 578   For Those Below                                         PA0001818816          Polygram Publishing, Inc.
 579   Garden                                                  PA0000544553          Polygram Publishing, Inc.
 580   Get Home                                                PA0001915736          Polygram Publishing, Inc.
 581   Get Right                                               PA0001134596          Polygram Publishing, Inc.
 582   Ghost                                                   PA0001134592          Polygram Publishing, Inc.
 583   Ghosts That We Knew                                     PA0001818832          Polygram Publishing, Inc.
 584   Gods' Dice                                              PA0001006824          Polygram Publishing, Inc.
 585   Gone                                                    PA0001701776          Polygram Publishing, Inc.
 586   Good Hearted Woman                                      RE0000664954          Polygram Publishing, Inc.
 587   Green Disease                                           PA0001134597          Polygram Publishing, Inc.
 588   Grievance                                               PA0001006831          Polygram Publishing, Inc.
 589   Habit                                                   PAu002141247          Polygram Publishing, Inc.
 590   Haunt                                                   PA0001917699          Polygram Publishing, Inc.
 591   He Won?t Go                                             PA0001734873          Polygram Publishing, Inc.
 592   Heavy In Your Arms                                      PA0001776732          Polygram Publishing, Inc.
 593   Help Help                                               PA0001134598          Polygram Publishing, Inc.
 594   Holland Road                                            PA0001818831          Polygram Publishing, Inc.
 595   Hopeless Wanderer                                       PA0001818824          Polygram Publishing, Inc.
 596   How I Roll                                              PA0001767515          Polygram Publishing, Inc.
 597   Howl                                                    PA0001892798          Polygram Publishing, Inc.
 598   Humming Bird                                            PA0001806288          Polygram Publishing, Inc.
                                                               EU0000580612
 599 I Ain't Never                                                                   Polygram Publishing, Inc.
                                                               RE0000346333
 600   I Guess That's Why They Call It The Blues               PA0000176776          Polygram Publishing, Inc.
 601   I Love You                                              PA0001806282          Polygram Publishing, Inc.
 602   I Will Wait                                             PA0001818830          Polygram Publishing, Inc.
 603   I?ll Be Waiting                                         PA0001734871          Polygram Publishing, Inc.
 604   I'm Not Calling You A Liar                              PA0001892801          Polygram Publishing, Inc.
 605   I'm Open                                                PAu002141245          Polygram Publishing, Inc.
 606   Icarus                                                  PA0001915730          Polygram Publishing, Inc.
 607   In My Tree                                              PAu002141250          Polygram Publishing, Inc.
 608   Inside Job                                              PA0001701783          Polygram Publishing, Inc.
 609   Insignificance                                          PA0001006829          Polygram Publishing, Inc.
                                                               PA0000057204
 610 It Must Be Love                                                                 Polygram Publishing, Inc.
                                                               PA0000018884
 611   Just Don't                                              PA0001752532          Polygram Publishing, Inc.
 612   Keep Walkin' On                                         PA0000583382          Polygram Publishing, Inc.
 613   Kiss With A Fist                                        PA0001892795          Polygram Publishing, Inc.
 614   Last Exit                                               PA0000663639          Polygram Publishing, Inc.
 615   Latch                                                   PA0001916095          Polygram Publishing, Inc.
 616   Laughter Lines                                          PA0001915739          Polygram Publishing, Inc.
 617   Leatherman                                              PA0001146750          Polygram Publishing, Inc.
 618   Let 'Er Rip                                             PA0000890663          Polygram Publishing, Inc.
 619   Life Wasted                                             PA0001701738          Polygram Publishing, Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                     Plaintiff
 620   Little Lion Man                                         PA0001932483          Polygram Publishing, Inc.
 621   Love Boat Captain                                       PA0001134590          Polygram Publishing, Inc.
 622   Lover Of The Light                                      PA0001818820          Polygram Publishing, Inc.
 623   Lovers' Eyes                                            PA0001818822          Polygram Publishing, Inc.
 624   Lukin                                                   PAu002141242          Polygram Publishing, Inc.
 625   Mankind                                                 PAu002141244          Polygram Publishing, Inc.
 626   Marina Del Rey                                          PA0000132713          Polygram Publishing, Inc.
 627   Marker In The Sand                                      PA0001701759          Polygram Publishing, Inc.
 628   Monkey Man                                              PA0000086306          Polygram Publishing, Inc.
 629   Music                                                   PA0001823264          Polygram Publishing, Inc.
 630   Never Say Die                                           PA0000676158          Polygram Publishing, Inc.
                                                               PA0000310517
 631 Nobody In His Right Mind Would've Left Her                                      Polygram Publishing, Inc.
                                                               PA0000088151
 632   Not With Haste                                          PA0001818827          Polygram Publishing, Inc.
 633   Oblivion                                                PA0001915731          Polygram Publishing, Inc.
 634   Oceans                                                  PA0000544555          Polygram Publishing, Inc.
 635   Of The Girl                                             PA0001006830          Polygram Publishing, Inc.
 636   One And Only                                            PA0001734869          Polygram Publishing, Inc.
 637   One Foot Wrong                                          PA0001698064          Polygram Publishing, Inc.
 638   Overjoyed                                               PA0001915735          Polygram Publishing, Inc.
 639   Parachutes                                              PA0001701764          Polygram Publishing, Inc.
 640   Parting Ways                                            PA0001006835          Polygram Publishing, Inc.
 641   Permanent Monday                                        PA0001653571          Polygram Publishing, Inc.
 642   Philadelphia Freedom                                    RE0000875356          Polygram Publishing, Inc.
 643   Porch                                                   PA0000544556          Polygram Publishing, Inc.
 644   Present Tense                                           PAu002141243          Polygram Publishing, Inc.
 645   Pry, To                                                 PA0000663645          Polygram Publishing, Inc.
 646   Radio                                                   PA0001752514          Polygram Publishing, Inc.
 647   Rather Be feat. Jess Glynne                             PA0002008748          Polygram Publishing, Inc.
 648   Red Mosquito                                            PAu002141240          Polygram Publishing, Inc.
 649   Release                                                 PA0000544558          Polygram Publishing, Inc.
 650   Reminder                                                PA0001818823          Polygram Publishing, Inc.
 651   Repeat (feat. Jessie J)                                 PA0001761918          Polygram Publishing, Inc.
 652   Right As Rain                                           PA0001735121          Polygram Publishing, Inc.
 653   Rival                                                   PA0001006832          Polygram Publishing, Inc.
 654   Rolling In The Deep                                     PA0001734866          Polygram Publishing, Inc.
 655   Rumour Has It                                           PA0001734865          Polygram Publishing, Inc.
 656   Runnin' Wit No Breaks                                   PA0000896405          Polygram Publishing, Inc.
 657   Satan's Bed                                             PA0000663648          Polygram Publishing, Inc.
 658   Saturday Night's Alright (For Fighting)                 RE0000834705          Polygram Publishing, Inc.
 659   Should've Been A Cowboy                                 PA0000606001          Polygram Publishing, Inc.
 660   Sigh No More                                            PA0001932474          Polygram Publishing, Inc.
 661   Sleight Of Hand                                         PA0001006833          Polygram Publishing, Inc.
 662   Smile                                                   PAu002141249          Polygram Publishing, Inc.
 663   Someone Like You                                        PA0001734868          Polygram Publishing, Inc.
 664   Sometimes                                               PAu002141252          Polygram Publishing, Inc.
 665   Soon Forget                                             PA0001006834          Polygram Publishing, Inc.
 666   Stole My Heart                                          PA0001830363          Polygram Publishing, Inc.
 667   Strangeness And Charm                                   PA0001781742          Polygram Publishing, Inc.
 668   Stupidmop                                               PA0000663652          Polygram Publishing, Inc.
 669   Take It All                                             PA0001734872          Polygram Publishing, Inc.
 670   The Cave                                                PA0001932476          Polygram Publishing, Inc.
 671   The Silence                                             PA0001915740          Polygram Publishing, Inc.
 672   These Streets                                           PA0001915727          Polygram Publishing, Inc.
 673   Thin Air                                                PA0001006828          Polygram Publishing, Inc.
 674   Thumbing My Way                                         PA0001134594          Polygram Publishing, Inc.
 675   Tinderbox                                               PA0001343236          Polygram Publishing, Inc.
 676   Today My World Slipped Away                             PA0000094587          Polygram Publishing, Inc.
 677   Tremor Christ                                           PA0000663642          Polygram Publishing, Inc.
 678   Turning Tables                                          PA0001734878          Polygram Publishing, Inc.
 679   Unemployable                                            PA0001701773          Polygram Publishing, Inc.




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                                Track                               Reg. No.                                     Plaintiff
 680   Unwound                                                 PA0000126622          Polygram Publishing, Inc.
 681   Wasted Reprise                                          PA0001701779          Polygram Publishing, Inc.
 682   Weight of Living, Pt. I                                 PA0001915728          Polygram Publishing, Inc.
 683   Where Are You Now                                       PA0001818817          Polygram Publishing, Inc.
 684   Whipping                                                PA0000663644          Polygram Publishing, Inc.
 685   Whispers In The Dark                                    PA0001818829          Polygram Publishing, Inc.
 686   White Blank Page                                        PA0001932481          Polygram Publishing, Inc.
 687   Why Go                                                  PA0000544559          Polygram Publishing, Inc.
 688   Work                                                    PA0001981018          Polygram Publishing, Inc.
 689   World Wide Suicide                                      PA0001701741          Polygram Publishing, Inc.
 690   You Know Me Better Than That                            PA0000511213          Polygram Publishing, Inc.
 691   A Man I'll Never Be                                     PA0000014792          Polygram Publishing, Inc.
 692   Achy Breaky Song                                        PA0000713892          Polygram Publishing, Inc.
 693   Amanda                                                  PA0000312407          Polygram Publishing, Inc.
 694   Amish Paradise                                          PA0000809516          Polygram Publishing, Inc.
 695   Back To You                                             PA0001120340          Polygram Publishing, Inc.
 696   Best For Last                                           PA0001975721          Polygram Publishing, Inc.
 697   Breathe                                                 PA0000999862          Polygram Publishing, Inc.
 698   Chasing Cars                                            PA0001990266          Polygram Publishing, Inc.
 699   Chasing Pavements                                       PA0001975709          Polygram Publishing, Inc.
 700   Cold Shoulder                                           PA0001975723          Polygram Publishing, Inc.
 701   Cool The Engines                                        PA0000312410          Polygram Publishing, Inc.
 702   Crazy For You                                           PA0001975719          Polygram Publishing, Inc.
 703   Daydreamer                                              PA0001975694          Polygram Publishing, Inc.
 704   Don't Look Back                                         PA0000014789          Polygram Publishing, Inc.
 705   Drive Me Wild                                           PA0002072171          Polygram Publishing, Inc.
 706   Durban Skies                                            PA0001981858          Polygram Publishing, Inc.
 707   Feelin' Satisfied                                       PA0000014793          Polygram Publishing, Inc.
 708   First Love                                              PA0001975718          Polygram Publishing, Inc.
 709   Fool For You                                            PA0001730802          Polygram Publishing, Inc.
 710   For Tha Love Of $                                       PA0000713004          Polygram Publishing, Inc.
 711   Give Me My Month                                        PA0001824175          Polygram Publishing, Inc.
 712   Gone Country                                            PA0000642408          Polygram Publishing, Inc.
 713   Hands Are Clever                                        PA0001806286          Polygram Publishing, Inc.
 714   Higher Power                                            PA0000863654          Polygram Publishing, Inc.
 715   Higher Power (Kalodner Edit)                            PA0000863654          Polygram Publishing, Inc.
 716   Hometown Glory                                          PA0001975714          Polygram Publishing, Inc.
 717   I Mind                                                  PA0001827817          Polygram Publishing, Inc.
 718   I Never Learnt To Share                                 PA0001827811          Polygram Publishing, Inc.
 719   I Want Love (LP Version)                                PA0001064720          Polygram Publishing, Inc.
 720   I Was Country When Country Wasn't Cool                  PA0000126702          Polygram Publishing, Inc.
 721   I Won't Let You Down                                    PA0001806274          Polygram Publishing, Inc.
 722   Jurassic Park                                           PA0000713893          Polygram Publishing, Inc.
 723   Lindisfarne II                                          PA0001827813          Polygram Publishing, Inc.
 724   Livin' For You                                          PAu001802362          Polygram Publishing, Inc.
 725   Love Gun                                                PA0001727659          Polygram Publishing, Inc.
 726   Measurements                                            PA0001824202          Polygram Publishing, Inc.
 727   Melt My Heart To Stone                                  PA0001975706          Polygram Publishing, Inc.
 728   More Than This                                          PA0001830362          Polygram Publishing, Inc.
 729   My Same                                                 PA0001975716          Polygram Publishing, Inc.
 730   No More I Love You's                                    PA0000753262          Polygram Publishing, Inc.
 731   One Way Ticket                                          PA0001810764          Polygram Publishing, Inc.
 732   Poet                                                    PA0001981843          Polygram Publishing, Inc.
 733   Rabbit Heart (Raise It Up)                              PA0001892789          Polygram Publishing, Inc.
 734   Recognize                                               PA0000896403          Polygram Publishing, Inc.
 735   Relax My Beloved                                        PA0001806292          Polygram Publishing, Inc.
 736   Sanctuary                                               PA0001806278          Polygram Publishing, Inc.
 737   Skulls                                                  PA0001981876          Polygram Publishing, Inc.
 738   Sleepsong                                               PA0001981854          Polygram Publishing, Inc.
 739   So Many Ways                                            PA0000896404          Polygram Publishing, Inc.
 740   Someone                                                 PA0001003696          Polygram Publishing, Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                              Reg. No.                                      Plaintiff
 741   Something To Die For                                    PA0001677407          Polygram Publishing, Inc.
 742   Tell Me                                                 PA0000863655          Polygram Publishing, Inc.
 743   The Best Day                                            PA0001028241          Polygram Publishing, Inc.
 744   The Draw                                                PA0001981866          Polygram Publishing, Inc.
 745   The Motto                                               PA0001804402          Polygram Publishing, Inc.
 746   The Wilhelm Scream                                      PA0001824165          Polygram Publishing, Inc.
 747   There's A Thug In My Life                               PA0001162730          Polygram Publishing, Inc.
 748   Things We Lost in the Fire (Abbey Road Sessions)        PA0001915726          Polygram Publishing, Inc.
 749   Tired                                                   PA0001975712          Polygram Publishing, Inc.
 750   To Care (Like You)                                      PA0001824177          Polygram Publishing, Inc.
 751   Train In Vain                                           PA0000066125          Polygram Publishing, Inc.
 752   Treading Water                                          PA0001806293          Polygram Publishing, Inc.
 753   Tuning Out...                                           PA0001981868          Polygram Publishing, Inc.
 754   Up All Night                                            PA0001806294          Polygram Publishing, Inc.
 755   Whispering                                              PA0001806283          Polygram Publishing, Inc.
 756   Why Don't You Call Me?                                  PA0001827815          Polygram Publishing, Inc.
                                                               EP0000041630
 757 I'm So Lonesome I Could Cry                                                     Rightsong Music, Inc.
                                                               RE0000651522
 758   So Much Like My Dad                                     PA0000225775          Rightsong Music, Inc.
 759   Get Out                                                 PA0001592997          Screen Gems-EMI Music Inc.
 760   2 Of Amerikaz Most Wanted                               PA0001070596          Songs of Universal, Inc.
 761   200 Balloons                                            PA0000426579          Songs of Universal, Inc.
 762   25 To Life                                              PA0001730984          Songs of Universal, Inc.
 763   2nd Sucks                                               PA0001748917          Songs of Universal, Inc.
 764   4x4                                                     PA0001904196          Songs of Universal, Inc.
 765   50 Plates                                               V9929D321             Songs of Universal, Inc.
 766   8 Mile                                                  PA0001204555          Songs of Universal, Inc.
 767   A Fool's Dance                                          PA0001839497          Songs of Universal, Inc.
 768   A Girl Like Me                                          PA0001164298          Songs of Universal, Inc.
 769   A Kiss                                                  PA0001784201          Songs of Universal, Inc.
 770   A Million Miles Away                                    PA0001330056          Songs of Universal, Inc.
 771   All I Have In This World                                PA0001639922          Songs of Universal, Inc.
 772   All I Want Is You                                       PA0001751391          Songs of Universal, Inc.
 773   All Signs Point To Lauderdale                           PA0001748918          Songs of Universal, Inc.
 774   Almost Doesn't Count                                    PA0000917406          Songs of Universal, Inc.
 775   Almost Famous                                           PA0001730979          Songs of Universal, Inc.
 776   Another Day Without You                                 PA0001878112          Songs of Universal, Inc.
 777   Another Round                                           PA0001730878          Songs of Universal, Inc.
 778   Anything                                                PA0000664027          Songs of Universal, Inc.
 779   As Fast As I Could                                      PA0001700896          Songs of Universal, Inc.
 780   Backpackers                                             PA0001773699          Songs of Universal, Inc.
 781   Ballad Of The Beaconsfield Miners                       V3551D653             Songs of Universal, Inc.
 782   Be (Intro)                                              PA0001302097          Songs of Universal, Inc.
 783   Be Like That                                            PA0000999805          Songs of Universal, Inc.
 784   Beautiful People                                        PA0001750727          Songs of Universal, Inc.
 785   Beauty in the World                                     PA0001733325          Songs of Universal, Inc.
 786   Best Friend                                             PA0000757400          Songs of Universal, Inc.
 787   Best Of You                                             PA0001730963          Songs of Universal, Inc.
 788   Beware                                                  PA0001916151          Songs of Universal, Inc.
 789   Bonfire                                                 PA0001773709          Songs of Universal, Inc.
 790   Boom Skit                                               PA0001915826          Songs of Universal, Inc.
 791   Break Ya Back                                           PA0001395672          Songs of Universal, Inc.
 792   Broken-Hearted Girl                                     PA0001682652          Songs of Universal, Inc.
 793   Brother Love's Traveling Salvation Show                 PA0000043013          Songs of Universal, Inc.
 794   But, Honestly                                           PA0001625341          Songs of Universal, Inc.
 795   By My Side                                              PA0001251405          Songs of Universal, Inc.
 796   Call Me Up                                              PA0001882786          Songs of Universal, Inc.
 797   Can't Go Wrong                                          PA0001839494          Songs of Universal, Inc.
 798   Changes                                                 PA0001070591          Songs of Universal, Inc.
 799   Cheer Up, Boys (Your Make Up Is Running)                PA0001625323          Songs of Universal, Inc.
 800   Cherry, Cherry                                          PA0000043000          Songs of Universal, Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                                Reg. No.                                    Plaintiff
 801 Chi-City                                                   PA0001302103          Songs of Universal, Inc.
 802 Ciara To The Stage                                         PA0001729154          Songs of Universal, Inc.
 803 Cinderella Man                                             PA0001730987          Songs of Universal, Inc.
                                                                PA0001073403
 804 Cleanin Out My Closet                                                            Songs of Universal, Inc.
                                                                PA0001225996
 805   Cold Day In The Sun                                      PA0001731042          Songs of Universal, Inc.
 806   Cold Wind Blows                                          PA0001731091          Songs of Universal, Inc.
 807   Come & Get It                                            PA0001916312          Songs of Universal, Inc.
 808   Come Alive                                               PA0001625311          Songs of Universal, Inc.
 809   Crazy Arms                                               RE0000204817          Songs of Universal, Inc.
 810   Crazy In Love                                            PA0001295397          Songs of Universal, Inc.
 811   Crazy Little Thing Called Love                           PA0001330052          Songs of Universal, Inc.
 812   Death Around The Corner                                  PA0001070586          Songs of Universal, Inc.
 813   Demons                                                   PA0001796478          Songs of Universal, Inc.
 814   Did It On Em                                             PA0001745300          Songs of Universal, Inc.
 815   Director                                                 PA0001371419          Songs of Universal, Inc.
 816   Disturbia                                                V3574D452             Songs of Universal, Inc.
 817   Diva                                                     PA0002067668          Songs of Universal, Inc.
 818   DOA                                                      PA0001730972          Songs of Universal, Inc.
 819   Don't Get Me Started                                     PA0002072695          Songs of Universal, Inc.
 820   Don't Give up on Me                                      PA0001899457          Songs of Universal, Inc.
 821   Don't Phunk Around                                       PA0001824676          Songs of Universal, Inc.
 822   Down                                                     PA0001659053          Songs of Universal, Inc.
 823   Down Poison                                              PA0000999807          Songs of Universal, Inc.
 824   Dr. West                                                 PA0001943912          Songs of Universal, Inc.
 825   Drive Me                                                 PA0001839492          Songs of Universal, Inc.
 826   Duck And Run                                             PA0000999803          Songs of Universal, Inc.
 827   Echo                                                     PA0001842409          Songs of Universal, Inc.
 828   Encore/Curtains Down                                     PA0001295406          Songs of Universal, Inc.
 829   End Over End                                             PA0001730846          Songs of Universal, Inc.
 830   Erase/Replace                                            PA0001625296          Songs of Universal, Inc.
 831   Erotic City (Make Love Not War Erotic City Come Alive)   PA0000227083          Songs of Universal, Inc.
 832   Eye Candy                                                PA0001681746          Songs of Universal, Inc.
 833   Fallen                                                   PA0001840137          Songs of Universal, Inc.
 834   Farewell                                                 PA0001778700          Songs of Universal, Inc.
 835   Fine Time                                                PA0000810654          Songs of Universal, Inc.
 836   Fool In Love                                             PA0001804439          Songs of Universal, Inc.
 837   Free Me                                                  PA0001730772          Songs of Universal, Inc.
 838   French Pedicure                                          PA0001395670          Songs of Universal, Inc.
 839   Friend Of A Friend                                       PA0001730881          Songs of Universal, Inc.
 840   Friend Of A Friend                                       PA0001856075          Songs of Universal, Inc.
 841   FU                                                       PA0001904193          Songs of Universal, Inc.
 842   Gangsta                                                  PA0001115190          Songs of Universal, Inc.
 843   Get It                                                   PA0001780728          Songs of Universal, Inc.
 844   Girl You Know                                            PA0001395613          Songs of Universal, Inc.
 845   Girls Chase Boys                                         PA0001932052          Songs of Universal, Inc.
 846   Going Through Changes                                    PA0001731106          Songs of Universal, Inc.
 847   Gotta Stop Messin' About                                 PAu000221275          Songs of Universal, Inc.
 848   Grandma's Hands                                          RE0000827149          Songs of Universal, Inc.
 849   Haywire                                                  PA0001700892          Songs of Universal, Inc.
 850   Hazel                                                    PA0001848179          Songs of Universal, Inc.
 851   Heartbeat                                                PA0001773703          Songs of Universal, Inc.
 852   Hell                                                     PA0001731003          Songs of Universal, Inc.
 853   Here Comes Goodbye                                       PA0001655601          Songs of Universal, Inc.
                                                                PA0001328100
 854 Here I Go Again                                                                  Songs of Universal, Inc.
                                                                PA0001162725
 855   Hold On                                                  PA0001839485          Songs of Universal, Inc.
 856   Hold You Down                                            PA0001773584          Songs of Universal, Inc.
 857   Holly Holy                                               PA0000040389          Songs of Universal, Inc.
 858   Home                                                     PA0001625349          Songs of Universal, Inc.
 859   Horny Toad                                               PA0000193309          Songs of Universal, Inc.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                              Reg. No.                                    Plaintiff
 860   How Do U Want It                                        PA0001070595          Songs of Universal, Inc.
 861   I Am Your Leader                                        PA0001917811          Songs of Universal, Inc.
 862   I Could Never Take The Place Of Your Man                PA0000339616          Songs of Universal, Inc.
 863   I Don't Feel Like Loving You Today                      PA0001299754          Songs of Universal, Inc.
                                                               EU0000093241
 864 I Don't Know                                                                    Songs of Universal, Inc.
                                                               RE0000751859
 865   I Don't Want You on My Mind                             RE0000832589          Songs of Universal, Inc.
 866   I Want Crazy (Encore)                                   PA0001856536          Songs of Universal, Inc.
 867   I.F.U.                                                  PA0001833854          Songs of Universal, Inc.
 868   I'll Call Ya                                            PA0001644932          Songs of Universal, Inc.
 869   I'm On Everything                                       PA0001784199          Songs of Universal, Inc.
 870   If I Leave                                              PA0001748919          Songs of Universal, Inc.
 871   If I Were A Boy                                         PAU003358950          Songs of Universal, Inc.
 872   Imagination                                             PA0001371420          Songs of Universal, Inc.
 873   In Your Honor                                           PA0001730947          Songs of Universal, Inc.
 874   Intro                                                   PA0001780742          Songs of Universal, Inc.
 875   Intro                                                   PA0001396244          Songs of Universal, Inc.
 876   It Ain't Easy                                           PA0001070585          Songs of Universal, Inc.
 877   It's Me Snitches                                        PA0001334184          Songs of Universal, Inc.
                                                               PA0001302108
 878 It's Your World                                                                 Songs of Universal, Inc.
                                                               PA0001302107
 879   Just Don't Give A Fuck                                  PA0000954432          Songs of Universal, Inc.
 880   Just Lose It                                            PA0001284525          Songs of Universal, Inc.
 881   Kids                                                    PA0001773582          Songs of Universal, Inc.
 882   Kiss Kiss                                               PA0001395675          Songs of Universal, Inc.
 883   Kisses Don't Lie                                        PA0001164296          Songs of Universal, Inc.
 884   Kryptonite                                              PA0000999801          Songs of Universal, Inc.
 885   Leaf                                                    PA0002000110          Songs of Universal, Inc.
 886   Lean On Me                                              EP0000304954          Songs of Universal, Inc.
 887   Let It Die                                              PA0001625293          Songs of Universal, Inc.
 888   Let Me Go                                               PA0001846372          Songs of Universal, Inc.
 889   Let You Win                                             PA0001733341          Songs of Universal, Inc.
 890   Letter Home                                             PA0001773708          Songs of Universal, Inc.
 891   Life Of My Own                                          PA0000999806          Songs of Universal, Inc.
 892   Livin This Life                                         PA0001780720          Songs of Universal, Inc.
 893   Loca                                                    PA0001834128          Songs of Universal, Inc.
 894   Long Road To Ruin                                       PA0001625301          Songs of Universal, Inc.
 895   Lose Yourself                                           PA0001152688          Songs of Universal, Inc.
 896   Loser                                                   PA0000999802          Songs of Universal, Inc.
 897   Lost In You                                             PA0001855522          Songs of Universal, Inc.
 898   Love Is A Sweet Thing                                   PA0001295806          Songs of Universal, Inc.
 899   Love is...                                              PA0001302102          Songs of Universal, Inc.
 900   Love More                                               PA0001914221          Songs of Universal, Inc.
 901   Love The Way You Lie                                    PA0001730976          Songs of Universal, Inc.
 902   Man On The Moon                                         PA0001839481          Songs of Universal, Inc.
 903   Marvin Gaye & Chardonnay                                PA0001780731          Songs of Universal, Inc.
 904   Material Things                                         PA0001395669          Songs of Universal, Inc.
 905   Meet Me Halfway                                         PA0001659066          Songs of Universal, Inc.
 906   Memories Pt 2                                           PA0001780744          Songs of Universal, Inc.
 907   Miracle                                                 PA0001730876          Songs of Universal, Inc.
 908   Missing You                                             PA0001659068          Songs of Universal, Inc.
 909   Mr. Mathers                                             PA0001943944          Songs of Universal, Inc.
                                                               PA0001163426
 910 Music Of The Sun                                                                Songs of Universal, Inc.
                                                               V3533D359
 911   My Eyes                                                 PA0001915209          Songs of Universal, Inc.
 912   My Fault                                                PA0000954429          Songs of Universal, Inc.
 913   No Idea                                                 PA0001751186          Songs of Universal, Inc.
 914   No Way Back                                             PA0001730955          Songs of Universal, Inc.
 915   Not Afraid                                              PA0001730957          Songs of Universal, Inc.
 916   Not Enough                                              PA0000999804          Songs of Universal, Inc.
 917   Not Tonight                                             PA0002000109          Songs of Universal, Inc.




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                                  Track                             Reg. No.                                    Plaintiff
 918   Nothin' Like The First Time                             PA0001858363          Songs of Universal, Inc.
 919   Nothin' On You                                          PA0001731018          Songs of Universal, Inc.
 920   Nothing Compares 2 U                                    PA0000261000          Songs of Universal, Inc.
 921   Now That You Got It                                     PA0001382157          Songs of Universal, Inc.
 922   On & On                                                 PA0001733345          Songs of Universal, Inc.
 923   On The Mend                                             PA0001730887          Songs of Universal, Inc.
 924   ONE CHAIN (DON'T MAKE NO PRISON)                        RE0000755069          Songs of Universal, Inc.
 925   One Tribe                                               PA0001659076          Songs of Universal, Inc.
 926   Only Wanna Give It To You                               PA0002000105          Songs of Universal, Inc.
 927   Out Of My Head                                          PA0001659074          Songs of Universal, Inc.
 928   Over And Out                                            PA0001730884          Songs of Universal, Inc.
 929   P.S. (I'm Still Not Over You)                           PA0001330054          Songs of Universal, Inc.
 930   Peach                                                   PA0000669561          Songs of Universal, Inc.
 931   Pedestal                                                PA0001370492          Songs of Universal, Inc.
 932   Peep Show                                               PA0001645332          Songs of Universal, Inc.
 933   Perfect Gentleman                                       PA0001395665          Songs of Universal, Inc.
 934   Picture Perfect                                         PA0001395677          Songs of Universal, Inc.
 935   Play Me                                                 PA0000040399          Songs of Universal, Inc.
 936   Pretty Amazing Grace                                    PA0001687595          Songs of Universal, Inc.
 937   Private Room Intro                                      PA0001371763          Songs of Universal, Inc.
 938   Rabiosa (English Version)                               PA0001833949          Songs of Universal, Inc.
 939   Rabiosa (Spanish Version)                               PA0001833947          Songs of Universal, Inc.
 940   Rap Name                                                PA0001248992          Songs of Universal, Inc.
 941   Razor                                                   PA0001731043          Songs of Universal, Inc.
 942   Real Love                                               PA0001733344          Songs of Universal, Inc.
 943   Real People                                             PA0001302105          Songs of Universal, Inc.
 944   Remember My Name                                        PA0001821988          Songs of Universal, Inc.
 945   Reminding Me (Of Self)                                  PA0001011173          Songs of Universal, Inc.
 946   Resolve                                                 PA0001730791          Songs of Universal, Inc.
 947   Rewind (feat. Wyclef Jean)                              PA0001744940          Songs of Universal, Inc.
 948   Right Here                                              PA0000665447          Songs of Universal, Inc.
 949   Right Place, Wrong Time                                 PA0001371418          Songs of Universal, Inc.
 950   Riot                                                    PA0001916362          Songs of Universal, Inc.
 951   Roc Me Out                                              PA0001773644          Songs of Universal, Inc.
 952   Rockin To The Beat                                      PA0001659078          Songs of Universal, Inc.
 953   Roman Holiday                                           PA0001915014          Songs of Universal, Inc.
 954   Rooting for My Baby                                     PA0001888334          Songs of Universal, Inc.
 955   Rush                                                    V3521D389             Songs of Universal, Inc.
 956   Save Me                                                 PA0001745307          Songs of Universal, Inc.
 957   Say Goodbye Hollywood                                   PA0001090374          Songs of Universal, Inc.
 958   Seduction                                               PA0001730951          Songs of Universal, Inc.
 959   Selene                                                  PA0001822212          Songs of Universal, Inc.
 960   Selfish Girl                                            PA0001330053          Songs of Universal, Inc.
 961   Sex Therapy                                             PA0001678887          Songs of Universal, Inc.
 962   Sexy M.F.                                               PA0000607812          Songs of Universal, Inc.
 963   Shilo                                                   PA0000040397          Songs of Universal, Inc.
 964   Shine                                                   PA0001911373          Songs of Universal, Inc.
 965   Shoo Be Doo                                             PA0001593120          Songs of Universal, Inc.
 966   Sing For The Moment                                     PA0001093104          Songs of Universal, Inc.
 967   Skin And Bones                                          PA0001368334          Songs of Universal, Inc.
 968   Smack                                                   PA0000999808          Songs of Universal, Inc.
 969   So Fly                                                  PA0002000112          Songs of Universal, Inc.
 970   So I Need You                                           PA0000999809          Songs of Universal, Inc.
 971   So Much More                                            PA0001780714          Songs of Universal, Inc.
 972   Soft And Wet                                            PA0000492348          Songs of Universal, Inc.
 973   Soldier                                                 PA0001073064          Songs of Universal, Inc.
 974   Solitary Man                                            PA0000042999          Songs of Universal, Inc.
 975   Somewhere In My Car                                     PA0001898869          Songs of Universal, Inc.
 976   Sorry For Partyin'                                      PA0001882788          Songs of Universal, Inc.
 977   Sound Proof Room                                        PA0002000107          Songs of Universal, Inc.
 978   Space Bound                                             PA0001730989          Songs of Universal, Inc.




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                               Track                                Reg. No.                                    Plaintiff
 979   Spend Some Time                                         PA0001295395          Songs of Universal, Inc.
 980   Square Dance                                            PA0001073065          Songs of Universal, Inc.
 981   Stalker                                                 PA0001733343          Songs of Universal, Inc.
 982   Statues                                                 PA0001625338          Songs of Universal, Inc.
 983   Still                                                   PA0001730871          Songs of Universal, Inc.
 984   Still Don't Give                                        PA0000954424          Songs of Universal, Inc.
 985   Still Hurts                                             PA0001733323          Songs of Universal, Inc.
 986   Stop The Clock                                          PA0002000111          Songs of Universal, Inc.
 987   Stranger Things Have Happened                           PA0001625352          Songs of Universal, Inc.
 988   Stronger                                                PA0001120338          Songs of Universal, Inc.
 989   Stuck On Stupid                                         PA0002094523          Songs of Universal, Inc.
 990   Stupid Hoe                                              PA0001910348          Songs of Universal, Inc.
 991   Suicidal Thoughts                                       PA0001874310          Songs of Universal, Inc.
 992   Summer's End                                            PA0001625330          Songs of Universal, Inc.
 993   Super Rich Kids                                         PA0001825834          Songs of Universal, Inc.
 994   Superman                                                PA0001073066          Songs of Universal, Inc.
 995   Sweet Caroline                                          PA0000043001          Songs of Universal, Inc.
 996   Sweet Love                                              PA0002094537          Songs of Universal, Inc.
 997   SWV (In The House)                                      PA0000664036          Songs of Universal, Inc.
 998   Take It To The Hole                                     PA0001821597          Songs of Universal, Inc.
 999   Talkin 2 Myself                                         PA0001730970          Songs of Universal, Inc.
1000   Talkin' 2 Myself                                        PA0001730970          Songs of Universal, Inc.
1001   Tell Me A Story                                         PA0001839488          Songs of Universal, Inc.
1002   Testify                                                 PA0001302101          Songs of Universal, Inc.
1003   That Man                                                PA0001733342          Songs of Universal, Inc.
1004   That's Gonna Leave A Memory                             PA0001910312          Songs of Universal, Inc.
1005   That's What I'm Here For                                PA0000810658          Songs of Universal, Inc.
1006   The Better Life                                         PA0001251404          Songs of Universal, Inc.
1007   The Boys                                                PA0001822067          Songs of Universal, Inc.
1008   The Comeback                                            PA0001733346          Songs of Universal, Inc.
1009   The Corner                                              PA0001302098          Songs of Universal, Inc.
1010   The Deepest Blues Are Black                             PA0001730830          Songs of Universal, Inc.
1011   The Last Song                                           PA0001731040          Songs of Universal, Inc.
1012   The Last Time                                           PA0001328099          Songs of Universal, Inc.
1013   The Monster                                             PA0001965626          Songs of Universal, Inc.
1014   The One                                                 PA0001867783          Songs of Universal, Inc.
1015   The Pretender                                           PA0001623649          Songs of Universal, Inc.
                                                               PA0001784195
1016 The Reunion                                                                     Songs of Universal, Inc.
                                                               PA0001842406
1017   The River                                               PA0001822211          Songs of Universal, Inc.
1018   The Sellout                                             PA0001733312          Songs of Universal, Inc.
1019   They Say                                                PA0001302106          Songs of Universal, Inc.
1020   This Is Me                                              PA0001131262          Songs of Universal, Inc.
1021   This Is The House That Doubt Built                      PA0001748916          Songs of Universal, Inc.
1022   This Is Your Night                                      PA0001371414          Songs of Universal, Inc.
1023   U Remind Me                                             PA0001147408          Songs of Universal, Inc.
1024   Universal Mind Control (UMC)                            PA0001395696          Songs of Universal, Inc.
1025   Up All Night                                            PA0001715364          Songs of Universal, Inc.
1026   Use Me                                                  RE0000832587          Songs of Universal, Inc.
1027   Video Phone                                             PA0001657245          Songs of Universal, Inc.
1028   Virginia Moon                                           PAu003542317          Songs of Universal, Inc.
1029   Voodoo                                                  PA0002063426          Songs of Universal, Inc.
1030   W.T.P.                                                  PA0001730966          Songs of Universal, Inc.
1031   Wait For Me                                             PA0001780732          Songs of Universal, Inc.
1032   Wait For You                                            PA0001821989          Songs of Universal, Inc.
1033   Wanted Is Love                                          PA0001839493          Songs of Universal, Inc.
1034   Wave Ya Hand                                            PA0001730648          Songs of Universal, Inc.
1035   We All Want Love                                        PA0001778698          Songs of Universal, Inc.
1036   Weak                                                    PA0000664030          Songs of Universal, Inc.
1037   Wedding Day                                             PA0001768169          Songs of Universal, Inc.




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                               Track                                Reg. No.                                       Plaintiff
                                                               PA0001808402
1038 Welcome 2 Hell                                                                  Songs of Universal, Inc.
                                                               PA0001784192
1039   What A World                                            PA0001656994          Songs of Universal, Inc.
1040   What Goes Around                                        PA0001780251          Songs of Universal, Inc.
1041   What I Gotta Do                                         PA0001734468          Songs of Universal, Inc.
1042   What If I Do?                                           PA0001730872          Songs of Universal, Inc.
1043   What's Your Mama's Name, Child                          RE0000821360          Songs of Universal, Inc.
1044   Wheels                                                  PA0001705842          Songs of Universal, Inc.
1045   Where We Came From                                      PA0001839490          Songs of Universal, Inc.
1046   Where Ya Wanna Go                                       PA0001824684          Songs of Universal, Inc.
1047   Who Do You Love?                                        PA0001897250          Songs of Universal, Inc.
1048   Willing To Wait                                         PA0001328103          Songs of Universal, Inc.
1049   With You                                                PA0001371417          Songs of Universal, Inc.
1050   Without Me                                              PA0001143650          Songs of Universal, Inc.
1051   Word Forward                                            PA0001678922          Songs of Universal, Inc.
1052   Words I Never Said                                      PA0001739113          Songs of Universal, Inc.
1053   Working Man                                             PA0001840143          Songs of Universal, Inc.
1054   Wrong Feels So Right                                    PA0001828618          Songs of Universal, Inc.
1055   Ying & The Yang                                         PA0001678487          Songs of Universal, Inc.
1056   You Da One                                              PA0001778697          Songs of Universal, Inc.
1057   You Don't Know                                          PA0001396073          Songs of Universal, Inc.
1058   You See Me                                              PA0001773581          Songs of Universal, Inc.
1059   You're Never Over                                       PA0001731110          Songs of Universal, Inc.
1060   Your Love                                               PA0001745312          Songs of Universal, Inc.
1061   Don't Tell Me You Love Me                               PA0001780734          Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
1062   I'm In Miami Bitch                                      PA0001749811          Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
1063   Up In Flames                                            PA0001840535          Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
1064   Young Forever                                           PA0001822065          Songs of Universal, Inc. / Sony/ATV Music Publishing LLC
1065   Easy                                                    PA0001726638          Songs of Universal, Inc. / Universal Music Corp.
1066   Life is a Highway                                       PA0000683569          Songs of Universal, Inc. / Universal Music Corp.
1067   2024                                                    PA0001794286          Sony/ATV Music Publishing LLC
1068   9 Piece                                                 PA0001864281          Sony/ATV Music Publishing LLC
1069   A Capella (Something's Missing)                         PA0001821297          Sony/ATV Music Publishing LLC
1070   A Gentlemen's Coup                                      PA0001887807          Sony/ATV Music Publishing LLC
1071   A Name In This Town                                     PA0001777805          Sony/ATV Music Publishing LLC
1072   Aberdeen                                                PA0001794286          Sony/ATV Music Publishing LLC
1073   Ack Like You Know                                       PA0001644889          Sony/ATV Music Publishing LLC
1074   Ain't No Rest for the Wicked                            PA0001794291          Sony/ATV Music Publishing LLC
1075   Airstream Song                                          PA0001682737          Sony/ATV Music Publishing LLC
1076   Alejandro                                               PA0001751975          Sony/ATV Music Publishing LLC
1077   All Around The World                                    PA0001850389          Sony/ATV Music Publishing LLC
1078   All I Really Want                                       PA0001748296          Sony/ATV Music Publishing LLC
1079   All The Money In The World                              PA0001821914          Sony/ATV Music Publishing LLC
1080   Always Been Me                                          PA0001777807          Sony/ATV Music Publishing LLC
1081   Always Something                                        PA0001794286          Sony/ATV Music Publishing LLC
1082   America's Suitehearts                                   PA0001720941          Sony/ATV Music Publishing LLC
1083   Apologize                                               PA0001708388          Sony/ATV Music Publishing LLC
1084   Architects                                              PA0001887807          Sony/ATV Music Publishing LLC
1085   Around My Head                                          PA0001794286          Sony/ATV Music Publishing LLC
1086   As Long As You Love Me                                  PA0001834758          Sony/ATV Music Publishing LLC
1087   Aston Martin Music                                      PA0001821812          Sony/ATV Music Publishing LLC
1088   Audience Of One                                         PA0000167361          Sony/ATV Music Publishing LLC
1089   Automatic                                               PA0001822058          Sony/ATV Music Publishing LLC
1090   Available                                               PA0001807827          Sony/ATV Music Publishing LLC
1091   B.M.F. (Blowin' Money Fast)                             PA0001821909          Sony/ATV Music Publishing LLC
1092   Back Against The Wall                                   PA0001794291          Sony/ATV Music Publishing LLC
1093   Back Stabbin' Betty                                     PA0001794291          Sony/ATV Music Publishing LLC
1094   Bad Habits                                              PA0001707770          Sony/ATV Music Publishing LLC
1095   Bad Romance                                             PA0001751974          Sony/ATV Music Publishing LLC
1096   Bassline                                                PA0001896024          Sony/ATV Music Publishing LLC
1097   Beautiful, Dirty, Rich                                  PA0001685320          Sony/ATV Music Publishing LLC




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                                 Track                              Reg. No.                                      Plaintiff
1098   Beer For My Horses                                      PA0001109842          Sony/ATV Music Publishing LLC
1099   Believe                                                 PA0001835123          Sony/ATV Music Publishing LLC
1100   Blowin Money Fast                                       PA0001821909          Sony/ATV Music Publishing LLC
1101   Blowin' Up Your Speakers                                PA0001158291          Sony/ATV Music Publishing LLC
1102   Bojangles                                               PA0001338581          Sony/ATV Music Publishing LLC
1103   Boys Boys Boys                                          PA0001685351          Sony/ATV Music Publishing LLC
1104   Brave                                                   PA0001967864          Sony/ATV Music Publishing LLC
1105   Broken Mirrors                                          PA0001887807          Sony/ATV Music Publishing LLC
1106   Brown Eyes                                              PA0001685359          Sony/ATV Music Publishing LLC
1107   Bubbly                                                  PA0001391445          Sony/ATV Music Publishing LLC
1108   Center Stage                                            PA0001952597          Sony/ATV Music Publishing LLC
1109   Chartreuse                                              PA0001952597          Sony/ATV Music Publishing LLC
1110   Chasing You                                             PA0001952597          Sony/ATV Music Publishing LLC
1111   Christmas Tree                                          PA0001969613          Sony/ATV Music Publishing LLC
1112   Church Pew Or Bar Stool                                 PA0001897745          Sony/ATV Music Publishing LLC
1113   Collapse (Post-Amerika)                                 PA0001617361          Sony/ATV Music Publishing LLC
1114   Come N Go                                               PA0001780999          Sony/ATV Music Publishing LLC
1115   Cowboys Forever                                         PA0001967394          Sony/ATV Music Publishing LLC
1116   Dead Flowers                                            PA0001682745          Sony/ATV Music Publishing LLC
1117   Disparity By Design                                     PA0001887807          Sony/ATV Music Publishing LLC
1118   Disturbia                                               PA0001692669          Sony/ATV Music Publishing LLC
1119   DJ Khaled Interlude                                     PA0001661345          Sony/ATV Music Publishing LLC
1120   Don't Judge Me                                          PA0001896026          Sony/ATV Music Publishing LLC
1121   Don't Play This Song                                    PA0001750006          Sony/ATV Music Publishing LLC
1122   Don't Stop The Music                                    PA0001637008          Sony/ATV Music Publishing LLC
1123   Drones In The Valley                                    PA0001794291          Sony/ATV Music Publishing LLC
1124   Eh, Eh (Nothing Else I Can Say)                         PA0001685326          Sony/ATV Music Publishing LLC
1125   Endgame                                                 PA0001887807          Sony/ATV Music Publishing LLC
1126   Entertainment                                           PA0001617361          Sony/ATV Music Publishing LLC
1127   Farrah Fawcett Hair                                     PA0001952598          Sony/ATV Music Publishing LLC
1128   Finally Here                                            PA0001807843          Sony/ATV Music Publishing LLC
1129   Fire Burns                                              PA0001822066          Sony/ATV Music Publishing LLC
1130   Flow                                                    PA0001794286          Sony/ATV Music Publishing LLC
1131   Fly                                                     PA0001745306          Sony/ATV Music Publishing LLC
1132   Forever                                                 PA0001677037          Sony/ATV Music Publishing LLC
1133   Freaky Deaky                                            PA0001644872          Sony/ATV Music Publishing LLC
1134   Free Love                                               PA0001794291          Sony/ATV Music Publishing LLC
1135   Freedom                                                 PA0001840533          Sony/ATV Music Publishing LLC
1136   From Heads Unworthy                                     PA0001617361          Sony/ATV Music Publishing LLC
1137   Gangsta Bop                                             PA0001167178          Sony/ATV Music Publishing LLC
1138   GHOST!                                                  PA0001750014          Sony/ATV Music Publishing LLC
1139   Girls Fall Like Dominoes                                PA0001996711          Sony/ATV Music Publishing LLC
1140   Girls Like You                                          PA0001808680          Sony/ATV Music Publishing LLC
1141   Give Me Everything                                      PA0001780977          Sony/ATV Music Publishing LLC
1142   Good Enough For Now                                     PA0000311496          Sony/ATV Music Publishing LLC
1143   Gotta Get It (Dancer)                                   PA0001807837          Sony/ATV Music Publishing LLC
1144   Hairline Fracture                                       PA0001617361          Sony/ATV Music Publishing LLC
1145   Heart Like Mine                                         PA0001682741          Sony/ATV Music Publishing LLC
1146   Help Is On The Way                                      PA0001887807          Sony/ATV Music Publishing LLC
1147   Hero Of War                                             PA0001617361          Sony/ATV Music Publishing LLC
1148   Hey Baby (Drop It To The Floor)                         PA0001719812          Sony/ATV Music Publishing LLC
1149   I Choose You                                            PA0001967866          Sony/ATV Music Publishing LLC
1150   I Don't Care                                            PA0001022882          Sony/ATV Music Publishing LLC
1151   I Like It                                               PA0001786618          Sony/ATV Music Publishing LLC
1152   I Sold My Bed, But Not My Stereo                        PA0001952597          Sony/ATV Music Publishing LLC
1153   I'm Not A Star                                          PA0001821873          Sony/ATV Music Publishing LLC
1154   If I Ruled The World                                    PA0001825040          Sony/ATV Music Publishing LLC
1155   In One Ear                                              PA0001794292          Sony/ATV Music Publishing LLC
1156   In The Dark                                             PA0001783660          Sony/ATV Music Publishing LLC
1157   Indy Kidz                                               PA0001794286          Sony/ATV Music Publishing LLC
1158   Invisible                                               PA0001825037          Sony/ATV Music Publishing LLC




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                               Track                                Reg. No.                                      Plaintiff
1159   James Brown                                             PA0001794291          Sony/ATV Music Publishing LLC
1160   Japanese Buffalo                                        PA0001794286          Sony/ATV Music Publishing LLC
1161   Just Dance                                              PA0001685310          Sony/ATV Music Publishing LLC
1162   Just One Last Time                                      PA0001896046          Sony/ATV Music Publishing LLC
1163   Kangaroo Court                                          PA0001952597          Sony/ATV Music Publishing LLC
1164   Kotov Syndrome                                          PA0001617361          Sony/ATV Music Publishing LLC
1165   Krazy                                                   PA0001733987          Sony/ATV Music Publishing LLC
1166   Lazy Lies                                               PA0001952597          Sony/ATV Music Publishing LLC
1167   Let's Get Lifted Again                                  PA0001160450          Sony/ATV Music Publishing LLC
1168   Like A G6                                               PA0001778021          Sony/ATV Music Publishing LLC
1169   Little Bad Girl                                         PA0001814075          Sony/ATV Music Publishing LLC
1170   Long Distance                                           PA0001821287          Sony/ATV Music Publishing LLC
1171   Long Forgotten Sons                                     PA0001617361          Sony/ATV Music Publishing LLC
1172   Lotus                                                   PA0001794291          Sony/ATV Music Publishing LLC
1173   Love Away                                               PA0001952597          Sony/ATV Music Publishing LLC
1174   Love Who You Love                                       PA0001661382          Sony/ATV Music Publishing LLC
1175   LoveGame                                                PA0001685315          Sony/ATV Music Publishing LLC
1176   Mafia Music                                             PA0001748285          Sony/ATV Music Publishing LLC
1177   Maintain the Pain                                       PA0001682745          Sony/ATV Music Publishing LLC
1178   Make It Stop (September's Children)                     PA0001887807          Sony/ATV Music Publishing LLC
1179   Makin' Plans                                            PA0001682745          Sony/ATV Music Publishing LLC
1180   Mama Africa                                             PA0001167181          Sony/ATV Music Publishing LLC
1181   Marchin On                                              PA0001755881          Sony/ATV Music Publishing LLC
1182   Maria                                                   PA0001834767          Sony/ATV Music Publishing LLC
1183   Marry Me                                                PA0001896439          Sony/ATV Music Publishing LLC
1184   Maybach Music                                           PA0001639897          Sony/ATV Music Publishing LLC
1185   MC Hammer                                               PA0001821908          Sony/ATV Music Publishing LLC
1186   Me and Your Cigarettes                                  PA0001682744          Sony/ATV Music Publishing LLC
1187   Metropolis                                              PA0001827951          Sony/ATV Music Publishing LLC
1188   Midnight Hands                                          PA0001887807          Sony/ATV Music Publishing LLC
1189   Mojo So Dope                                            PA0001750010          Sony/ATV Music Publishing LLC
1190   Money Right                                             PA0001644871          Sony/ATV Music Publishing LLC
1191   Monster                                                 PA0001751978          Sony/ATV Music Publishing LLC
1192   Mr. Rager                                               PA0001750006          Sony/ATV Music Publishing LLC
1193   Mr. Worldwide (Intro)                                   PA0001780980          Sony/ATV Music Publishing LLC
1194   Music Sounds Better                                     PA0001825036          Sony/ATV Music Publishing LLC
1195   Nature Trail To Hell                                    PA0000205633          Sony/ATV Music Publishing LLC
1196   Never                                                   PA0001807823          Sony/ATV Music Publishing LLC
1197   Never Took The Time                                     PA0001663701          Sony/ATV Music Publishing LLC
1198   Nice                                                    PA0001659024          Sony/ATV Music Publishing LLC
1199   No. 1                                                   PA0001821894          Sony/ATV Music Publishing LLC
1200   Nothing Really Matters                                  PA0001814078          Sony/ATV Music Publishing LLC
1201   On and On                                               PA0001735747          Sony/ATV Music Publishing LLC
1202   Only Prettier                                           PA0001682740          Sony/ATV Music Publishing LLC
1203   Origami                                                 PA0001952597          Sony/ATV Music Publishing LLC
1204   Out Of Town Girl                                        PA0001835122          Sony/ATV Music Publishing LLC
1205   Oye Baby                                                PA0001745498          Sony/ATV Music Publishing LLC
1206   Paper Gangsta                                           PA0001685367          Sony/ATV Music Publishing LLC
1207   Patience Gets Us Nowhere Fast                           PA0001952597          Sony/ATV Music Publishing LLC
1208   Pay Me                                                  PA0001808680          Sony/ATV Music Publishing LLC
1209   Play Hard                                               PA0001827956          Sony/ATV Music Publishing LLC
1210   Poker Face                                              PA0001685342          Sony/ATV Music Publishing LLC
1211   Pretty Wings                                            PA0001707770          Sony/ATV Music Publishing LLC
1212   Priceless                                               PA0001644888          Sony/ATV Music Publishing LLC
1213   Quickie                                                 PA0001808680          Sony/ATV Music Publishing LLC
1214   R.O.O.T.S.                                              PA0001807832          Sony/ATV Music Publishing LLC
1215   Raise 'Em Up                                            PA0001947439          Sony/ATV Music Publishing LLC
1216   Raw (How You Like It)                                   PA0001848766          Sony/ATV Music Publishing LLC
1217   Re-Education (Through Labor)                            PA0001617361          Sony/ATV Music Publishing LLC
1218   Ready To Roll                                           PA0001890859          Sony/ATV Music Publishing LLC
1219   Right Before My Eyes                                    PA0001794286          Sony/ATV Music Publishing LLC




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                 Track                              Reg. No.                                      Plaintiff
1220   Right By My Side                                        PA0001822037          Sony/ATV Music Publishing LLC
1221   Right Here (Departed)                                   PA0001821289          Sony/ATV Music Publishing LLC
1222   Right Round                                             PA0001639208          Sony/ATV Music Publishing LLC
1223   Right Thru Me                                           PA0001745303          Sony/ATV Music Publishing LLC
1224   Rubber Ball                                             PA0001794286          Sony/ATV Music Publishing LLC
1225   Sabertooth Tiger                                        PA0001794286          Sony/ATV Music Publishing LLC
1226   Safe and Sound                                          PA0001952597          Sony/ATV Music Publishing LLC
1227   Satellite                                               PA0001887807          Sony/ATV Music Publishing LLC
1228   Savior                                                  PA0001617361          Sony/ATV Music Publishing LLC
1229   Scared Of Beautiful                                     PA0001846377          Sony/ATV Music Publishing LLC
1230   Sell Yourself                                           PA0001794286          Sony/ATV Music Publishing LLC
1231   Shake Senora                                            PA0001820421          Sony/ATV Music Publishing LLC
1232   Shake Senora Remix                                      PA0001820421          Sony/ATV Music Publishing LLC
1233   She Don't Like The Lights                               PA0001822166          Sony/ATV Music Publishing LLC
1234   She Wolf (Falling to Pieces)                            PA0001896051          Sony/ATV Music Publishing LLC
1235   She'd Be California                                     PA0001661378          Sony/ATV Music Publishing LLC
1236   Shut It Down                                            PA0001733390          Sony/ATV Music Publishing LLC
1237   Sin For A Sin                                           PA0001682734          Sony/ATV Music Publishing LLC
1238   Sinner                                                  PA0001777809          Sony/ATV Music Publishing LLC
1239   So Happy I Could Die                                    PA0001751980          Sony/ATV Music Publishing LLC
1240   Soil To The Sun                                         PA0001794291          Sony/ATV Music Publishing LLC
1241   Something For The DJs                                   PA0001774899          Sony/ATV Music Publishing LLC
1242   Spaghetti                                               PA0001879175          Sony/ATV Music Publishing LLC
1243   Speechless                                              PA0001751979          Sony/ATV Music Publishing LLC
1244   Stand Up                                                PA0001946133          Sony/ATV Music Publishing LLC
1245   Starstruck                                              PA0001685366          Sony/ATV Music Publishing LLC
1246   Stay With Me                                            PA0001698437          Sony/ATV Music Publishing LLC
1247   Still Missin                                            PA0001644870          Sony/ATV Music Publishing LLC
1248   Strip                                                   PA0001896031          Sony/ATV Music Publishing LLC
1249   Stupid Hoe                                              PA0001822069          Sony/ATV Music Publishing LLC
1250   Sugar (Feat. Wynter)                                    PA0001807821          Sony/ATV Music Publishing LLC
1251   Summerboy                                               PA0001685365          Sony/ATV Music Publishing LLC
1252   Superhuman                                              PA0001659015          Sony/ATV Music Publishing LLC
1253   Survivor Guilt                                          PA0001887807          Sony/ATV Music Publishing LLC
1254   Sweat                                                   PA0001803810          Sony/ATV Music Publishing LLC
1255   Sweetie                                                 PA0001864023          Sony/ATV Music Publishing LLC
1256   Take Me Along                                           PA0001708950          Sony/ATV Music Publishing LLC
1257   Teenage Kings                                           PA0001920260          Sony/ATV Music Publishing LLC
1258   Tell Me How To Live                                     PA0001952597          Sony/ATV Music Publishing LLC
1259   The Dirt Whispered                                      PA0001617361          Sony/ATV Music Publishing LLC
1260   The Fame                                                PA0001685344          Sony/ATV Music Publishing LLC
1261   The Strength To Go On                                   PA0001617361          Sony/ATV Music Publishing LLC
1262   The Sun Will Rise                                       PA0001807177          Sony/ATV Music Publishing LLC
1263   The Sweet Escape                                        PA0001166379          Sony/ATV Music Publishing LLC
1264   These Worries                                           PA0001750006          Sony/ATV Music Publishing LLC
1265   Things That Matter                                      PA0001661359          Sony/ATV Music Publishing LLC
1266   This Is Letting Go                                      PA0001887807          Sony/ATV Music Publishing LLC
1267   Thought Of You                                          PA0001834762          Sony/ATV Music Publishing LLC
1268   Time                                                    PA0001874359          Sony/ATV Music Publishing LLC
1269   Tiny Little Robots                                      PA0001794291          Sony/ATV Music Publishing LLC
1270   Titanium                                                PA0001814072          Sony/ATV Music Publishing LLC
1271   Torn Down                                               PA0001821291          Sony/ATV Music Publishing LLC
1272   Touch Me                                                PA0001896041          Sony/ATV Music Publishing LLC
1273   Touch Me                                                PA0001807825          Sony/ATV Music Publishing LLC
1274   Virginia Bluebell                                       PA0001682743          Sony/ATV Music Publishing LLC
1275   Vixen                                                   PA0001808680          Sony/ATV Music Publishing LLC
1276   Wait For Me                                             PA0001887807          Sony/ATV Music Publishing LLC
1277   Way Out Here                                            PA0001777804          Sony/ATV Music Publishing LLC
1278   We Aite (Wake Your Mind Up)                             PA0001750006          Sony/ATV Music Publishing LLC
1279   We Are Young (feat. Janelle Mone)                       PA0001811978          Sony/ATV Music Publishing LLC
1280   What A Catch, Donnie                                    PA0001720943          Sony/ATV Music Publishing LLC




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                      Plaintiff
1281 What I Wanted to Say                                      PA0001698434          Sony/ATV Music Publishing LLC
1282 Whatcha Say                                               PA0001813211          Sony/ATV Music Publishing LLC
                                                               PA0001682910
1283 When Love Takes Over                                                            Sony/ATV Music Publishing LLC
                                                               PA0001644855
1284   Whereabouts Unknown                                     PA0001617361          Sony/ATV Music Publishing LLC
1285   White Liar                                              PA0001682738          Sony/ATV Music Publishing LLC
1286   Who I Am With You                                       PA0001887676          Sony/ATV Music Publishing LLC
1287   Won't Be Lonely Long - On The Road                      PA0001777801          Sony/ATV Music Publishing LLC
1288   XO                                                      PA0001879186          Sony/ATV Music Publishing LLC
1289   Yeah 3x                                                 PA0001884071          Sony/ATV Music Publishing LLC
1290   You Ain't Seen Country Yet                              PA0000177803          Sony/ATV Music Publishing LLC
1291   TRUE                                                    PA0001821294          Sony/ATV Music Publishing LLC
1292   Intro                                                   PA0001874326          Sony/ATV Music Publishing LLC
1293   Trouble On My Mind                                      PA0001789134          Sony/ATV Music Publishing LLC
                                                               PA0001875761
1294 You're Not In On The Joke                                                       Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                               PA0001662742
1295 Forgiveness                                               PA0001158290          Sony/ATV Music Publishing LLC / EMI April Music Inc.
1296 Oh My Love                                                PA0001772289          Sony/ATV Music Publishing LLC / EMI April Music Inc.
1297 Mirage                                                    PA0001896025          Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                               PA0001875762
1298 Move Like You Gonna Die                                                         Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                               PA0001662776
1299 The Way                                                   PA0001903036          Sony/ATV Music Publishing LLC / EMI April Music Inc.
                                                                                     Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music
1300 Refill                                                    PA0002000106
                                                                                     Corp.
                                                               PA0001848908          Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music
1301 Talk That Talk
                                                               PA0002003919          Corp.
                                                               PA0001771874          Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music
1302 Castle Made Of Sand
                                                               PA0001780992          Corp. / W.B.M. Music Corp.
                                                               PA0001858812          Sony/ATV Music Publishing LLC / EMI April Music Inc. / WB Music
1303 Jay Z Blue
                                                               PA0001878202          Corp. / Warner-Tamerlane Publishing Corp.
1304   Downtown                                                PA0001864826          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1305   More                                                    PA0001745641          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1306   Superstar                                               PA0001825039          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1307   Your Mama Should've Named You Whiskey                   PA0001914393          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1308   Across The World                                        PA0001706677          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1309   Feel This Moment                                        PA0001858590          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1310   Hope We Meet Again                                      PA0001858593          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1311   I'm Gone                                                PA0001788402          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1312   Took My Love                                            PA0001781001          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
1313   Where Do We Go                                          PA0001760301          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / EMI
1314 What About Us?                                            PA0001072616
                                                                                     April Music Inc.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-
1315 Fast Lane                                                 PA0001842407
                                                                                     Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-
1316 Fuego                                                     PA0001884048
                                                                                     Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-
1317 Hotel Room Service                                        PA0001677761
                                                                                     Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-
1318 Without A Woman                                           PA0001865872
                                                                                     Tamerlane Publishing Corp.
                                                               PA0001856240          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / Warner-
1319 Unfortunate
                                                               PA0001787038          Tamerlane Publishing Corp.
                                                               PA0001870870          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB
1320 Dirt Road Diary
                                                               PA0001967431          Music Corp.
                                                               PA0001852371          Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB
1321 I Did It For My Dawgz
                                                               PA0001874308          Music Corp.
                                                                                     Sony/ATV Music Publishing LLC / EMI Blackwood Music Inc. / WB
1322 With The Lights On                                        PA0001924140
                                                                                     Music Corp.
                                                                                     Sony/ATV Music Publishing LLC / EMI Entertainment World Inc. d/b/a
1323 Without You                                               PA0001814077
                                                                                     EMI Foray Music / EMI April Music Inc.
1324 Tears Of Joy                                              PA0001821877          Sony/ATV Music Publishing LLC / Jobete Music Co Inc




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                               Track                                Reg. No.                                      Plaintiff
1325 Dance (Ass)                                               PA0001760422          Sony/ATV Music Publishing LLC / Jobete Music Co. Inc.
1326 Down On Me                                                PA0001722077          Sony/ATV Music Publishing LLC / Universal Music Corp.
1327 I'll Still Kill                                           PA0001645337          Sony/ATV Music Publishing LLC / Universal Music Corp.
                                                               PA0001852397          Sony/ATV Music Publishing LLC / W.B.M. Music Corp./WB Music
1328 Mr. Right Now
                                                               PA0001780994          Corp.
1329 21                                                        PA0001741677          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1330 Automatic                                                 PA0001932906          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1331 Paint Tha Town                                            PA0001976126          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001638917
1332 American Superstar                                                              Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001644943
                                                               PA0001693110
1333 Back Around                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001777802
                                                               PA0001807230
1334 Blunt Blowin                                                                    Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001811893
1335 Born This Way (Country Road Version)                      PA0001757756          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1336 Cut Throat                                                PA0001648869          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1337 Dance In The Dark                                         PA0001668360          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001647060
1338 Don't Know How To Act                                                           Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001644874

1339 Fall Asleep                                               PA0001874350          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001951624
1340 Got Everything                                                                  Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001874348
                                                               PA0001995833
1341 High School                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001840527
                                                               PA0001647062
1342 In The Ayer                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001644948

1343 International Love                                        PA0001771867          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1344 John                                                      PA0001807238          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001951623
1345 Let It Go                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001874344
                                                               PA0001691877
1346 Love Song                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001682742
                                                               PA0001807225
1347 Marilyn Monroe                                                                  Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001822206
                                                               PA0001951617
1348 No Limit                                                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001874362

1349 Paperbond                                                 PA0001874342          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001741420
1350 Permanent December                                                              Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001708953

1351 Romans Revenge                                            PA0001786576          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1352 Side FX                                                   PA0001896430          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1353 Stackin                                                   PA0001841819          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001807221
1354 Starships                                                                       Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001822042
1355 Stupid Love                                               PA0001924144          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

1356 Take Back The Night                                       PA0001985062          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.




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                               Track                                Reg. No.                                     Plaintiff
1357 The Bluff                                                 PA0001874346          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.

                                                               PA0001874363
1358 The Plan                                                                        Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001913727
                                                               PA0001750275
1359 The Show Goes On                                                                Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001735709
                                                               PA0001771888
1360 Unusual                                                                         Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001787047
                                                               PA0001741927
1361 What's Wrong With Them                                                          Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001804877
                                                               PA0001807223
1362 Whip It                                                                         Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001822050
                                                               PA0001771889
1363 You Just Need Me                                                                Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
                                                               PA0001787045
                                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
1364 Maybach Music III                                         PA0001739159
                                                                                     / WB Music Corp.
                                                                                     Sony/ATV Music Publishing LLC / Warner-Tamerlane Publishing Corp.
1365 Speedin'                                                  PA0001647947
                                                                                     / WB Music Corp.
                                                               PA0001791456
1366 All Alone                                                                       Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810597
                                                               PA0001791457
1367 All Alright                                                                     Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810599
                                                               PA0001791456
1368 Carry On                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001812238
                                                               PA0001823951
1369 Each Other                                                                      Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001763340
1370 Free Mason                                                PA0001715518          Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001334589
1371 Hustlin'                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001367972
                                                               PA0001791456
1372 It Gets Better                                                                  Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810595
                                                               PA0001622996
1373 Lace and Leather                                                                Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001647942
                                                               PA0001659046
1374 Lover's Thing                                                                   Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001755160
1375 Magnificent                                               PA0001651715          Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001791458
1376 One Foot                                                                        Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001811984
                                                               PA0001919070
1377 Sexodus                                                                         Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001955249
                                                               PA0001791456
1378 Some Nights                                                                     Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810594
                                                               PA0001791456
1379 Some Nights (Intro)                                                             Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810593
                                                               PA0001791456
1380 Stars                                                                           Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810598
                                                               PA0001745024
1381 Turn Around (5,4,3,2,1)                                                         Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001821659
                                                               PA0001791456
1382 We Are Young                                                                    Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001811978
                                                               PA0001791456
1383 Why Am I the One                                                                Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001810596
                                                               PA0001741641
1384 Why You Up In Here                                                              Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001821674
1385 BO$$                                                      PA0001961615          Sony/ATV Music Publishing LLC / WB Music Corp.
1386 Cooler Than Me                                            PA0001740827          Sony/ATV Music Publishing LLC / WB Music Corp.
1387 Turn Around (5,4,3,2,1)                                   PA0001745024          Sony/ATV Music Publishing LLC / WB Music Corp.
                                                               PA0001842280          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1388 Biggest Fan
                                                               PA0001896028          Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1389 Heaven                                                    PA0001858834
                                                                                     Tamerlane Publishing Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                      Plaintiff
                                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1390 Let It Roll Part 2                                        PA0001863569
                                                                                     Tamerlane Publishing Corp.
                                                               PA0001780014          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1391 Lose Control
                                                               PA0001755876          Tamerlane Publishing Corp.
                                                               PA0001870023          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1392 Maybe You're Right
                                                               PA0001920676          Tamerlane Publishing Corp.
                                                               PA0001780007          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1393 Morning After Dark
                                                               PA0001755873          Tamerlane Publishing Corp.
                                                               PA0001771867          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1394 My Darlin'
                                                               PA0001870022          Tamerlane Publishing Corp.
                                                               PA0001398432          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1395 Picasso Baby
                                                               PA0001858799          Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1396 Remember You                                              PA0001872896
                                                                                     Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1397 The One I Love                                            PA0001755880
                                                                                     Tamerlane Publishing Corp.
                                                                                     Sony/ATV Music Publishing LLC / WB Music Corp. / Warner-
1398 Tom Ford                                                  PA0001858805
                                                                                     Tamerlane Publishing Corp.
                                                               PA0001853118          Sony/ATV Music Publishing LLC / WB Music Corp. / Warner/Chappell
1399 Hot In Here
                                                               PA0001910894          Music, Inc.
                                                               Eu0000789133
1400 Can I Get A Witness                                                             Stone Agate Music (a division of Jobete Music Co. Inc.)
                                                               RE0000535701
1401   It Takes Two                                            EP0000214841          Stone Agate Music (a division of Jobete Music Co. Inc.)
1402   That's The Way Love Is                                  RE0000678602          Stone Agate Music (a division of Jobete Music Co. Inc.)
1403   God Gave Me Style                                       PA0001160843          Stone Diamond Music Corp. / Jobete Music Co. Inc.
1404   Head Over Feet                                          PA0000705734          UMG Recordings, Inc.
1405   Simple Together                                         PA0001229065          UMG Recordings, Inc.
1406   Sister Blister                                          PA0001229062          UMG Recordings, Inc.
1407   That I Would Be Good                                    PA0000940240          UMG Recordings, Inc.
1408   Uninvited                                               PA0000921947          UMG Recordings, Inc.
1409   You Learn                                               PA0000705733          UMG Recordings, Inc.
1410   You Oughta Know                                         PA0000705728          UMG Recordings, Inc.
                                                               EP0000056342
1411 Always Late (with Your Kisses)                                                  Unichappell Music, Inc.
                                                               RE0000017054
                                                               Eu0000721849
1412 Down In The Valley                                                              Unichappell Music, Inc.
                                                               RE0000490969
                                                               EU0000437231
1413 Hallelujah I Love Her So                                                        Unichappell Music, Inc.
                                                               RE0000193661
                                                               Eu0000760358
1414 Home In Your Heart                                                              Unichappell Music, Inc.
                                                               RE0000519130
1415 Live Fast, Die Young                                      PA0001739156          Unichappell Music, Inc.
1416 Lloyd (Intro)                                             PA0001387423          Unichappell Music, Inc.
1417 Necromancer                                               Eu0000236563          Unichappell Music, Inc.
                                                               Eu0000937504
                                                               EP0000204266
1418 Papa's Got A Brand New Bag                                                      Unichappell Music, Inc.
                                                               RE0000660458
                                                               RE0000621005
1419   Where Have You Been                                     PA0001802575          Unichappell Music, Inc.
1420   1st Of Tha Month                                        PA0000782831          Unichappell Music, Inc.
1421   In The Rain                                             PA0001697043          Unichappell Music, Inc.
1422   Pump It Harder                                          PA0001723093          Unichappell Music, Inc.
1423   Somebody That I Used To Know                            PA0001785517          Unichappell Music, Inc.
1424   The Food                                                PA0001299025          Unichappell Music, Inc.
1425   The Title                                               PA0001263488          Unichappell Music, Inc.
                                                               EP0000105220
1426 Walking the Floor over You                                                      Unichappell Music, Inc.
                                                               R437566
1427   It's a Man's Man's Man's World                          PA0000934266          Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
1428   New God Flow                                            PA0001839620          Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
1429   New God Flow.1                                          PA0001839620          Unichappell Music, Inc. / Warner-Tamerlane Publishing Corp.
1430   Crazy in Love                                           PA0001131132          Unichappell Music, Inc. / WB Music Corp.
1431   Don't Like                                              PA0001808408          Unichappell Music, Inc. / WB Music Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                      Plaintiff
1432 Gotta Have It                                             PA0001762033          Unichappell Music, Inc. / WB Music Corp.
1433 Otis                                                      PA0001762031          Unichappell Music, Inc. / WB Music Corp.
1434 That's My Bitch                                           PA0001762034          Unichappell Music, Inc. / WB Music Corp.
                                                                                     Unichappell Music, Inc. / WB Music Corp. / Warner-Tamerlane
1435 No Church In The Wild                                     PA0001762032
                                                                                     Publishing Corp.
                                                                                     Unichappell Music, Inc. / WB Music Corp. / Warner-Tamerlane
1436 Suit & Tie                                                PA0001939563
                                                                                     Publishing Corp.
1437   A Distorted Reality Is Now A Necessity To Be Free       PA0001160161          Universal Music - MGB NA LLC
1438   A Fond Farewell                                         PA0001160152          Universal Music - MGB NA LLC
1439   A Forest                                                PA0000194922          Universal Music - MGB NA LLC
1440   A Message                                               PA0001700392          Universal Music - MGB NA LLC
1441   A Night Like This                                       PA0000279380          Universal Music - MGB NA LLC
1442   A Passing Feeling                                       PA0001160156          Universal Music - MGB NA LLC
1443   A Question Mark                                         PA0000943571          Universal Music - MGB NA LLC
1444   A Thousand Beautiful Things                             PA0001105462          Universal Music - MGB NA LLC
1445   Ace In The Hole                                         PA0000419894          Universal Music - MGB NA LLC
1446   Alameda                                                 PA0000859622          Universal Music - MGB NA LLC
1447   All Black Everything                                    PA0001740713          Universal Music - MGB NA LLC
1448   Alphabet Town                                           PA0000787969          Universal Music - MGB NA LLC
1449   Amity                                                   PA0000943572          Universal Music - MGB NA LLC
1450   Angeles                                                 PA0000859623          Universal Music - MGB NA LLC
1451   Baby Britain                                            PA0000943582          Universal Music - MGB NA LLC
1452   Ballad Of Big Nothing                                   PA0000859624          Universal Music - MGB NA LLC
1453   Beautiful                                               PA0001699599          Universal Music - MGB NA LLC
1454   Beautiful                                               PA0001073465          Universal Music - MGB NA LLC
1455   Beautiful Goodbye                                       PA0001810814          Universal Music - MGB NA LLC
1456   Beautiful Lasers (2 Ways)                               PA0001739094          Universal Music - MGB NA LLC
1457   Behind The Crooked Cross                                PA0000398150          Universal Music - MGB NA LLC
1458   Better Be Quiet Now                                     PA0001015796          Universal Music - MGB NA LLC
1459   Between The Bars                                        PA0000859625          Universal Music - MGB NA LLC
1460   Bled White                                              PA0000943583          Universal Music - MGB NA LLC
1461   Bless The Broken Road                                   PA0000734451          Universal Music - MGB NA LLC
1462   Breakdown                                               PA0001166373          Universal Music - MGB NA LLC
1463   Bye                                                     PA0001015793          Universal Music - MGB NA LLC
1464   Can't Make A Sound                                      PA0001015792          Universal Music - MGB NA LLC
1465   Candyman                                                PA0001600087          Universal Music - MGB NA LLC
1466   Christian Brothers                                      PA0000787963          Universal Music - MGB NA LLC
1467   Cleanse The Soul                                        PA0000398146          Universal Music - MGB NA LLC
1468   Clementine                                              PA0000787964          Universal Music - MGB NA LLC
1469   Close To Me                                             PA0000279388          Universal Music - MGB NA LLC
1470   Coast To Coast                                          PA0001160148          Universal Music - MGB NA LLC
1471   Colorbars                                               PA0001015789          Universal Music - MGB NA LLC
1472   Coming Up                                               PA0001739096          Universal Music - MGB NA LLC
1473   Coming Up Roses                                         PA0000787967          Universal Music - MGB NA LLC
1474   Condor Ave                                              PA0000874054          Universal Music - MGB NA LLC
1475   Cowboy Take Me Away                                     PA0000976781          Universal Music - MGB NA LLC
1476   Crashed                                                 PA0001166377          Universal Music - MGB NA LLC
1477   Culo (feat. Lil Jon)                                    PA0001160641          Universal Music - MGB NA LLC
1478   Cupids Trick                                            PA0000859633          Universal Music - MGB NA LLC
1479   Disappear                                               PA0002067656          Universal Music - MGB NA LLC
1480   Doin Dirt                                               PA0001810808          Universal Music - MGB NA LLC
1481   Don't Go Down                                           PA0001160150          Universal Music - MGB NA LLC
1482   Drive All Over Town                                     PA0000874058          Universal Music - MGB NA LLC
1483   Early Winter                                            PA0001350680          Universal Music - MGB NA LLC
1484   Easy Way Out                                            PA0001015787          Universal Music - MGB NA LLC
1485   Engel                                                   PA0000910768          Universal Music - MGB NA LLC
1486   Everybody Cares, Everybody Understands                  PA0000943580          Universal Music - MGB NA LLC
1487   Everything                                              PA0001160035          Universal Music - MGB NA LLC
1488   Everything Means Nothing To Me                          PA0001015783          Universal Music - MGB NA LLC
1489   Everything Reminds Me Of Her                            PA0001015782          Universal Music - MGB NA LLC




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                               Track                                Reg. No.                                    Plaintiff
                                                               V2694P487
1490 Everything's Coming Our Way                                                     Universal Music - MGB NA LLC
                                                               EU284167
1491   Eye In The Sky                                          PA0000144130          Universal Music - MGB NA LLC
1492   Fix You                                                 PA0001700422          Universal Music - MGB NA LLC
1493   Fortune Teller                                          PA0001810795          Universal Music - MGB NA LLC
1494   Free                                                    PA0001284167          Universal Music - MGB NA LLC
1495   Gatekeeper                                              PA0001166701          Universal Music - MGB NA LLC
1496   Ghosts of War                                           PA0000398148          Universal Music - MGB NA LLC
1497   Gone                                                    PA0001694264          Universal Music - MGB NA LLC
1498   Good To Go                                              PA0000787971          Universal Music - MGB NA LLC
                                                               V2694P487
1499 Guajira                                                                         Universal Music - MGB NA LLC
                                                               EU284166
1500   Hand In My Pocket                                       PA0000705730          Universal Music - MGB NA LLC
1501   Happiness                                               PA0001015790          Universal Music - MGB NA LLC
1502   Harder To Breathe                                       PA0001073084          Universal Music - MGB NA LLC
1503   Help Me                                                 PA0001395680          Universal Music - MGB NA LLC
1504   Home                                                    PA0001166372          Universal Music - MGB NA LLC
1505   How 'Bout Them Cowgirls                                 PA0001165925          Universal Music - MGB NA LLC
1506   I Care                                                  PA0001748375          Universal Music - MGB NA LLC
1507   I Didn't Understand                                     PA0000943573          Universal Music - MGB NA LLC
1508   I Don't Wanna Care Right Now                            PA0001739119          Universal Music - MGB NA LLC
1509   I Forgive You                                           PA0001771873          Universal Music - MGB NA LLC
1510   In Between Days                                         PA0000279383          Universal Music - MGB NA LLC
1511   In The Lost And Found (Honky Bach)/The Roost            PA0001015785          Universal Music - MGB NA LLC
1512   Independence Day                                        PA0000846538          Universal Music - MGB NA LLC
1513   Jumping Someone Else's Train                            PA0000205032          Universal Music - MGB NA LLC
1514   Junk Bond Trader                                        PA0001015781          Universal Music - MGB NA LLC
1515   Killing An Arab                                         PA0000205039          Universal Music - MGB NA LLC
1516   King's Crossing                                         PA0001160154          Universal Music - MGB NA LLC
1517   Kiwi Maddog 2020                                        PA0000874061          Universal Music - MGB NA LLC
1518   Ladykiller                                              PA0001810778          Universal Music - MGB NA LLC
1519   Last Call                                               PA0000874060          Universal Music - MGB NA LLC
1520   Leave Love Alone                                        PA0001810767          Universal Music - MGB NA LLC
1521   Leisure Suite                                           PA0001166703          Universal Music - MGB NA LLC
1522   Let It Die                                              PA0001166700          Universal Music - MGB NA LLC
1523   Let's Get Lost                                          PA0001160147          Universal Music - MGB NA LLC
1524   Let's Go To Bed                                         PA0000190147          Universal Music - MGB NA LLC
1525   Letting Go                                              PA0001739109          Universal Music - MGB NA LLC
1526   Links 2 3 4                                             PA0001015267          Universal Music - MGB NA LLC
1527   Little One                                              PA0001160160          Universal Music - MGB NA LLC
1528   Live Undead                                             PA0000398142          Universal Music - MGB NA LLC
1529   Lonely Lonely                                           PA0001166704          Universal Music - MGB NA LLC
1530   Lose Myself                                             PA0000884229          Universal Music - MGB NA LLC
1531   Love Was Easy                                           PA0001899459          Universal Music - MGB NA LLC
1532   Low                                                     PA0001700384          Universal Music - MGB NA LLC
1533   Lucky Strike                                            PA0001810804          Universal Music - MGB NA LLC
1534   Mamacita                                                PA0001635799          Universal Music - MGB NA LLC
1535   Mandatory Suicide                                       PA0000398149          Universal Music - MGB NA LLC
1536   Me                                                      PA0000898017          Universal Music - MGB NA LLC
1537   Memory Lane                                             PA0001160159          Universal Music - MGB NA LLC
1538   Miss Misery                                             PA0000880149          Universal Music - MGB NA LLC
1539   Mmm Papi                                                PA0001800249          Universal Music - MGB NA LLC
1540   Moves Like Jagger                                       PA0001801572          Universal Music - MGB NA LLC
1541   Mushaboom                                               PA0001166692          Universal Music - MGB NA LLC
1542   Must Get Out                                            PA0001073090          Universal Music - MGB NA LLC
1543   Mutter                                                  PA0001015271          Universal Music - MGB NA LLC
1544   My Kinda Girl                                           PA0002008135          Universal Music - MGB NA LLC
1545   Needle In The Hay                                       PA0000787962          Universal Music - MGB NA LLC
1546   No Name #1                                              PA0000874055          Universal Music - MGB NA LLC
1547   No Name #1                                              PA0000874056          Universal Music - MGB NA LLC
1548   No Name #1                                              PA0000874057          Universal Music - MGB NA LLC




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                                Track                               Reg. No.                                     Plaintiff
1549   No Name #4                                              PA0000874059          Universal Music - MGB NA LLC
1550   No Name #5                                              PA0000859632          Universal Music - MGB NA LLC
1551   No Substitute Love                                      PA0001911376          Universal Music - MGB NA LLC
1552   Nobody Ever Told You                                    PA0001810765          Universal Music - MGB NA LLC
1553   Not Coming Home                                         PA0001073094          Universal Music - MGB NA LLC
1554   Oh Well, OK                                             PA0000943579          Universal Music - MGB NA LLC
1555   One Evening                                             PA0001166702          Universal Music - MGB NA LLC
1556   Ostrich & Chirping                                      PA0001160153          Universal Music - MGB NA LLC
1557   Other Voices                                            PA0000194927          Universal Music - MGB NA LLC
1558   Pictures Of Me                                          PA0000859626          Universal Music - MGB NA LLC
1559   Pitseleh                                                PA0000943578          Universal Music - MGB NA LLC
1560   Play For Today                                          PA0000194917          Universal Music - MGB NA LLC
1561   Pretty (Ugly Before)                                    PA0001160149          Universal Music - MGB NA LLC
1562   Pretty Mary K (Other Version)                           PA0001015791          Universal Music - MGB NA LLC
1563   Pretty Mary Kay                                         PA0001015791          Universal Music - MGB NA LLC
1564   Primary                                                 PA0000194926          Universal Music - MGB NA LLC
1565   Punch And Judy                                          PA0000859627          Universal Music - MGB NA LLC
1566   Rag Doll                                                PA0001805172          Universal Music - MGB NA LLC
1567   Read Between The Lies                                   PA0000398147          Universal Music - MGB NA LLC
1568   Ready To Run                                            PA0000955178          Universal Music - MGB NA LLC
1569   REISE, REISE                                            PA0001163519          Universal Music - MGB NA LLC
1570   Roman Candle                                            PA0000874053          Universal Music - MGB NA LLC
1571   Rose Parade                                             PA0000859628          Universal Music - MGB NA LLC
1572   Sad                                                     PA0001810801          Universal Music - MGB NA LLC
                                                               V2694P487
1573 Samba Pa Ti                                                                     Universal Music - MGB NA LLC
                                                               EU221030
1574 Satellite                                                 PA0000787968          Universal Music - MGB NA LLC
1575 Satellites                                                PA0002067663          Universal Music - MGB NA LLC
1576 Say Yes                                                   PA0000859629          Universal Music - MGB NA LLC
                                                               V2694P487
1577 Se a Cabo                                                                       Universal Music - MGB NA LLC
                                                               EU221029
1578   Secret                                                  PA0001073092          Universal Music - MGB NA LLC
1579   See My Side                                             PA0001693337          Universal Music - MGB NA LLC
1580   Sehnsucht                                               PA0000956711          Universal Music - MGB NA LLC
1581   She Will Be Loved                                       PA0001073087          Universal Music - MGB NA LLC
1582   Shiver                                                  PA0001073086          Universal Music - MGB NA LLC
1583   Shooting Star                                           PA0001160158          Universal Music - MGB NA LLC
1584   Silent Scream                                           PA0000398144          Universal Music - MGB NA LLC
1585   Single File                                             PA0000787966          Universal Music - MGB NA LLC
1586   Some Song                                               PA0000977171          Universal Music - MGB NA LLC
1587   Somebody That I Used To Know                            PA0001015780          Universal Music - MGB NA LLC
1588   Somewhere Only We Know                                  PA0001160739          Universal Music - MGB NA LLC
1589   Son Of Sam                                              PA0001015779          Universal Music - MGB NA LLC
                                                               V2694P487
1590 Soul Sacrifice                                                                  Universal Music - MGB NA LLC
                                                               EU133364
1591   South Of Heaven                                         PA0000398143          Universal Music - MGB NA LLC
1592   Southern Belle                                          PA0000787965          Universal Music - MGB NA LLC
1593   Speed Trials                                            PA0000859630          Universal Music - MGB NA LLC
1594   Spill The Blood                                         PA0000398145          Universal Music - MGB NA LLC
1595   Square One                                              PA0001700428          Universal Music - MGB NA LLC
1596   St. Ides Heaven                                         PA0000787970          Universal Music - MGB NA LLC
1597   State Run Radio                                         PA0001739098          Universal Music - MGB NA LLC
1598   Stronger (What Doesn't Kill You)                        PA0001771872          Universal Music - MGB NA LLC
1599   Strung Out Again                                        PA0001160151          Universal Music - MGB NA LLC
1600   Stupidity Tries                                         PA0001015786          Universal Music - MGB NA LLC
1601   Sunday Morning                                          PA0001073091          Universal Music - MGB NA LLC
1602   Swallowed In The Sea                                    PA0001700387          Universal Music - MGB NA LLC
1603   Sweet Adeline                                           PA0000943577          Universal Music - MGB NA LLC
1604   Sweetest Goodbye                                        PA0001073095          Universal Music - MGB NA LLC
1605   Talk                                                    PA0001700311          Universal Music - MGB NA LLC
1606   Tangled                                                 PA0001073088          Universal Music - MGB NA LLC




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                                Track                               Reg. No.                                       Plaintiff
1607   Texas Lullaby                                           RE0000904352          Universal Music - MGB NA LLC
1608   The Caterpillar                                         PA0000215389          Universal Music - MGB NA LLC
1609   The Hanging Garden                                      PA0000192007          Universal Music - MGB NA LLC
1610   The Hardest Part                                        PA0001700389          Universal Music - MGB NA LLC
1611   The Last Hour                                           PA0001160157          Universal Music - MGB NA LLC
1612   The Man Who Never Lied                                  PA0001810797          Universal Music - MGB NA LLC
1613   The Quiet Things That No One Ever Knows                 PA0001160997          Universal Music - MGB NA LLC
1614   The Sun                                                 PA0001073089          Universal Music - MGB NA LLC
1615   The Walk                                                PA0000190145          Universal Music - MGB NA LLC
1616   The White Lady Loves You More                           PA0000787972          Universal Music - MGB NA LLC
1617   There And Back Again                                    PA0001166375          Universal Music - MGB NA LLC
1618   There Will Come A Day                                   PA0001104206          Universal Music - MGB NA LLC
1619   This Love                                               PA0001073085          Universal Music - MGB NA LLC
1620   Through With You                                        PA0001073093          Universal Music - MGB NA LLC
1621   Thugz Cry                                               PA0000980074          Universal Music - MGB NA LLC
1622   Tickets                                                 PA0001810805          Universal Music - MGB NA LLC
1623   Tomorrow Tomorrow                                       PA0000943576          Universal Music - MGB NA LLC
1624   Tulsa Texas                                             PA0001910314          Universal Music - MGB NA LLC
1625   Twilight                                                PA0001160155          Universal Music - MGB NA LLC
1626   Twisted Logic                                           PA0001700354          Universal Music - MGB NA LLC
1627   Used To                                                 PA0001166369          Universal Music - MGB NA LLC
1628   Waltz #1                                                PA0000943575          Universal Music - MGB NA LLC
1629   Waltz, NO. 2 (XO)                                       PA0000943574          Universal Music - MGB NA LLC
1630   What I Want                                             PA0001166370          Universal Music - MGB NA LLC
1631   What If                                                 PA0001700424          Universal Music - MGB NA LLC
1632   When This Feeling                                       PA0000795251          Universal Music - MGB NA LLC
1633   When U Cry                                              PA0000884230          Universal Music - MGB NA LLC
1634   White Shadows                                           PA0001700400          Universal Music - MGB NA LLC
1635   Why                                                     PA0001166751          Universal Music - MGB NA LLC
1636   Wouldn't Mama Be Proud                                  PA0001015788          Universal Music - MGB NA LLC
1637   X&Y                                                     PA0001295677          Universal Music - MGB NA LLC
1638   You Can't Make A Heart Love Somebody                    PA0000693782          Universal Music - MGB NA LLC
1639   Eye Pieces                                              V3594D824             Universal Music - MGB NA LLC
1640   Full Of S**t                                            PA0001733984          Universal Music - MGB NA LLC
1641   One Of Those Nights                                     PA0001856074          Universal Music - MGB NA LLC
1642   Almost Home                                             PA0001159842          Universal Music - Z Tunes LLC
1643   AV                                                      PA0001158617          Universal Music - Z Tunes LLC
1644   Baby One More Time                                      PA0000919013          Universal Music - Z Tunes LLC
1645   Be On You (feat. Ne-Yo)                                 PA0001744934          Universal Music - Z Tunes LLC
1646   Because Of You                                          PA0001643835          Universal Music - Z Tunes LLC
1647   Body Count                                              PA0001843832          Universal Music - Z Tunes LLC
1648   Boo                                                     PA0001068355          Universal Music - Z Tunes LLC
1649   Born to Make You Happy                                  PA0000932240          Universal Music - Z Tunes LLC
1650   Brenda's Got A Baby                                     PA0001319771          Universal Music - Z Tunes LLC
1651   Caligula                                                PA0000982321          Universal Music - Z Tunes LLC
1652   Call On Me                                              PA0001087663          Universal Music - Z Tunes LLC
1653   Castle of Glass                                         PA0001805745          Universal Music - Z Tunes LLC
1654   Celebrity                                               PA0001752525          Universal Music - Z Tunes LLC
1655   Come And Get Some                                       PA0000951393          Universal Music - Z Tunes LLC
1656   Come Together                                           PA0001131225          Universal Music - Z Tunes LLC
1657   Coming Home                                             PA0000968742          Universal Music - Z Tunes LLC
1658   Crawling                                                PA0001092510          Universal Music - Z Tunes LLC
1659   Criminal                                                PA0001767537          Universal Music - Z Tunes LLC
1660   Damn Girl                                               PA0001165054          Universal Music - Z Tunes LLC
1661   Destiny                                                 PA0001012581          Universal Music - Z Tunes LLC
1662   Do Something                                            PA0000965750          Universal Music - Z Tunes LLC
1663   Don't Say No, Just Say Yes                              PA0001087665          Universal Music - Z Tunes LLC
1664   Don't Take Your Love Away                               PA0001158619          Universal Music - Z Tunes LLC
1665   Every Position                                          PA0002031790          Universal Music - Z Tunes LLC
1666   Everything About You                                    PA0001158625          Universal Music - Z Tunes LLC
1667   F*ck Faces                                              PA0000951093          Universal Music - Z Tunes LLC




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                                  Track                                Reg. No.                                         Plaintiff
1668   Feast                                                      PA0001158622          Universal Music - Z Tunes LLC
1669   Finally Made Me Happy                                      PA0001167770          Universal Music - Z Tunes LLC
1670   Flickin'                                                   PA0001158627          Universal Music - Z Tunes LLC
1671   Get Away                                                   PA0001025466          Universal Music - Z Tunes LLC
1672   Gimme All Your Lovin' or I Will Kill You                   PA0001068357          Universal Music - Z Tunes LLC
       Good to know that if I ever need attention all I have to
1673                                                              PA0001160994          Universal Music - Z Tunes LLC
       do is die
1674   Guernica                                                   PA0001160999          Universal Music - Z Tunes LLC
1675   Happiness                                                  PA0001131229          Universal Music - Z Tunes LLC
1676   Happy                                                      PA0001012579          Universal Music - Z Tunes LLC
1677   Hate It Or Love It                                         PA0001277483          Universal Music - Z Tunes LLC
1678   Hooked                                                     PA0001158620          Universal Music - Z Tunes LLC
1679   I Can't Wait                                               PA0001396082          Universal Music - Z Tunes LLC
1680   I Don't Remember                                           PA0001729163          Universal Music - Z Tunes LLC
1681   I Hate Everything                                          PA0001159807          Universal Music - Z Tunes LLC
1682   I Wanna Know                                               PA0001012580          Universal Music - Z Tunes LLC
1683   I Will                                                     PA0000925699          Universal Music - Z Tunes LLC
1684   I Will Play My Game Beneath The Spin Light                 PA0001160991          Universal Music - Z Tunes LLC
1685   I'll Be Gone                                               PA0001805744          Universal Music - Z Tunes LLC
1686   If It's Lovin' That You Want - Part 2                      PA0001689043          Universal Music - Z Tunes LLC
1687   In Between Us                                              PA0001113731          Universal Music - Z Tunes LLC
1688   In My Remains                                              PA0001805741          Universal Music - Z Tunes LLC
1689   In The End (Live In Texas)                                 PA0001092513          Universal Music - Z Tunes LLC
1690   It Ain't The Money                                         PA0001131222          Universal Music - Z Tunes LLC
1691   Jack & Jill                                                PA0001087674          Universal Music - Z Tunes LLC
1692   Jaws Theme Swimming                                        PA0001160998          Universal Music - Z Tunes LLC
1693   Let Me Love You (Until You Learn To Love Yourself)         PA0001831966          Universal Music - Z Tunes LLC
1694   Let's Make a Deal                                          PA0001025467          Universal Music - Z Tunes LLC
1695   Lie About Us                                               PA0001167119          Universal Music - Z Tunes LLC
1696   Lies Greed Misery                                          PA0001805743          Universal Music - Z Tunes LLC
1697   Love Me Love Me                                            PA0001784544          Universal Music - Z Tunes LLC
1698   Love School                                                PA0001087673          Universal Music - Z Tunes LLC
1699   Makin' Good Love                                           PA0001087666          Universal Music - Z Tunes LLC
1700   Marry The P***y                                            PA0001934438          Universal Music - Z Tunes LLC
1701   Me Against The Music                                       PA0001158586          Universal Music - Z Tunes LLC
1702   Me vs. Maradona vs. Elvis                                  PA0001161000          Universal Music - Z Tunes LLC
1703   My Baby                                                    PA0001888781          Universal Music - Z Tunes LLC
1704   Next To You                                                PA0001641326          Universal Music - Z Tunes LLC
1705   No Limit                                                   PA0001087668          Universal Music - Z Tunes LLC
1706   Oblivion                                                   PA0001066429          Universal Music - Z Tunes LLC
1707   Okay I Believe You, But My Tommy Gun Don't                 PA0001160992          Universal Music - Z Tunes LLC
1708   One Way Street                                             PA0001087672          Universal Music - Z Tunes LLC
1709   Ooh Aah                                                    PA0001012582          Universal Music - Z Tunes LLC
1710   Oops I Did It Again                                        PA0001005838          Universal Music - Z Tunes LLC
1711   Papercut                                                   PA0001092506          Universal Music - Z Tunes LLC
1712   Parachute                                                  PA0001856273          Universal Music - Z Tunes LLC
1713   Phone Sex (That's What's Up)                               PA0001158621          Universal Music - Z Tunes LLC
1714   Play Crack The Sky                                         PA0001160996          Universal Music - Z Tunes LLC
1715   Plc.4 Mie Haed                                             PA0001237296          Universal Music - Z Tunes LLC
1716   Points Of Authority                                        PA0001092509          Universal Music - Z Tunes LLC
1717   Points Of Authority (Crystal Method Remix)                 PA0001092509          Universal Music - Z Tunes LLC
1718   Powerless                                                  PA0001805751          Universal Music - Z Tunes LLC
1719   PPr:Kut                                                    PA0001237300          Universal Music - Z Tunes LLC
1720   Pts.Of.Athrty                                              PA0001237292          Universal Music - Z Tunes LLC
1721   Rather Hazy                                                PA0001010168          Universal Music - Z Tunes LLC
1722   Reaction                                                   PA0001054035          Universal Music - Z Tunes LLC
1723   Read Your Mind                                             PA0001158618          Universal Music - Z Tunes LLC
1724   Rehab                                                      PA0001641351          Universal Music - Z Tunes LLC
1725   Rnw@y                                                      PA0001237301          Universal Music - Z Tunes LLC
1726   Roads Untraveled                                           PA0001805747          Universal Music - Z Tunes LLC
1727   Runaway                                                    PA0001092511          Universal Music - Z Tunes LLC




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                               Track                                Reg. No.                                         Plaintiff
1728   Screamin'                                               PA0001131232          Universal Music - Z Tunes LLC
1729   Seems To Be                                             PA0001158623          Universal Music - Z Tunes LLC
1730   Separated                                               PA0001012575          Universal Music - Z Tunes LLC
1731   Serious                                                 PA0001025468          Universal Music - Z Tunes LLC
1732   Session                                                 PA0001256413          Universal Music - Z Tunes LLC
1733   Sex-o-matic Venus Freak                                 PA0000982322          Universal Music - Z Tunes LLC
1734   Sexual Revolution                                       PA0001088199          Universal Music - Z Tunes LLC
1735   She Ain't Right for You                                 PA0001131223          Universal Music - Z Tunes LLC
1736   She Don't Write Songs About You                         PA0001131226          Universal Music - Z Tunes LLC
1737   Show Ya P***y                                           PA0002031786          Universal Music - Z Tunes LLC
1738   Six In Da Morning                                       PA0001087670          Universal Music - Z Tunes LLC
1739   Skin to Bone                                            PA0001805748          Universal Music - Z Tunes LLC
1740   Somewhere I Belong                                      PA0001256410          Universal Music - Z Tunes LLC
1741   Song of the Wind                                        RE0000834788          Universal Music - Z Tunes LLC
1742   Sorry                                                   PA0001087667          Universal Music - Z Tunes LLC
1743   Suicide                                                 PA0001087675          Universal Music - Z Tunes LLC
1744   Take A Bow                                              PA0001692696          Universal Music - Z Tunes LLC
1745   Tautou                                                  PA0001160990          Universal Music - Z Tunes LLC
1746   Tear It Up                                              PA0002031795          Universal Music - Z Tunes LLC
1747   The Boss                                                PA0001643618          Universal Music - Z Tunes LLC
1748   The Boy Who Blocked His Own Shot                        PA0001160993          Universal Music - Z Tunes LLC
1749   The Letter                                              PA0000982327          Universal Music - Z Tunes LLC
1750   The Star Spangled Banner                                PA0000863656          Universal Music - Z Tunes LLC
1751   They Down With Us                                       PA0001032839          Universal Music - Z Tunes LLC
1752   Things That Made Me Change                              PA0001131224          Universal Music - Z Tunes LLC
1753   Thinkin' About You                                      PA0001087669          Universal Music - Z Tunes LLC
1754   This Time                                               PA0001025469          Universal Music - Z Tunes LLC
1755   Throw This Money On You                                 PA0001934439          Universal Music - Z Tunes LLC
1756   Tinfoil                                                 PA0001805750          Universal Music - Z Tunes LLC
1757   Treat Me Like Your Money                                PA0001167777          Universal Music - Z Tunes LLC
1758   Unfaithful                                              PA0001164749          Universal Music - Z Tunes LLC
1759   Victimized                                              PA0001805746          Universal Music - Z Tunes LLC
1760   Wanna Be Close                                          PA0001158624          Universal Music - Z Tunes LLC
1761   What Do You Want                                        PA0001087664          Universal Music - Z Tunes LLC
1762   Why                                                     PA0001012583          Universal Music - Z Tunes LLC
1763   Why Didn't You Call Me                                  PA0000982319          Universal Music - Z Tunes LLC
1764   With You                                                PA0001092508          Universal Music - Z Tunes LLC
1765   Worldwide                                               PA0001731533          Universal Music - Z Tunes LLC
1766   Wth>You                                                 PA0001237298          Universal Music - Z Tunes LLC
1767   You Ain't Right                                         PA0001087671          Universal Music - Z Tunes LLC
1768   You Deserve Better                                      PA0001933962          Universal Music - Z Tunes LLC
                                                               PA0001158628
1769 You Got Me                                                                      Universal Music - Z Tunes LLC
                                                               PA0001208305
1770   You're Not Alone                                        PA0001784547          Universal Music - Z Tunes LLC
1771   Up Down (Do This All Day)                               PA0002092747          Universal Music - Z Tunes LLC / Songs of Universal, Inc.
1772   Go On Girl                                              PA0001167568          Universal Music -Z Tunes LLC
1773   Afraid of Love                                          PA0000134922          Universal Music – MGB NA LLC
1774   Amusement Park                                          PA0001645318          Universal Music – MGB NA LLC
1775   Curtis 187                                              PA0001645329          Universal Music – MGB NA LLC
1776   Far From Home                                           PA0001646452          Universal Music – MGB NA LLC
1777   Fully Loaded Clip                                       PA0001645319          Universal Music – MGB NA LLC
1778   Good for You                                            PA0000134920          Universal Music – MGB NA LLC
1779   Pattern Of My Life                                      PAU002965709          Universal Music – MGB NA LLC
1780   She's Hotter                                            PA0001163809          Universal Music – MGB NA LLC
1781   Speed Of Sound                                          PA0001700393          Universal Music – MGB NA LLC
1782   The Bully                                               PA0001164906          Universal Music – MGB NA LLC
1783   No Diggity                                              PA0000839312          Universal Music – Z Tunes LLC
1784   When I See You                                          PA0001131221          Universal Music – Z Tunes LLC
1785   Eight Easy Steps                                        PA0001160026          Universal Music Corp
1786   If I Told You That                                      PA0001004813          Universal Music Corp
1787   Rain                                                    PA0001004572          Universal Music Corp




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                 Plaintiff
1788   Thank U                                                 PA0000940228          Universal Music Corp
1789   What Can I Do?                                          V3497D308             Universal Music Corp
1790   45                                                      PA0001278086          Universal Music Corp.
1791   1999                                                    PA0000157921          Universal Music Corp.
1792   #Beautiful                                              PA0001888760          Universal Music Corp.
1793   17 Days                                                 PA0000220372          Universal Music Corp.
1794   4 The Tears In Your Eyes                                PA0000246463          Universal Music Corp.
1795   7 (Seven)                                               PA0000608652          Universal Music Corp.
1796   A Complicated Song                                      PA0001334252          Universal Music Corp.
1797   Adore                                                   PA0000339619          Universal Music Corp.
1798   Adore You                                               PA0001904203          Universal Music Corp.
1799   Adorn                                                   PA0001899234          Universal Music Corp.
1800   Adrenaline Rush                                         PA0001145821          Universal Music Corp.
1801   Aftermath                                               PA0001916365          Universal Music Corp.
1802   Ain't It The Life                                       PA0001693327          Universal Music Corp.
1803   All That Sh** Is Gone                                   PA0001677408          Universal Music Corp.
1804   Alphabet St.                                            PA0000377936          Universal Music Corp.
1805   Another Lonely Christmas                                PA0000247822          Universal Music Corp.
1806   Another Try                                             PA0001642916          Universal Music Corp.
1807   Astronaut Chick                                         PA0001856280          Universal Music Corp.
1808   Atlantic                                                PA0001777097          Universal Music Corp.
1809   Aurora                                                  PA0001693316          Universal Music Corp.
1810   Average Man                                             PA0001245479          Universal Music Corp.
1811   Baby, I Go Crazy                                        PA0001642909          Universal Music Corp.
1812   Back on Earth                                           PA0000895946          Universal Music Corp.
1813   Bad Guy                                                 PA0001395513          Universal Music Corp.
1814   Be Alright                                              PA0001850370          Universal Music Corp.
1815   Before Midnight                                         PA0001882257          Universal Music Corp.
1816   Better Days                                             PA0000877830          Universal Music Corp.
1817   Blind Man                                               PA0000782950          Universal Music Corp.
1818   Breakout                                                PA0001693301          Universal Music Corp.
1819   Breakout                                                PA0001705474          Universal Music Corp.
1820   Build You Up                                            PA0001298503          Universal Music Corp.
1821   Can U Get Away                                          PA0000875890          Universal Music Corp.
1822   Can't Stop Won't Stop                                   PA0001831957          Universal Music Corp.
1823   Candy Shop                                              PA0001298495          Universal Music Corp.
1824   Cat People (Putting Out Fire)                           PA0000131825          Universal Music Corp.
1825   Ceiling of Plankton                                     PA0001777095          Universal Music Corp.
1826   Chained And Bound                                       RE0000606623          Universal Music Corp.
1827   Cheers                                                  PA0001245485          Universal Music Corp.
1828   Controversy                                             PA0000130927          Universal Music Corp.
1829   Crept And We Came                                       PA0000767829          Universal Music Corp.
1830   Crying Out                                              PA0001278085          Universal Music Corp.
1831   Curiosity                                               PA0001864128          Universal Music Corp.
1832   Definition Of A Thug N***a                              PA0000776781          Universal Music Corp.
1833   Delirious (Edit)                                        PA0000157924          Universal Music Corp.
1834   Didn't We Almost Have It All                            PA0000348786          Universal Music Corp.
1835   Die Die Die                                             PA0000782833          Universal Music Corp.
1836   Direct Me                                               PAu002032071          Universal Music Corp.
1837   Dirty Frank                                             PA0000593703          Universal Music Corp.
1838   Dirty Mind                                              PA0000085232          Universal Music Corp.
1839   Disco Inferno                                           PA0001298497          Universal Music Corp.
1840   Do Me, Baby                                             PA0000130925          Universal Music Corp.
1841   Don't Come Down                                         PA0001245487          Universal Music Corp.
1842   East 1999                                               PA0000767827          Universal Music Corp.
1843   Echo                                                    PA0001727653          Universal Music Corp.
1844   Eenie Meenie                                            PA0001703249          Universal Music Corp.
1845   Electric Bird                                           PA0001994826          Universal Music Corp.
1846   Eternal                                                 PA0000767828          Universal Music Corp.
1847   Euphoria                                                PA0001831963          Universal Music Corp.
1848   Everything Is Fine                                      PA0001642898          Universal Music Corp.




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                                  Track                             Reg. No.                                 Plaintiff
1849   Exclusive                                               PA0001323360          Universal Music Corp.
1850   Fa-Fa-Fa-Fa-Fa (Sad Song)                               PA0000318166          Universal Music Corp.
1851   Feel Good Summer Song                                   PA0001902463          Universal Music Corp.
1852   Feels Like Today                                        PA0001245179          Universal Music Corp.
1853   Firecracker                                             PA0001642904          Universal Music Corp.
1854   Fly As The Sky                                          PA0001317549          Universal Music Corp.
1855   Fly From The Inside                                     PA0001278080          Universal Music Corp.
1856   Follow My Lead                                          PA0001645308          Universal Music Corp.
1857   Free Run                                                PA0001821987          Universal Music Corp.
1858   Frontin'                                                PA0001317546          Universal Music Corp.
1859   Fuck The World                                          PA0000956432          Universal Music Corp.
1860   Generator                                               PA0001693314          Universal Music Corp.
1861   Get In My Car                                           PA0001298494          Universal Music Corp.
1862   Ghetto Dreams                                           PA0001833561          Universal Music Corp.
1863   Ghetto Gospel                                           PA0001323618          Universal Music Corp.
1864   Ghost Behind My Eyes                                    PA0000795018          Universal Music Corp.
1865   Gimme Stitches                                          PA0001693310          Universal Music Corp.
1866   Girl                                                    PA0000125252          Universal Music Corp.
1867   Glamorous                                               PA0001370493          Universal Music Corp.
1868   Go Out All Night                                        PA0001777099          Universal Music Corp.
1869   Good Time                                               PA0001821138          Universal Music Corp.
1870   Good To Me                                              RE0000648280          Universal Music Corp.
1871   Goodbye Girl                                            PA0001870813          Universal Music Corp.
1872   Got Some Teeth                                          PA0001245484          Universal Music Corp.
1873   GPSA (Ghetto Public Service Announcement)               PA0001371422          Universal Music Corp.
1874   Grind Time                                              PA0001628178          Universal Music Corp.
1875   Guitar String / Wedding Ring                            PA0001842644          Universal Music Corp.
1876   Hand Of The Dead Body                                   PA0000794897          Universal Music Corp.
1877   Hands Clean                                             PA0001077640          Universal Music Corp.
1878   Hands On You                                            PA0001245491          Universal Music Corp.
1879   Hangman Jury                                            PA0000343989          Universal Music Corp.
1880   Happy                                                   PA0001997701          Universal Music Corp.
1881   Hard To Handle                                          PAu002125862          Universal Music Corp.
1882   Hawg For You                                            RE0000659366          Universal Music Corp.
1883   Head                                                    PA0000085237          Universal Music Corp.
1884   Headwires                                               PA0001693324          Universal Music Corp.
1885   Heartbreak Road                                         PA0001855537          Universal Music Corp.
1886   Heaven                                                  PA0001073138          Universal Music Corp.
1887   Heavy In The Game                                       PA0000914501          Universal Music Corp.
1888   Help Me                                                 PA0001733340          Universal Music Corp.
1889   Here I Am                                               PA0001661331          Universal Music Corp.
1890   Hero                                                    PA0001751381          Universal Music Corp.
1891   Hey Girl                                                PA0001295883          Universal Music Corp.
1892   Hit The Floor (feat. Pitbull)                           PA0001312069          Universal Music Corp.
1893   Homicide                                                PA0001856324          Universal Music Corp.
1894   Hoodrats                                                PA0001245492          Universal Music Corp.
1895   How Come U Don't Call Me Anymore                        PA0000157922          Universal Music Corp.
                                                               PAu000817628
1896 How Will I Know                                           PA0000243349          Universal Music Corp.
                                                               PA0000266437
1897   I Can't Turn You Loose                                  RE0000627626          Universal Music Corp.
1898   I Don't Need 'Em                                        PA0001298501          Universal Music Corp.
1899   I Feel for You                                          PA0000064971          Universal Music Corp.
1900   I Got My Baby                                           PA0000976310          Universal Music Corp.
1901   I Got The Will                                          PA0000402311          Universal Music Corp.
1902   I Just Want You                                         PA0000774129          Universal Music Corp.
1903   I Love U In Me                                          PA0000461532          Universal Music Corp.
1904   I Love You Much Too Much                                R411311               Universal Music Corp.
1905   I Want You                                              PA0001302581          Universal Music Corp.
1906   I Will Love You Still (feat. Mallary Hope)              PA0001864794          Universal Music Corp.
1907   I'd Rather                                              PA0001053165          Universal Music Corp.




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                                 Track                              Reg. No.                                 Plaintiff
1908   I'm Goin Back                                           PA0001159522          Universal Music Corp.
1909   I'm Only Me When I'm With You (Live)                    PA0001624202          Universal Music Corp.
1910   I'm Out                                                 PA0001936025          Universal Music Corp.
1911   I'm Sick Y'All                                          RE0000659326          Universal Music Corp.
1912   I'm So into You                                         PA0000664028          Universal Music Corp.
1913   I'm Supposed To Die Tonight                             PA0001298492          Universal Music Corp.
1914   I'm Trippin                                             PA0001856289          Universal Music Corp.
1915   I've Been Loving You Too Long                           RE0000608279          Universal Music Corp.
1916   I've Come To Expect It From You                         PA0000482947          Universal Music Corp.
                                                               EU0000058356
1917 I've Got Dreams To Remember                                                     Universal Music Corp.
                                                               RE0000731057
1918   If I Die 2Nite                                          PA0000773737          Universal Music Corp.
1919   If I Was Your Girlfriend                                PA0000339614          Universal Music Corp.
1920   Imma Be                                                 PA0001682852          Universal Music Corp.
1921   In My Eyes                                              PA0001777096          Universal Music Corp.
1922   In The Trunk                                            PA0001317542          Universal Music Corp.
1923   Indifference                                            PA0000669762          Universal Music Corp.
1924   Insane In The Brain                                     PA0000664235          Universal Music Corp.
1925   Ironic                                                  PA0000705736          Universal Music Corp.
1926   Irresistable Bitch                                      PA0000193308          Universal Music Corp.
1927   It's About Time                                         PA0000689802          Universal Music Corp.
1928   It's All About U                                        PA0000809080          Universal Music Corp.
1929   It's Your World                                         PA0001856072          Universal Music Corp.
1930   Just A Lil Bit                                          PA0001298496          Universal Music Corp.
1931   Just About Now                                          PA0000669876          Universal Music Corp.
1932   Just Around The Eyes                                    PA0000713702          Universal Music Corp.
1933   Just One More Day                                       RE0000627625          Universal Music Corp.
1934   Just One More Day                                       RE0000627625          Universal Music Corp.
1935   kenny rog                                               PA0000087588          Universal Music Corp.
1936   Lady                                                    PA0001245486          Universal Music Corp.
1937   Learn To Fly                                            PA0001693305          Universal Music Corp.
1938   Leavin' The Light On                                    PA0001845163          Universal Music Corp.
1939   Let's Go Crazy                                          PA0000217248          Universal Music Corp.
1940   Lie To Me                                               PA0001868630          Universal Music Corp.
1941   Little Ol' Me                                           RE0000657998          Universal Music Corp.
1942   Live-In Skin                                            PA0001693317          Universal Music Corp.
1943   Long Live The Pimp                                      PA0001856319          Universal Music Corp.
1944   Lord Knows                                              PA0000773740          Universal Music Corp.
1945   M.I.A.                                                  PA0001693329          Universal Music Corp.
1946   Me Against The World                                    PA0000700333          Universal Music Corp.
1947   Meantime                                                PA0001777091          Universal Music Corp.
1948   Meet In Tha Middle (Featuring Bran' Nu)                 PA0001935809          Universal Music Corp.
1949   Merry Go Round                                          PA0000494345          Universal Music Corp.
1950   Miss You                                                PA0001864797          Universal Music Corp.
1951   Mo'Murda                                                PA0000767834          Universal Music Corp.
1952   Movin' On                                               PA0000757403          Universal Music Corp.
1953   Mr. Bill Collector                                      PA0000767831          Universal Music Corp.
1954   Ms. Hangover                                            PA0001639096          Universal Music Corp.
1955   My Gun Go Off                                           PA0001645287          Universal Music Corp.
1956   My Piece                                                PA0001751375          Universal Music Corp.
1957   My Toy Soldier                                          PA0001298500          Universal Music Corp.
1958   Never Call U B**** Again                                PA0001115088          Universal Music Corp.
1959   Never Forget Ya                                         PA0001245493          Universal Music Corp.
1960   Next Year                                               PA0001693320          Universal Music Corp.
1961   No More Love                                            PA0001278081          Universal Music Corp.
1962   No Snitchin'                                            PA0001317545          Universal Music Corp.
1963   Noche Nada                                              PA0001777094          Universal Music Corp.
1964   Now You Got Someone                                     PA0001371421          Universal Music Corp.
1965   Numb                                                    PA0001831959          Universal Music Corp.
1966   Old School                                              PA0000773742          Universal Music Corp.
1967   On                                                      PA0001120335          Universal Music Corp.




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                                 Track                              Reg. No.                                 Plaintiff
1968   On & On                                                 PA0000741101          Universal Music Corp.
1969   Once And Forever                                        PA0001779598          Universal Music Corp.
1970   One Love                                                PA0001850371          Universal Music Corp.
1971   Outro                                                   PA0001317551          Universal Music Corp.
1972   Permanent Scar                                          PA0001856298          Universal Music Corp.
1973   Picture Perfect                                         PA0001317548          Universal Music Corp.
1974   Piggy Bank                                              PA0001298491          Universal Music Corp.
1975   Pink Cashmere                                           PAu001770697          Universal Music Corp.
1976   Play                                                    PA0001726635          Universal Music Corp.
1977   Pop Life                                                PA0000255667          Universal Music Corp.
1978   Pope                                                    PAu001770696          Universal Music Corp.
1979   Power Fantastic                                         PAu001835512          Universal Music Corp.
1980   Power Of Love / Love Power                              PA0000526816          Universal Music Corp.
1981   Purple Rain (Short Version)                             PA0000217254          Universal Music Corp.
1982   Rain                                                    PA0001317547          Universal Music Corp.
1983   Resist The Temptation                                   PA0001640073          Universal Music Corp.
1984   Rider                                                   PA0001395512          Universal Music Corp.
1985   Ridin'                                                  PA0001317544          Universal Music Corp.
1986   Ridin'                                                  PA0001317544          Universal Music Corp.
1987   Ring-A-Ling                                             PA0001698118          Universal Music Corp.
1988   Ripe                                                    PA0001777093          Universal Music Corp.
1989   Roll (feat. Sean Kingston)                              PA0001639100          Universal Music Corp.
1990   Run To You                                              PA0000840168          Universal Music Corp.
1991   Ryder Music                                             PA0001298498          Universal Music Corp.
1992   Same Damn Time                                          PA0001859144          Universal Music Corp.
1993   Save You                                                PA0001134589          Universal Music Corp.
                                                               PAu000012547
1994 Saving All My Love For You                                PAu000148525          Universal Music Corp.
                                                               PAu000082895
1995   Saw You First                                           PA0001777092          Universal Music Corp.
1996   Secret Heart                                            PA0000807140          Universal Music Corp.
1997   She Put The Hurt On Me                                  RE0000666368          Universal Music Corp.
1998   She's Always In My Hair                                 PAu000722566          Universal Music Corp.
1999   Shine                                                   PA0001864791          Universal Music Corp.
2000   Shockadelica                                            PA0000335358          Universal Music Corp.
2001   Shotz To Tha Double Glock                               PA0000767835          Universal Music Corp.
2002   Sign 'O' The Times                                      PA0000322108          Universal Music Corp.
2003   Sins Of My Father                                       PA0001831961          Universal Music Corp.
                                                               PA0000815805
2004 Smile                                                                           Universal Music Corp.
                                                               PA0000815968
2005   Smile (feat. 2Pac and Johnny P) (Explicit Lyric)        PA0000815968          Universal Music Corp.
2006   So Fresh, So Clean                                      PA0001039707          Universal Music Corp.
2007   So Many Tears                                           PA0000773738          Universal Music Corp.
2008   So Many Ways                                            PA0001371413          Universal Music Corp.
2009   Someone Else's Dream                                    PA0000764860          Universal Music Corp.
2010   Soul Intact                                             PA0000810659          Universal Music Corp.
2011   Soulsville                                              PAu002345664          Universal Music Corp.
2012   Stacked Actors                                          PA0001693331          Universal Music Corp.
2013   Still Ballin'                                           PA0001219183          Universal Music Corp.
2014   Straight To The Bank                                    PA0001645316          Universal Music Corp.
2015   Strange Behavior                                        PA0001592905          Universal Music Corp.
2016   Sure Thing                                              PA0001751394          Universal Music Corp.
2017   Take Me Home                                            PA0001864792          Universal Music Corp.
2018   Text Me Texas                                           PA0001878108          Universal Music Corp.
2019   That's What I Need                                      PA0000664035          Universal Music Corp.
2020   That's Why You're Beautiful                             PA0002067666          Universal Music Corp.
2021   The Chair                                               PA0000482311          Universal Music Corp.
2022   The Future Is Now                                       PA0001856271          Universal Music Corp.
2023   The Other Side                                          PA0000437593          Universal Music Corp.
2024   The Rain                                                PA0001396083          Universal Music Corp.
2025   The Way He Was Raised                                   PA0001642914          Universal Music Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                                Track                               Reg. No.                                 Plaintiff
2026   These Arms Of Mine                                      PA0000258549          Universal Music Corp.
2027   These Days                                              PA0001113927          Universal Music Corp.
2028   They Don't Give A F**** About Us                        PA0001115097          Universal Music Corp.
2029   Thieves In The Temple                                   PA0002121762          Universal Music Corp.
2030   Think I'm Crazy                                         PA0001167383          Universal Music Corp.
2031   Think You're Gonna Like It                              PA0000664034          Universal Music Corp.
2032   This Is 50                                              PA0001298490          Universal Music Corp.
2033   This Kiss (Pop Remix a.k.a. Radio Version)              PA0000740722          Universal Music Corp.
2034   Thug Luv                                                PA0000943396          Universal Music Corp.
2035   Thugz Mansion                                           PA0001115087          Universal Music Corp.
2036   Timothy Where You Been (Featuring Jet)                  PA0001935801          Universal Music Corp.
2037   Tired Of Runnin'                                        PA0001396084          Universal Music Corp.
2038   To The Moon                                             PA0001751378          Universal Music Corp.
2039   Tony Montana - Behind The Scenes                        PA0001859140          Universal Music Corp.
2040   Top of the World                                        PA0001114803          Universal Music Corp.
2041   Touch The Sky                                           PA0001395756          Universal Music Corp.
2042   Trailerhood                                             PA0001642900          Universal Music Corp.
2043   Trick Or Treat                                          PA0001011470          Universal Music Corp.
2044   True Believers                                          PA0001864805          Universal Music Corp.
2045   Truth No. 2                                             PA0001114802          Universal Music Corp.
2046   Truthfully                                              PA0001147359          Universal Music Corp.
2047   Turn Me Up                                              PA0001842638          Universal Music Corp.
2048   Turntables                                              PA0001732352          Universal Music Corp.
2049   Unconditional Love                                      PA0000980713          Universal Music Corp.
2050   Unsaveable                                              PA0001120337          Universal Music Corp.
2051   Up Up Up                                                PA0001777090          Universal Music Corp.
2052   Uptown                                                  PA0000085236          Universal Music Corp.
2053   Vertigo                                                 PA0001896435          Universal Music Corp.
2054   Void In My Life                                         PA0001317550          Universal Music Corp.
2055   Walk On Water                                           PA0001015665          Universal Music Corp.
2056   We All Die One Day                                      PA0001245480          Universal Music Corp.
2057   We Are Tonight                                          PA0001884879          Universal Music Corp.
2058   What's It Gonna Be                                      PA0000810659          Universal Music Corp.
2059   Whatcha Need                                            PA0000996029          Universal Music Corp.
2060   When I Get Free                                         PA0001051889          Universal Music Corp.
2061   When You Were Mine                                      PA0000085233          Universal Music Corp.
2062   Who I Am                                                PA0002063559          Universal Music Corp.
2063   Why You Wanna Treat Me So Bad                           PA0000238841          Universal Music Corp.
2064   Wide Awake                                              PA0001765708          Universal Music Corp.
2065   Womanizer                                               PA0001888788          Universal Music Corp.
2066   Words                                                   PA0001777098          Universal Music Corp.
2067   Write This Down                                         PA0000947848          Universal Music Corp.
2068   You                                                     PA0001757407          Universal Music Corp.
2069   You Don't Miss Your Water                               PA0000387512          Universal Music Corp.
2070   You Stay With Me                                        PA0001302582          Universal Music Corp.
2071   You're Always On My Mind                                PA0000664031          Universal Music Corp.
2072   You're The One                                          PA0000801851          Universal Music Corp.
2073   All My Life (Edit)                                      PA0001384985          Universal Music Corp.
2074   All Over Again                                          PA0001784542          Universal Music Corp.
2075   All That I Got (The Make Up Song)                       PA0001397001          Universal Music Corp.
2076   American Boy                                            PA0001659161          Universal Music Corp.
2077   American Boy [Radio Edit]                               PA0001659161          Universal Music Corp.
2078   Beauty And A Beat                                       PA0001850375          Universal Music Corp.
2079   Believe                                                 PA0001850360          Universal Music Corp.
2080   Catching Feelings                                       PA0001850383          Universal Music Corp.
2081   Down In The Park                                        PA0000112329          Universal Music Corp.
2082   Gangsta Lovin                                           PA0001209325          Universal Music Corp.
2083   Holla Holla                                             PA0001699596          Universal Music Corp.
2084   I Get Money                                             PA0001645342          Universal Music Corp.
2085   Keep Ya Head Up                                         PA0000719813          Universal Music Corp.
2086   Movin On Up                                             PA0001645312          Universal Music Corp.




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                                Track                               Reg. No.                                       Plaintiff
2087   Never                                                   PA0001744937          Universal Music Corp.
2088   Ooh Baby                                                PA0001320484          Universal Music Corp.
2089   Problem                                                 PA0001918195          Universal Music Corp.
2090   Radar                                                   PA0001732673          Universal Music Corp.
2091   Right Here                                              PA0001834759          Universal Music Corp.
2092   Shone                                                   PA0001744931          Universal Music Corp.
2093   Shower                                                  PA0001913414          Universal Music Corp.
2094   Still                                                   PA0000988335          Universal Music Corp.
2095   Sugar (Feat. Wynter) (Radio Edit)                       PA0001744939          Universal Music Corp.
2096   The Mighty Fall                                         PA0001844743          Universal Music Corp.
2097   Thought Of You                                          PA0001850376          Universal Music Corp.
2098   Tonight Im Getting Over You                             PA0001842642          Universal Music Corp.
2099   Trapped                                                 PA0000587083          Universal Music Corp.
2100   When The Lights Go Down                                 PA0001120336          Universal Music Corp.
2101   Young Niggaz                                            PA0000773739          Universal Music Corp.
       Love Sex Magic (A Tribute to Ciara and Justin
2102                                                           PA0001649982          Universal Music Corp. / Universal Music - Z Tunes LLC
       Timberlake)
2103   Bringing Out The Elvis                                  PA0000955483          Universal Music Publishing AB
2104   Done Stealin'                                           PA0001677401          Universal Music Publishing AB
2105   If My Heart Had Wings                                   PA0000976309          Universal Music Publishing AB
2106   What's In It For Me                                     PA0000976311          Universal Music Publishing AB
2107   DREADBELLY                                              PA0001389604          Universal Music Publishing Limited
                                                               PAU000066694
2108 Forever In Blue Jeans                                                           Universal Music Publishing Limited
                                                               PA0000027116
2109 I Dreamed I Saw Phil Ochs Last Night                      PA0001324545          Universal Music Publishing Limited
2110 JANE ALLEN                                                PA0001389604          Universal Music Publishing Limited
                                                               EU0000322568
2111 Song Sung Blue                                                                  Universal Music Publishing Limited
                                                               RE0000813919
2112   Warriors                                                PA0001898514          Universal Music Publishing Limited
2113   Charlotte Sometimes                                     PA0000344066          Universal Music Publishing MGB Limited
2114   Pavement Cracks                                         PA0001105463          Universal Music Publishing MGB Limited
2115   Walnut tree: Under the walnut tree                      PA0001248670          Universal Music Publishing MGB Limited
2116   How Come You Don't Call Me (Neptunes Remix)             PA0001316943          Universal Music Publishing, Inc.
2117   Lose My Cool                                            PA0001318280          Universal Music Publishing, Inc.
2118   The One                                                 PA0001076952          Universal Music Publishing, Inc.
2119   All Of Me                                               PA0001645336          Universal Music-Z Tunes LLC
2120   Cookie Jar                                              PA0001616382          Universal Music-Z Tunes LLC
2121   After Your Heart                                        PA0001603421          W.B.M. Music Corp.
2122   American Eulogy: Mass Hysteria/Modern World             PA0001859360          W.B.M. Music Corp.
2123   Before The Lobotomy                                     PA0001859360          W.B.M. Music Corp.
2124   Christian's Inferno                                     PA0001859360          W.B.M. Music Corp.
2125   Confessions                                             PA0001227181          W.B.M. Music Corp.
2126   Friends We Won't Forget                                 PA0001800763          W.B.M. Music Corp.
2127   FutureSex/LoveSound                                     PA0001368884          W.B.M. Music Corp.
2128   Got You Home                                            PA0001343363          W.B.M. Music Corp.
2129   Horseshoes And Handgrenades                             PA0001859360          W.B.M. Music Corp.
2130   Last Night On Earth                                     PA0001859360          W.B.M. Music Corp.
2131   Losing My Way                                           PA0001368885          W.B.M. Music Corp.
2132   Lovestoned/I Think She Knows                            PA0001368884          W.B.M. Music Corp.
2133   LoveStoned/I Think She Knows (Interlude)                PA0001368884          W.B.M. Music Corp.
2134   Medley: Sexy Ladies / Let Me Talk to You (Prelude)      PA0001368884          W.B.M. Music Corp.
2135   Murder City                                             PA0001859360          W.B.M. Music Corp.
2136   Oklahoma Sky                                            PA0001789998          W.B.M. Music Corp.
2137   Peacemaker                                              PA0001859360          W.B.M. Music Corp.
2138   Restless Heart Syndrome                                 PA0001859360          W.B.M. Music Corp.
2139   See The Light                                           PA0001859360          W.B.M. Music Corp.
2140   Sexy Ladies                                             PA0001368884          W.B.M. Music Corp.
2141   Sexy Ladies (Remix)                                     PA0001368884          W.B.M. Music Corp.
2142   SexyBack                                                PA0001368818          W.B.M. Music Corp.
2143   Song Of The Century                                     PA0001859360          W.B.M. Music Corp.
2144   Summer Love                                             PA0001368885          W.B.M. Music Corp.




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                               Track                                Reg. No.                                     Plaintiff
2145   The Static Age                                          PA0001859360          W.B.M. Music Corp.
2146   Throwed                                                 PA0001719705          W.B.M. Music Corp.
2147   What Goes Around... Comes Around                        PA0001368884          W.B.M. Music Corp.
2148   What Goes Around.../...Comes Around Interlude           PA0001368884          W.B.M. Music Corp.
2149   Where Did He Go                                         PA0001767261          W.B.M. Music Corp.
2150   Gimme More                                              PA0001680545          W.B.M. Music Corp.
2151   Hardly Breathing                                        PA0001882751          W.B.M. Music Corp. / Warner-Tamerlane Publishing Corp.
2152   I Can Only Imagine                                      PA0001778164          W.B.M. Music Corp. / Warner-Tamerlane Publishing Corp.
2153   My Love                                                 PA0001368886          W.B.M. Music Corp. / Warner-Tamerlane Publishing Corp.
2154   SexyBack (DJ Wayne Williams Ol' Skool Remix)            PA0001165048          W.B.M. Music Corp. / WB Music Corp.
2155   Burn It To The Ground                                   PA0001638902          Warner-Tamerlane Publishing Corp.
2156   Champion                                                PA0001807224          Warner-Tamerlane Publishing Corp.
2157   Crazy                                                   PA0001338240          Warner-Tamerlane Publishing Corp.
2158   Gasoline                                                PA0001750221          Warner-Tamerlane Publishing Corp.
2159   Gotta Be Somebody                                       PA0001638896          Warner-Tamerlane Publishing Corp.
2160   I'd Come For You                                        PA0001708562          Warner-Tamerlane Publishing Corp.
2161   I'm So Paid                                             PA0001659382          Warner-Tamerlane Publishing Corp.
2162   Just To Get High                                        PA0001622259          Warner-Tamerlane Publishing Corp.
2163   Next Go Round                                           PA0001622259          Warner-Tamerlane Publishing Corp.
2164   Over The Edge                                           PA0001659379          Warner-Tamerlane Publishing Corp.
2165   Own It                                                  PA0001891427          Warner-Tamerlane Publishing Corp.
2166   Ready Or Not                                            PA0000844694          Warner-Tamerlane Publishing Corp.
2167   S.E.X.                                                  PA0001622259          Warner-Tamerlane Publishing Corp.
2168   Shakin' Hands                                           PA0001638848          Warner-Tamerlane Publishing Corp.
2169   Shame                                                   PA0001878241          Warner-Tamerlane Publishing Corp.
2170   Something In Your Mouth                                 PA0001638848          Warner-Tamerlane Publishing Corp.
2171   This Afternoon                                          PA0001638899          Warner-Tamerlane Publishing Corp.
                                                               PAu002607518
2172 WCSR                                                                            Warner-Tamerlane Publishing Corp.
                                                               PA0001114103
2173   We Don't Care                                           PA0001659379          Warner-Tamerlane Publishing Corp.
2174   6 Foot 7 Foot                                           PA0001807261          Warner-Tamerlane Publishing Corp.
2175   Abortion                                                PA0001842433          Warner-Tamerlane Publishing Corp.
2176   All Kinds of Kinds                                      PA0001789995          Warner-Tamerlane Publishing Corp.
2177   All Summer Long                                         PA0001643681          Warner-Tamerlane Publishing Corp.
2178   All The Shine                                           PA0001773706          Warner-Tamerlane Publishing Corp.
2179   Almost Lose It                                          PA0001846094          Warner-Tamerlane Publishing Corp.
2180   Already Taken                                           PA0001902781          Warner-Tamerlane Publishing Corp.
2181   Apple Pie Moonshine                                     PA0001761402          Warner-Tamerlane Publishing Corp.
2182   As You Turn Away                                        PA0001817433          Warner-Tamerlane Publishing Corp.
2183   Baby Come Home                                          PA0001114113          Warner-Tamerlane Publishing Corp.
2184   Bad Decisions                                           PA0001865868          Warner-Tamerlane Publishing Corp.
2185   Banjo                                                   PA0001853119          Warner-Tamerlane Publishing Corp.
2186   Barry Bonds                                             PA0001861693          Warner-Tamerlane Publishing Corp.
2187   Because Of Your Love                                    PA0001249901          Warner-Tamerlane Publishing Corp.
2188   Bending the Rules and Breaking the Law                  PA0001694074          Warner-Tamerlane Publishing Corp.
2189   Birdman Interlude                                       PA0001814502          Warner-Tamerlane Publishing Corp.
2190   Blue Ocean Floor                                        PA0001915504          Warner-Tamerlane Publishing Corp.
2191   Bottle Poppin'                                          PA0001648776          Warner-Tamerlane Publishing Corp.
2192   Bravo                                                   PA0001778260          Warner-Tamerlane Publishing Corp.
2193   Breathe                                                 PA0001349255          Warner-Tamerlane Publishing Corp.
2194   BYOB                                                    PA0001648815          Warner-Tamerlane Publishing Corp.
2195   Camouflage                                              PA0002001267          Warner-Tamerlane Publishing Corp.
2196   Can You Feel It                                         PA0001780093          Warner-Tamerlane Publishing Corp.
2197   Carried Away                                            PA0000830048          Warner-Tamerlane Publishing Corp.
2198   Carry Out                                               PA0001780010          Warner-Tamerlane Publishing Corp.
2199   Carrying Your Love With Me                              PA0000849801          Warner-Tamerlane Publishing Corp.
2200   Changed                                                 PA0001853120          Warner-Tamerlane Publishing Corp.
2201   Chapter V                                               PA0001865863          Warner-Tamerlane Publishing Corp.
2202   Chevy Smile                                             PA0001648814          Warner-Tamerlane Publishing Corp.
                                                               Eu0000684610
2203 Cigarettes and Coffee                                                           Warner-Tamerlane Publishing Corp.
                                                               RE0000442404




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                                Track                               Reg. No.                                     Plaintiff
2204 Circus                                                    PA0001622999          Warner-Tamerlane Publishing Corp.
                                                               PAu002625389
2205 Cocky                                                                           Warner-Tamerlane Publishing Corp.
                                                               PA0001114105
2206   Cold As Stone                                           PA0001817040          Warner-Tamerlane Publishing Corp.
2207   Come A Little Closer                                    PA0001069964          Warner-Tamerlane Publishing Corp.
2208   Come Wake Me Up                                         PA0001853117          Warner-Tamerlane Publishing Corp.
2209   Compass                                                 PA0001879179          Warner-Tamerlane Publishing Corp.
2210   Dancin' Away With My Heart                              PA0001817030          Warner-Tamerlane Publishing Corp.
2211   Days Like These                                         PA0001790666          Warner-Tamerlane Publishing Corp.
2212   Dear Mama                                               PA0000773741          Warner-Tamerlane Publishing Corp.
2213   Dirt Road Anthem                                        PA0001694080          Warner-Tamerlane Publishing Corp.
2214   Dive In                                                 PA0001868040          Warner-Tamerlane Publishing Corp.
2215   Don't Be Scared                                         PA0001931589          Warner-Tamerlane Publishing Corp.
2216   Don't Hold The Wall                                     PA0001915504          Warner-Tamerlane Publishing Corp.
2217   Don't Tell Me U Love Me                                 PA0001638755          Warner-Tamerlane Publishing Corp.
2218   Doorbell                                                PA0001856251          Warner-Tamerlane Publishing Corp.
2219   Drunk And Hot Girls                                     PA0001592989          Warner-Tamerlane Publishing Corp.
                                                               PAu002607513
2220 Drunk In the Morning                                                            Warner-Tamerlane Publishing Corp.
                                                               PA0001114114
2221   Ease Off The Liquor                                     PA0001780085          Warner-Tamerlane Publishing Corp.
2222   Easy                                                    PA0001349254          Warner-Tamerlane Publishing Corp.
2223   Every Girl                                              PA0001741596          Warner-Tamerlane Publishing Corp.
2224   Fall Into Me                                            PA0001884101          Warner-Tamerlane Publishing Corp.
2225   Fancy                                                   PA0001852254          Warner-Tamerlane Publishing Corp.
2226   Fast                                                    PA0001935086          Warner-Tamerlane Publishing Corp.
2227   Fast Cars And Freedom                                   PA0001268341          Warner-Tamerlane Publishing Corp.
2228   Feng Shui                                               PA0001338255          Warner-Tamerlane Publishing Corp.
2229   Fire Fly                                                PA0001773710          Warner-Tamerlane Publishing Corp.
2230   Forever Yours                                           PA0001865870          Warner-Tamerlane Publishing Corp.
2231   Fumble                                                  PA0001866132          Warner-Tamerlane Publishing Corp.
2232   Get Some                                                PA0001253726          Warner-Tamerlane Publishing Corp.
2233   Getting To Da Money                                     PA0001648763          Warner-Tamerlane Publishing Corp.
2234   Ghetto Love                                             PA0001395265          Warner-Tamerlane Publishing Corp.
2235   Hail Mary                                               PA0001865861          Warner-Tamerlane Publishing Corp.
2236   Halfway to Heaven                                       PA0001693861          Warner-Tamerlane Publishing Corp.
2237   Harajuku Girls                                          PA0001274356          Warner-Tamerlane Publishing Corp.
2238   Hate Sleeping Alone                                     PA0001997263          Warner-Tamerlane Publishing Corp.
2239   Heart Attack                                            PA0001931588          Warner-Tamerlane Publishing Corp.
2240   Hell On Wheels                                          PA0001694071          Warner-Tamerlane Publishing Corp.
2241   Hell Yeah                                               PA0001648815          Warner-Tamerlane Publishing Corp.
2242   Hello Good Morning                                      PA0001745034          Warner-Tamerlane Publishing Corp.
2243   Hollywood Divorce                                       PA0001603423          Warner-Tamerlane Publishing Corp.
2244   How To Hate                                             PA0001807231          Warner-Tamerlane Publishing Corp.
2245   How To Love                                             PA0001807262          Warner-Tamerlane Publishing Corp.
2246   Hustlemania (Skit)                                      PA0001648764          Warner-Tamerlane Publishing Corp.
2247   HYFR (Hell Ya Fucking Right)                            PA0001869936          Warner-Tamerlane Publishing Corp.
2248   Hyyerr                                                  PA0001679583          Warner-Tamerlane Publishing Corp.
2249   I Am Not A Human Being                                  PA0001741896          Warner-Tamerlane Publishing Corp.
2250   I Can Transform Ya                                      PA0001744956          Warner-Tamerlane Publishing Corp.
2251   I Cross My Heart                                        PA0000593349          Warner-Tamerlane Publishing Corp.
2252   I Get It                                                PA0001387419          Warner-Tamerlane Publishing Corp.
2253   I Like The View                                         PA0001807227          Warner-Tamerlane Publishing Corp.
2254   I Melt                                                  PA0001136262          Warner-Tamerlane Publishing Corp.
2255   I Run To You                                            PA0001706945          Warner-Tamerlane Publishing Corp.
2256   I Stand Accused                                         EP0000329319          Warner-Tamerlane Publishing Corp.
2257   I'm Single                                              PA0001741951          Warner-Tamerlane Publishing Corp.
2258   I'm So Blessed                                          PA0001852361          Warner-Tamerlane Publishing Corp.
2259   I'm So Over You                                         PA0001732191          Warner-Tamerlane Publishing Corp.
2260   If Drinkin' Don't Kill Me (Her Memory Will)             PA0000102104          Warner-Tamerlane Publishing Corp.
2261   If Today Was Your Last Day                              PA0001622259          Warner-Tamerlane Publishing Corp.
2262   If You Want A Bad Boy                                   PA0001971305          Warner-Tamerlane Publishing Corp.




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                                Track                               Reg. No.                                     Plaintiff
2263   Initiation                                              PA0001951618          Warner-Tamerlane Publishing Corp.
2264   Inside Interlewd                                        PA0001866129          Warner-Tamerlane Publishing Corp.
2265   Interlude                                               PA0001807226          Warner-Tamerlane Publishing Corp.
2266   Interlude4U                                             PA0001865878          Warner-Tamerlane Publishing Corp.
2267   Intro                                                   PA0001807226          Warner-Tamerlane Publishing Corp.
2268   It Did                                                  PA0001628194          Warner-Tamerlane Publishing Corp.
2269   It Will Be Me                                           PA0000988177          Warner-Tamerlane Publishing Corp.
2270   It's Five O' Clock Somewhere                            PA0001158580          Warner-Tamerlane Publishing Corp.
2271   It's Good                                               PA0001842432          Warner-Tamerlane Publishing Corp.
2272   It's Not Over                                           PA0001349172          Warner-Tamerlane Publishing Corp.
2273   Jesus For A Day                                         PA0001157410          Warner-Tamerlane Publishing Corp.
2274   Johnny Cash                                             PA0001292991          Warner-Tamerlane Publishing Corp.
2275   Just A Kiss                                             PA0001817035          Warner-Tamerlane Publishing Corp.
2276   Keep The Girl                                           PA0001935083          Warner-Tamerlane Publishing Corp.
2277   Knock You Down                                          PA0001767248          Warner-Tamerlane Publishing Corp.
2278   Ladies Go Wild                                          PA0001846093          Warner-Tamerlane Publishing Corp.
                                                               PAu002607508
2279 Lay It On Me                                                                    Warner-Tamerlane Publishing Corp.
                                                               PA0001114110
2280   LES                                                     PA0001773586          Warner-Tamerlane Publishing Corp.
2281   Let It Rock                                             PA0001624274          Warner-Tamerlane Publishing Corp.
2282   Let The Beat Build                                      PA0001621374          Warner-Tamerlane Publishing Corp.
2283   Let The Groove Get In                                   PA0001915504          Warner-Tamerlane Publishing Corp.
2284   Let's Make Love                                         PAu001996658          Warner-Tamerlane Publishing Corp.
2285   Lifeline                                                PA0001671748          Warner-Tamerlane Publishing Corp.
2286   Like We Never Loved At All                              PA0001290857          Warner-Tamerlane Publishing Corp.
2287   Lollipop                                                PA0001619781          Warner-Tamerlane Publishing Corp.
                                                               PAu002635077
2288 Lonely Road Of Faith                                                            Warner-Tamerlane Publishing Corp.
                                                               PA0001114106
2289   Lookin' At You                                          PA0001263491          Warner-Tamerlane Publishing Corp.
2290   Love Faces                                              PA0001856243          Warner-Tamerlane Publishing Corp.
2291   Love I've Found In You                                  PA0001817038          Warner-Tamerlane Publishing Corp.
2292   Love In This Club, Part II                              PA0001690182          Warner-Tamerlane Publishing Corp.
2293   Made To Be Together                                     PA0001856238          Warner-Tamerlane Publishing Corp.
2294   Main Title (From "Star Wars")                           PA0000062943          Warner-Tamerlane Publishing Corp.
2295   Mama's Broken Heart                                     PA0001790000          Warner-Tamerlane Publishing Corp.
2296   Marvin & Chardonnay                                     PA0001780731          Warner-Tamerlane Publishing Corp.
2297   Medicated                                               PA0001952869          Warner-Tamerlane Publishing Corp.
2298   MegaMan                                                 PA0001807233          Warner-Tamerlane Publishing Corp.
2299   Mercy                                                   PA0001913931          Warner-Tamerlane Publishing Corp.
2300   Mercy.1                                                 PA0001913931          Warner-Tamerlane Publishing Corp.
                                                               PAu002607511
2301 Midnight Train To Memphis                                                       Warner-Tamerlane Publishing Corp.
                                                               PA0001114112
2302   Miss Me                                                 PA0001728552          Warner-Tamerlane Publishing Corp.
2303   Moment 4 Life                                           PA0001739210          Warner-Tamerlane Publishing Corp.
2304   Momma                                                   PA0001648755          Warner-Tamerlane Publishing Corp.
2305   My Kinda Party                                          PA0001750920          Warner-Tamerlane Publishing Corp.
2306   Never Again                                             PA0001819832          Warner-Tamerlane Publishing Corp.
2307   Never Ever                                              PA0001659049          Warner-Tamerlane Publishing Corp.
2308   Nightmares Of The Bottom                                PA0001915461          Warner-Tamerlane Publishing Corp.
2309   No                                                      PA0001628202          Warner-Tamerlane Publishing Corp.
2310   One, Two Step                                           PA0001263489          Warner-Tamerlane Publishing Corp.
2311   Outro                                                   PA0001807226          Warner-Tamerlane Publishing Corp.
2312   Outside                                                 PA0001773713          Warner-Tamerlane Publishing Corp.
2313   P.Y.T. (Pretty Young Thing)                             PA0000159305          Warner-Tamerlane Publishing Corp.
2314   Paint This House                                        PA0001882750          Warner-Tamerlane Publishing Corp.
2315   Pak Man                                                 PA0001648771          Warner-Tamerlane Publishing Corp.
2316   Panic Prone                                             PA0001253726          Warner-Tamerlane Publishing Corp.
2317   Panty Wetter                                            PA0001865865          Warner-Tamerlane Publishing Corp.
2318   Payphone                                                PA0001849242          Warner-Tamerlane Publishing Corp.
2319   Phone Home                                              PA0001621245          Warner-Tamerlane Publishing Corp.
2320   Pick Up The Phone                                       PA0001263490          Warner-Tamerlane Publishing Corp.




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                                 Track                              Reg. No.                                     Plaintiff
2321   Play Your Cards                                         PA0001648743          Warner-Tamerlane Publishing Corp.
2322   Player's Prayer                                         PA0001387429          Warner-Tamerlane Publishing Corp.
2323   Playin' Hard                                            PA0001866123          Warner-Tamerlane Publishing Corp.
2324   Please Return My Call                                   PA0001771885          Warner-Tamerlane Publishing Corp.
2325   Pop That                                                PA0001861940          Warner-Tamerlane Publishing Corp.
2326   Popular                                                 PA0001741903          Warner-Tamerlane Publishing Corp.
2327   Prayin' For Daylight                                    PA0000978701          Warner-Tamerlane Publishing Corp.
2328   President Carter                                        PA0001807235          Warner-Tamerlane Publishing Corp.
2329   Pretty Girl's Lie                                       PA0001865867          Warner-Tamerlane Publishing Corp.
2330   Pusher Love Girl                                        PA0001915504          Warner-Tamerlane Publishing Corp.
2331   Radio                                                   PA0001630369          Warner-Tamerlane Publishing Corp.
2332   Rest Of Our Life                                        PA0001896429          Warner-Tamerlane Publishing Corp.
2333   Right Above It                                          PA0001741926          Warner-Tamerlane Publishing Corp.
2334   Rise Above                                              PA0001951621          Warner-Tamerlane Publishing Corp.
2335   Say Something                                           PA0001728554          Warner-Tamerlane Publishing Corp.
2336   See You In My Nightmares                                PA0001643088          Warner-Tamerlane Publishing Corp.
2337   See You When I See You                                  PA0001790669          Warner-Tamerlane Publishing Corp.
2338   Session One                                             PA0001848890          Warner-Tamerlane Publishing Corp.
2339   Sex In The Lounge                                       PA0001842417          Warner-Tamerlane Publishing Corp.
2340   Shattered Glass                                         PA0001632385          Warner-Tamerlane Publishing Corp.
2341   She Don't Have to Know                                  PA0001299028          Warner-Tamerlane Publishing Corp.
2342   She Will                                                PA0001807232          Warner-Tamerlane Publishing Corp.
2343   Shine                                                   PA0001778259          Warner-Tamerlane Publishing Corp.
2344   Shoot Me Down                                           PA0001915522          Warner-Tamerlane Publishing Corp.
2345   Shut It Down                                            PA0001870871          Warner-Tamerlane Publishing Corp.
2346   Simply Amazing                                          PA0001868036          Warner-Tamerlane Publishing Corp.
2347   Ski Mask Way                                            PA0001281578          Warner-Tamerlane Publishing Corp.
2348   So Special                                              PA0001807229          Warner-Tamerlane Publishing Corp.
2349   Somewhere Love Remains                                  PA0001817433          Warner-Tamerlane Publishing Corp.
2350   Spaceship Coupe                                         PA0001915506          Warner-Tamerlane Publishing Corp.
2351   St. Elsewhere                                           PA0001338251          Warner-Tamerlane Publishing Corp.
2352   Stop, Look, Listen (To Your Heart)                      EP0000286226          Warner-Tamerlane Publishing Corp.
2353   Straight Jacket Fashion                                 PA0001387418          Warner-Tamerlane Publishing Corp.
2354   Straight Up                                             PA0001808141          Warner-Tamerlane Publishing Corp.
2355   Strawberry Bubblegum                                    PA0001915506          Warner-Tamerlane Publishing Corp.
2356   StreetLove                                              PA0001387433          Warner-Tamerlane Publishing Corp.
2357   Summon The Heroes                                       PA0000844744          Warner-Tamerlane Publishing Corp.
2358   Sunrise                                                 PA0001773580          Warner-Tamerlane Publishing Corp.
2359   Sunshine & Summertime                                   PA0001290857          Warner-Tamerlane Publishing Corp.
2360   Take It Outside                                         PA0001694081          Warner-Tamerlane Publishing Corp.
2361   Take You Home                                           PA0001387431          Warner-Tamerlane Publishing Corp.
2362   Tapout                                                  PA0001976125          Warner-Tamerlane Publishing Corp.
2363   Tattoos On This Town                                    PA0001790667          Warner-Tamerlane Publishing Corp.
2364   Tell Somebody                                           PA0001842284          Warner-Tamerlane Publishing Corp.
2365   Texas Was You                                           PA0001790669          Warner-Tamerlane Publishing Corp.
2366   That Girl                                               PA0001915505          Warner-Tamerlane Publishing Corp.
2367   That Power                                              PA0001773578          Warner-Tamerlane Publishing Corp.
2368   The Boogie Monster                                      PA0001338253          Warner-Tamerlane Publishing Corp.
2369   The Clincher                                            PA0001253725          Warner-Tamerlane Publishing Corp.
2370   The Fad                                                 PA0001387418          Warner-Tamerlane Publishing Corp.
2371   Them Boys                                               PA0001693846          Warner-Tamerlane Publishing Corp.
2372   Thug Style                                              PA0001263491          Warner-Tamerlane Publishing Corp.
2373   Till I Die                                              PA0001842278          Warner-Tamerlane Publishing Corp.
2374   Tomorrow In The Bottle                                  PA0001780008          Warner-Tamerlane Publishing Corp.
2375   Transformer                                             PA0001338256          Warner-Tamerlane Publishing Corp.
2376   Trumpet Lights                                          PA0001842283          Warner-Tamerlane Publishing Corp.
2377   Tunnel Vision                                           PA0001915506          Warner-Tamerlane Publishing Corp.
2378   Turnin Me On                                            PA0001881520          Warner-Tamerlane Publishing Corp.
2379   Two Shots                                               PA0001842435          Warner-Tamerlane Publishing Corp.
2380   Valentine                                               PA0001387428          Warner-Tamerlane Publishing Corp.
2381   Vitamin R (Leading Us Along)                            PA0001253726          Warner-Tamerlane Publishing Corp.




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                                Track                               Reg. No.                                     Plaintiff
2382   Wait A Minute                                           PA0001697038          Warner-Tamerlane Publishing Corp.
2383   Waitin' On a Woman                                      PA0001288292          Warner-Tamerlane Publishing Corp.
2384   Wanted You More                                         PA0001817202          Warner-Tamerlane Publishing Corp.
2385   Watch n' Learn                                          PA0001842405          Warner-Tamerlane Publishing Corp.
2386   We Been On                                              PA0001995834          Warner-Tamerlane Publishing Corp.
2387   We Belong To The Music                                  PA0001780088          Warner-Tamerlane Publishing Corp.
2388   Well Enough Alone                                       PA0001387417          Warner-Tamerlane Publishing Corp.
                                                               PAu002625391
2389 What I Learned Out On The Road                                                  Warner-Tamerlane Publishing Corp.
                                                               PA0001114109
2390   What You Wanna Do                                       PA0001387432          Warner-Tamerlane Publishing Corp.
2391   When U Love Someone                                     PA0001638755          Warner-Tamerlane Publishing Corp.
2392   When You Were Mine                                      PA0001817032          Warner-Tamerlane Publishing Corp.
2393   Wide Open                                               PA0001935080          Warner-Tamerlane Publishing Corp.
2394   Wild Ones                                               PA0001883945          Warner-Tamerlane Publishing Corp.
2395   Wind Beneath My Wings / He Hawai`i Au                   PA0000154386          Warner-Tamerlane Publishing Corp.
2396   Wipe Your Eyes                                          PA0001811795          Warner-Tamerlane Publishing Corp.
2397   Work Hard, Play Hard                                    PA0001951615          Warner-Tamerlane Publishing Corp.
2398   Wut We Doin?                                            PA0001846684          Warner-Tamerlane Publishing Corp.
2399   You                                                     PA0001387424          Warner-Tamerlane Publishing Corp.
2400   You Are Everything                                      EP0000291953          Warner-Tamerlane Publishing Corp.
                                                               PAu002607516
2401 You Never Met A Motherf**Ker Quite Like Me                                      Warner-Tamerlane Publishing Corp.
                                                               PA0001114102
2402   You Will Be Mine                                        PAu001996658          Warner-Tamerlane Publishing Corp.
2403   TRUE                                                    PA0000895879          Warner-Tamerlane Publishing Corp.
2404   Better In The Long Run                                  PA0001790002          Warner-Tamerlane Publishing Corp. / Warner/Chappell Music, Inc.
2405   No Lie                                                  PA0001846688          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2406   Outta Control                                           PA0001298486          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2407   All Me                                                  PA0001967814          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2408   Amen                                                    PA0001842305          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2409   Bang                                                    PA0001739089          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2410   Fire                                                    PA0001643192          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2411   I Have Never Been To Memphis                            PA0001969119          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2412   Karma                                                   PA0001739133          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2413   Man Down (Censored)                                     PA0001693409          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2414   Mine                                                    PA0001918125          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2415   Monster                                                 PA0001806092          Warner-Tamerlane Publishing Corp. / WB Music Corp.
2416   Outlaw                                                  PA0000754054          Warner-Tamerlane Publishing Corp. / WB Music Corp.
                                                                                     Warner-Tamerlane Publishing Corp. / WB Music Corp. / Universal
2417 Rocket                                                    PA0001918124
                                                                                     Music - Z Tunes LLC
                                                                                     Warner-Tamerlane Publishing Corp./ WB Music Corp. / Universal
2418 Come & Go                                                 PA0001643195
                                                                                     Music Corp.
2419   1 Mo Time                                               PA0001765676          Warner/Chappell Music, Inc.
2420   Better In Time                                          PA0001740494          Warner/Chappell Music, Inc.
2421   Friday                                                  PA0001765676          Warner/Chappell Music, Inc.
2422   I Am The Club                                           PA0001765676          Warner/Chappell Music, Inc.
2423   Position Of Power                                       PA0001868739          Warner/Chappell Music, Inc.
2424   So Amazing                                              PA0001868740          Warner/Chappell Music, Inc.
2425   Stand                                                   PA0001345399          Warner/Chappell Music, Inc.
2426   Trip To Your Heart                                      PA0001750219          Warner/Chappell Music, Inc.
                                                               EP0000027412
2427 Bouquet of Roses                                                                Warner/Chappell Music, Inc.
                                                               R607912
2428 Breakin' Up                                               PA0001166321          Warner/Chappell Music, Inc.
                                                               EP0000094728
2429 Cry Me a River                                                                  Warner/Chappell Music, Inc.
                                                               RE0000169218
2430 Faithful                                                  PA0001299024          Warner/Chappell Music, Inc.
2431 Hollaback Girl                                            PA0001160423          Warner/Chappell Music, Inc.
2432 Little Miss Strange                                       Eu0000081092          Warner/Chappell Music, Inc.
                                                               EP0000061055
2433 My Funny Valentine                                                              Warner/Chappell Music, Inc.
                                                               R333857
2434 Orange County Girl                                        PA0001166322          Warner/Chappell Music, Inc.
2435 Talk About Our Love                                       PA0001281568          Warner/Chappell Music, Inc.




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                                Track                               Reg. No.                                       Plaintiff
2436   U Started It                                            PA0001166323          Warner/Chappell Music, Inc.
2437   You Look So Good In Love                                PAu000502409          Warner/Chappell Music, Inc.
2438   Yummy                                                   PA0001166324          Warner/Chappell Music, Inc.
2439   (One Of Those) Crazy Girls                              PA0001854435          WB Music Corp.
2440   ***Flawless                                             PA0001918122          WB Music Corp.
2441   1+1                                                     PA0001861929          WB Music Corp.
2442   Achilles Last Stand                                     Eu0000655755          WB Music Corp.
2443   Afrodisiac                                              PA0001236712          WB Music Corp.
2444   All Her Love                                            PA0001087582          WB Music Corp.
2445   All I Ask For                                           PA0001146376          WB Music Corp.
2446   All In The Name Of...                                   PA0000354504          WB Music Corp.
2447   All My Love                                             PA0000078104          WB Music Corp.
2448   All Over The Road                                       PA0001859563          WB Music Corp.
2449   Already Gone                                            PA0001249431          WB Music Corp.
2450   And The Radio Played                                    PA0001889065          WB Music Corp.
2451   Anklebiters                                             PA0001854436          WB Music Corp.
2452   Announcement                                            PA0001656977          WB Music Corp.
2453   Aw Naw                                                  PA0001887674          WB Music Corp.
2454   Ayo Technology                                          PA0001876618          WB Music Corp.
2455   Babe I'm Gonna Leave You                                EP0000256803          WB Music Corp.
2456   Baby You Belong                                         PA0001147137          WB Music Corp.
2457   Bad Bitch                                               PA0001245809          WB Music Corp.
2458   Bad Boy Boogie                                          PA0000354502          WB Music Corp.
2459   Bad News                                                PA0001633768          WB Music Corp.
2460   bang bang bang                                          PA0001750215          WB Music Corp.
2461   Basement                                                PA0001075310          WB Music Corp.
2462   BBC                                                     PA0001858826          WB Music Corp.
2463   Be Alone                                                PA0001854435          WB Music Corp.
2464   Berzerk                                                 PA0001863184          WB Music Corp.
2465   Best Thing I Never Had                                  PA0001752857          WB Music Corp.
2466   Betty's a Bombshell                                     PA0001762863          WB Music Corp.
2467   Big Pimpin'/Papercut                                    PA0001080612          WB Music Corp.
2468   Birthday Cake                                           PA0001841920          WB Music Corp.
2469   Black Dog                                               EP0000299753          WB Music Corp.
2470   Blood Brothers                                          PA0001870874          WB Music Corp.
2471   Blue Clear Sky                                          PA0000828422          WB Music Corp.
2472   Born For This                                           PA0001595081          WB Music Corp.
2473   Bottom                                                  PA0001225978          WB Music Corp.
2474   Bring Me Down                                           PA0001311759          WB Music Corp.
2475   Brokenhearted                                           PA0000757404          WB Music Corp.
2476   Buried Alive Interlude                                  PA0001869935          WB Music Corp.
2477   Business                                                PA0001118664          WB Music Corp.
2478   California Gurls                                        PA0001753646          WB Music Corp.
2479   California Gurls (Armand Van Helden Remix)              PA0001753646          WB Music Corp.
2480   Change My Mind                                          PA0001204552          WB Music Corp.
2481   Chasin' That Neon Rainbow                               PA0000458323          WB Music Corp.
2482   Chattahoochee                                           PA0000587430          WB Music Corp.
2483   Check On It                                             PA0001163316          WB Music Corp.
2484   Children Of The Korn                                    PA0001058922          WB Music Corp.
2485   Chloe                                                   PA0001762863          WB Music Corp.
2486   Circle The Drain                                        PA0001753641          WB Music Corp.
2487   Clique                                                  PA0001913932          WB Music Corp.
2488   Close Your Eyes and Count to Ten                        PA0001762863          WB Music Corp.
2489   Closure                                                 PA0001859504          WB Music Corp.
2490   Cloud 9                                                 PA0001262375          WB Music Corp.
2491   Clumsy                                                  PA0001165468          WB Music Corp.
2492   Coffee                                                  PA0001779668          WB Music Corp.
2493   Colours                                                 PA0001397703          WB Music Corp.
2494   Come As You Are                                         PA0001236710          WB Music Corp.
                                                               EP0000001893
2495 Come Rain or Come Shine                                                         WB Music Corp.
                                                               R547891




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                                 Track                              Reg. No.                          Plaintiff
2496   Comfortable Liar                                        PA0001859610          WB Music Corp.
2497   Communication Breakdown                                 EP0000256801          WB Music Corp.
2498   Countdown                                               PA0001861897          WB Music Corp.
2499   Crash My Party                                          PA0001870878          WB Music Corp.
2500   Criminal                                                PA0001697247          WB Music Corp.
2501   Cruel and Beautiful World                               PA0001762863          WB Music Corp.
2502   crushcrushcrush                                         PA0001595045          WB Music Corp.
2503   D'yer Mak'er                                            Eu0000402445          WB Music Corp.
2504   Damage                                                  PA0001395679          WB Music Corp.
2505   Dance For You                                           PA0002096977          WB Music Corp.
2506   Dance Real Slow                                         PA0001859563          WB Music Corp.
2507   Dancing On Glass                                        PA0000354501          WB Music Corp.
2508   Daydreaming                                             PA0001854435          WB Music Corp.
2509   Daylight                                                PA0001849227          WB Music Corp.
2510   Dazed And Confused                                      EP0000256809          WB Music Corp.
2511   Deceiver                                                PA0001697227          WB Music Corp.
2512   Dirt Off Your Shoulder/Lying From You                   PA0001937215          WB Music Corp.
2513   Divide                                                  PA0001697247          WB Music Corp.
2514   Don't Rock The Jukebox                                  PA0000525633          WB Music Corp.
2515   Don't Wake Me Up                                        PA0001842282          WB Music Corp.
2516   Dopefriend's Diner                                      PA0001696337          WB Music Corp.
2517   Double Bubble Trouble                                   PA0001919079          WB Music Corp.
2518   Dressin' Up                                             PA0001816541          WB Music Corp.
2519   Drift And Die                                           PA0001075312          WB Music Corp.
2520   Drumming Song                                           PA0001892793          WB Music Corp.
2521   E.T.                                                    PA0001753644          WB Music Corp.
2522   Elevator                                                PA0001647059          WB Music Corp.
2523   End Of Time                                             PA0001861922          WB Music Corp.
2524   Enough                                                  PA0001697242          WB Music Corp.
2525   F*ckwithmeyouknowigotit                                 PA0001858846          WB Music Corp.
2526   Facade                                                  PA0001697247          WB Music Corp.
2527   Fall                                                    PA0001884084          WB Music Corp.
2528   Fast In My Car                                          PA0001854436          WB Music Corp.
2529   Fences                                                  PA0001595053          WB Music Corp.
2530   Finally                                                 PA0001236713          WB Music Corp.
2531   Firework                                                PA0001753920          WB Music Corp.
2532   Five Years Dead                                         PA0000332227          WB Music Corp.
2533   Focus                                                   PA0001236716          WB Music Corp.
2534   For A Pessimist, I'm Pretty Optimistic                  PA0001595045          WB Music Corp.
2535   For My Dawgs                                            PA0001847144          WB Music Corp.
                                                               PAu002635078
2536 Forever                                                                         WB Music Corp.
                                                               PA0001114104
2537   Forfeit                                                 PA0001859504          WB Music Corp.
2538   Freak Of The World                                      PA0001225980          WB Music Corp.
2539   Fu-Gee-La                                               PA0000794856          WB Music Corp.
2540   Future                                                  PA0001854435          WB Music Corp.
2541   Get Your Money Up                                       PA0001881522          WB Music Corp.
2542   Girls, Girls, Girls                                     PA0000342182          WB Music Corp.
2543   Gladiator                                               PA0001731495          WB Music Corp.
2544   Good Times Bad Times                                    EP0000256802          WB Music Corp.
2545   Gorilla                                                 PA0001869823          WB Music Corp.
2546   Grow Up                                                 PA0001854435          WB Music Corp.
2547   Gunz Come Out                                           PA0001281577          WB Music Corp.
2548   Hallelujah                                              PA0001595045          WB Music Corp.
2549   Hate To See Your Heart Break                            PA0001854435          WB Music Corp.
2550   Haunted                                                 PA0001697247          WB Music Corp.
2551   Heartache That Don't Stop Hurting                       PA0001727379          WB Music Corp.
2552   Heartbreaker                                            EP0000267881          WB Music Corp.
2553   Heartland                                               PA0000643056          WB Music Corp.
2554   Hello                                                   PA0001789865          WB Music Corp.
2555   Here In The Real World                                  PA0000458321          WB Music Corp.




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                              Track                                 Reg. No.                          Plaintiff
2556   Hey Hey What Can I Do?                                  Eu0000222687          WB Music Corp.
2557   Hold On, We're Going Home                               PA0001891428          WB Music Corp.
2558   Home Sweet Home                                         PA0000269462          WB Music Corp.
2559   Houses Of The Holy                                      Eu0000557533          WB Music Corp.
2560   Human Nature                                            PA0000158773          WB Music Corp.
2561   Hummingbird Heartbeat                                   PA0001753638          WB Music Corp.
                                                               PAu002504855
2562 I Feel Like I'm Forgetting Something                                            WB Music Corp.
                                                               PA0001120877
2563   I Just Wanna F.                                         PA0001778193          WB Music Corp.
2564   I Tried                                                 PA0001236714          WB Music Corp.
2565   I'm So Sure                                             PA0001669444          WB Music Corp.
2566   If I Could Love You                                     PA0001657879          WB Music Corp.
2567   Immigrant Song                                          Eu0000212957          WB Music Corp.
2568   In The Evening                                          PA0000078099          WB Music Corp.
2569   Indestructible                                          PA0001697227          WB Music Corp.
2570   Inhale                                                  PA0001731503          WB Music Corp.
2571   Inside The Fire                                         PA0001697227          WB Music Corp.
2572   Interlude: Holiday                                      PA0001854437          WB Music Corp.
2573   Interlude: I'm Not Angry Anymore                        PA0001854435          WB Music Corp.
2574   Interlude: Moving On                                    PA0001854435          WB Music Corp.
2575   It Matters To Me                                        PAu001966659          WB Music Corp.
2576   Itchin' On A Photograph                                 PA0001762863          WB Music Corp.
2577   Izzo/In The End                                         PA0001038342          WB Music Corp.
2578   Jigga What/Faint                                        PA0001937227          WB Music Corp.
2579   Just Stop                                               PA0001296198          WB Music Corp.
2580   Karmageddon                                             PA0001919074          WB Music Corp.
2581   Kashmir                                                 Eu0000557529          WB Music Corp.
2582   Keep Dancin' On Me                                      PA0001659055          WB Music Corp.
2583   Last Friday Night (T.G.I.F.)                            PA0001753637          WB Music Corp.
2584   Last Hope                                               PA0001854435          WB Music Corp.
2585   Let Me Blow Ya Mind                                     PA0001060407          WB Music Corp.
2586   Let The Flames Begin                                    PA0001595049          WB Music Corp.
2587   Light Up                                                PA0001732180          WB Music Corp.
2588   Like A Surgeon                                          PA0001659058          WB Music Corp.
2589   Little Man                                              PA0001318139          WB Music Corp.
2590   Livin' On Love                                          PA0000727505          WB Music Corp.
2591   Locked Out of Heaven                                    PA0001869823          WB Music Corp.
2592   Look In My Eyes                                         PA0001245810          WB Music Corp.
2593   Lost                                                    PA0001669756          WB Music Corp.
2594   Love Her Like She's Leavin'                             PA0001769705          WB Music Corp.
2595   Love On Top                                             PA0001862938          WB Music Corp.
2596   Love Will Save Your Soul                                PA0001762863          WB Music Corp.
2597   Lovely Cup                                              PA0001762863          WB Music Corp.
2598   Make Her Say                                            PA0001847910          WB Music Corp.
2599   Marvins Room / Buried Alive Interlude                   PA0001869935          WB Music Corp.
2600   MATANGI                                                 PA0001919076          WB Music Corp.
2601   Me & U                                                  PA0001627318          WB Music Corp.
2602   Merry Go Round                                          PA0001657844          WB Music Corp.
2603   Midnight In Montgomery                                  PA0000533558          WB Music Corp.
2604   Moonshine                                               PA0001669444          WB Music Corp.
2605   Murder To Excellence                                    PA0001816414          WB Music Corp.
2606   My Dad's Gone Crazy                                     PA0001118665          WB Music Corp.
2607   Naked Kids                                              PA0001762863          WB Music Corp.
2608   Never Change                                            PA0001311759          WB Music Corp.
2609   Never Enough                                            PA0001284523          WB Music Corp.
2610   Never Let Me Down                                       PA0001159068          WB Music Corp.
2611   Never Say Never                                         PA0000949112          WB Music Corp.
2612   No Angel                                                PA0001918140          WB Music Corp.
2613   No Hands                                                PA0001739078          WB Music Corp.
2614   No Quarter                                              EP0000316459          WB Music Corp.
2615   No Trash in My Trailer                                  PA0001056014          WB Music Corp.




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                                Track                               Reg. No.                          Plaintiff
2616   Nobody Feelin' No Pain                                  PA0001904211          WB Music Corp.
2617   Nobody Told Me                                          PA0001075310          WB Music Corp.
2618   Nobody's Fault But Mine                                 Eu0000655751          WB Music Corp.
2619   Not Like The Movies                                     PA0001753643          WB Music Corp.
2620   Nothing Left To Lose                                    PA0001249431          WB Music Corp.
2621   Notorious Thugs                                         PA0001005836          WB Music Corp.
2622   Now                                                     PA0001854435          WB Music Corp.
2623   Numb/Encore                                             PA0001160198          WB Music Corp.
2624   Oceans                                                  PA0001858843          WB Music Corp.
2625   Oh!                                                     PA0001245811          WB Music Corp.
2626   On And On                                               PA0001745026          WB Music Corp.
2627   On My Highway                                           PA0001935081          WB Music Corp.
2628   One For Me                                              PA0001396264          WB Music Corp.
2629   Out Like That                                           PA0001870872          WB Music Corp.
2630   Out Of My Head                                          PA0001153778          WB Music Corp.
2631   Out on the Town                                         PA0001791458          WB Music Corp.
2632   Over The Hills And Far Away                             EP0000314551          WB Music Corp.
2633   Parasite                                                PA0001677916          WB Music Corp.
2634   Part II                                                 PA0001854436          WB Music Corp.
2635   Part Of Me                                              PA0001845827          WB Music Corp.
2636   Peacock                                                 PA0001753921          WB Music Corp.
2637   Perfect Insanity                                        PA0001687498          WB Music Corp.
2638   Points Of Authority/99 Problems/One Step Closer         PA0001937228          WB Music Corp.
2639   Pretty Hurts                                            PA0001918127          WB Music Corp.
2640   Primal Scream                                           PA0000549203          WB Music Corp.
2641   Proof                                                   PA0001854436          WB Music Corp.
2642   Punch Drunk Love                                        PA0001656968          WB Music Corp.
2643   Pushin'                                                 PA0001087577          WB Music Corp.
2644   Radiate                                                 PA0001657838          WB Music Corp.
2645   Ramble On                                               EP0000267883          WB Music Corp.
2646   Red Camaro                                              PA0001878244          WB Music Corp.
2647   Renegade                                                PA0001038351          WB Music Corp.
2648   Rhinestone Cowboy                                       Eu0000459595          WB Music Corp.
2649   Rich Girl                                               PA0001274357          WB Music Corp.
2650   Rock And Roll                                           EP0000298501          WB Music Corp.
2651   Rock The House                                          PA0001066507          WB Music Corp.
2652   Run The World (Girls)                                   PA0001861905          WB Music Corp.
2653   Sadiddy                                                 PA0001236712          WB Music Corp.
2654   Said                                                    PA0001153778          WB Music Corp.
2655   Same Girl                                               PAu003411255          WB Music Corp.
2656   Same Ol' Situation (S.O.S.)                             PA0000440234          WB Music Corp.
2657   Same Old You                                            PA0001789997          WB Music Corp.
2658   Say What You Say                                        PA0001118663          WB Music Corp.
2659   Schoolin' Life                                          PA0002096976          WB Music Corp.
2660   Send The Pain Below                                     PA0001859504          WB Music Corp.
2661   Sex 4 Suga                                              PA0001731496          WB Music Corp.
2662   She Couldn't Change Me                                  PA0001095336          WB Music Corp.
                                                               PA0000586645
2663 She's Got the Rhythm (And I Got the Blues)                                      WB Music Corp.
                                                               PAu001522810
2664   Shit Hits The Fan                                       PA0001245810          WB Music Corp.
2665   Should I Go                                             PA0001236715          WB Music Corp.
2666   Shout At The Devil                                      PA0000193923          WB Music Corp.
2667   Shout Out To The Real                                   PA0001852372          WB Music Corp.
2668   Since I've Been Loving You                              EP0000319292          WB Music Corp.
2669   Single Ladies (Put A Ring On It)                        PA0001630370          WB Music Corp.
2670   Slow                                                    PA0001762863          WB Music Corp.
2671   Slow Dance                                              PA0001767256          WB Music Corp.
2672   Smash Into You                                          PA0001624967          WB Music Corp.
2673   Snake In The Grass                                      PA0001739078          WB Music Corp.
2674   Somebody Stand By Me                                    PA0000705224          WB Music Corp.




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                               Track                                Reg. No.                          Plaintiff
                                                               E00000651512
2675 Someone To Watch Over Me                                                        WB Music Corp.
                                                               EP234827
2676   Spin You Around                                         PA0001249431          WB Music Corp.
2677   Spun                                                    PA0001762863          WB Music Corp.
2678   Stairway To Heaven                                      EP0000305686          WB Music Corp.
2679   Stricken                                                PA0001296198          WB Music Corp.
2680   Stupify                                                 PA0001000622          WB Music Corp.
2681   Sumthin' For Nuthin'                                    PA0000332225          WB Music Corp.
2682   Superpower                                              PA0001918119          WB Music Corp.
2683   Sydney                                                  PA0001225980          WB Music Corp.
2684   Teenage Dream                                           PA0001753645          WB Music Corp.
2685   Teenage Dream (Kaskade Club Remix)                      PA0001753645          WB Music Corp.
2686   Tell Me What Your Name Is                               PA0001659058          WB Music Corp.
2687   That's What You Get                                     PA0001595073          WB Music Corp.
2688   The Chill Of An Early Fall                              PA0000472652          WB Music Corp.
2689   The Curse                                               PA0001697242          WB Music Corp.
2690   The Night                                               PA0001697227          WB Music Corp.
2691   The One That Got Away                                   PA0001753639          WB Music Corp.
2692   The Real Slim Shady                                     PA0001040874          WB Music Corp.
2693   The Red                                                 PA0001859504          WB Music Corp.
2694   The Setup                                               PA0001245808          WB Music Corp.
2695   The Song Remains The Same                               EP0000316464          WB Music Corp.
2696   The Truth                                               PA0001935087          WB Music Corp.
2697   The Way You Love Me                                     PA0000977102          WB Music Corp.
                                                               PA0001225979
2698 Think                                                                           WB Music Corp.
                                                               PA0001204554
2699   Thinking About You                                      PA0001657895          WB Music Corp.
2700   Till I Get There                                        PA0001739115          WB Music Corp.
2701   Time Flies                                              PA0001225979          WB Music Corp.
2702   Tommie Sunshine's Megasix Smash-Up                      PA0001753640          WB Music Corp.
2703   Tongue Tied                                             PA0001762863          WB Music Corp.
2704   Too Fast For Love                                       PA0000152365          WB Music Corp.
2705   Torn                                                    PA0001697247          WB Music Corp.
2706   Touch My Body                                           PA0001769539          WB Music Corp.
2707   Toyfriend                                               PA0001864275          WB Music Corp.
2708   Toyfriend (Wynter Gordon Continous Mix Version)         PA0001864275          WB Music Corp.
2709   Trampled Underfoot                                      Eu0000557531          WB Music Corp.
2710   Treasure                                                PA0001869830          WB Music Corp.
2711   U Know What's Up                                        PA0001087586          WB Music Corp.
2712   Umbrella                                                PA0001602373          WB Music Corp.
2713   Until The End Of Time                                   PA0001053379          WB Music Corp.
2714   Until The End Of Time                                   PA0001015657          WB Music Corp.
2715   Versus                                                  PA0001858836          WB Music Corp.
2716   We Are Broken                                           PA0001595053          WB Music Corp.
2717   When It Rains                                           PA0001595076          WB Music Corp.
2718   When The Levee Breaks                                   EP0000319303          WB Music Corp.
2719   Who Am I Living For?                                    PA0001753640          WB Music Corp.
2720   Whole Lotta Love                                        PA0000267876          WB Music Corp.
2721   Why They Call It Falling                                PA0001032265          WB Music Corp.
2722   Without You                                             PA0000440233          WB Music Corp.
2723   www.memory                                              PA0001013750          WB Music Corp.
2724   XO                                                      PA0001918135          WB Music Corp.
2725   Y.A.L.A.                                                PA0001919078          WB Music Corp.
2726   You Can't Win                                           PA0001789856          WB Music Corp.
2727   You Love Me                                             PA0001789870          WB Music Corp.
2728   You're All I Need                                       PA0000354505          WB Music Corp.
2729   (Drop Dead) Beautiful                                   PA0001750218          WB Music Corp.
2730   Already There                                           PA0001768165          WB Music Corp.
2731   B.B.K.                                                  PA0000776191          WB Music Corp.
2732   Crazy                                                   PA0001858858          WB Music Corp.
2733   Dead Bodies Everywhere                                  PA0000776191          WB Music Corp.




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                                 Track                              Reg. No.                                     Plaintiff
2734   Freak On A Leash                                        PA0000776191          WB Music Corp.
2735   Go                                                      PA0001302099          WB Music Corp.
2736   Got The Life                                            PA0000776191          WB Music Corp.
2737   Haterade                                                PA0001778471          WB Music Corp.
2738   Homies                                                  PA0001847137          WB Music Corp.
2739   Inhale                                                  PA0001395698          WB Music Corp.
2740   It's On!                                                PA0000776191          WB Music Corp.
2741   Justin                                                  PA0000776191          WB Music Corp.
2742   Miracle                                                 PA0001595049          WB Music Corp.
2743   My Gift To You                                          PA0000776191          WB Music Corp.
2744   Payback                                                 PA0001969099          WB Music Corp.
2745   Pearl                                                   PA0001753642          WB Music Corp.
2746   Pretty                                                  PA0000776191          WB Music Corp.
2747   Reclaim My Place                                        PA0000776191          WB Music Corp.
2748   Seed                                                    PA0000776191          WB Music Corp.
2749   Shut It Down                                            PA0001728551          WB Music Corp.
2750   We are Young                                            PA0001791456          WB Music Corp.
2751   What A World                                            PA0001395699          WB Music Corp.
2752   Mr. Know It All                                         PA0001851190          WB Music Corp. / Universal Music Corp.
2753   Can't Stand The Rain                                    PA0001864761          WB Music Corp. / W.B.M. Music Corp.
2754   Life As We Know It                                      PA0001879182          WB Music Corp. / W.B.M. Music Corp.
2755   Long Teenage Goodbye                                    PA0001867241          WB Music Corp. / W.B.M. Music Corp.
2756   2 Reasons                                               PA0001865859          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2757   Ass Like That                                           PA0001284525          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2758   Beach Is Better                                         PA0001858808          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2759   Big Weenie                                              PA0001284525          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2760   Bitches & Bottles (Let's Get It Started)                PA0001852363          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2761   Blow Remix                                              PA0001918139          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2762   Blue                                                    PA0001918115          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2763   Bricksquad                                              PA0001739083          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2764   Bustin' At 'Em                                          PA0001739055          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2765   But I Will                                              PA0000669975          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2766   Check Me Out                                            PA0001865883          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2767   Coffee Shop                                             PA0001858764          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2768   Crack A Bottle                                          PA0001848051          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2769   Crown                                                   PA0001858816          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2770   Dem Haters                                              PA0001317458          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2771   Do You Know What You Have                               PA0001882749          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2772   Drive                                                   PA0001870025          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2773   Drunk in Love                                           PA0001918132          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2774   Encore                                                  PA0001284526          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2775   Evil Deeds                                              PA0001284525          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2776   F.U.T.W.                                                PA0001858842          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2777   F**k The Club Up                                        PA0001847136          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2778   F**k This Industry                                      PA0001739132          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2779   G Check                                                 PA0001739116          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2780   Gimme Whatcha Got                                       PA0001732722          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2781   Grove St. Party                                         PA0001739117          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2782   Haunted                                                 PA0001918115          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2783   Heaven                                                  PA0001915115          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2784   Holy Grail                                              PA0001858794          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2785   How Forever Feels                                       PA0001044172          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2786   Jealous                                                 PA0001918143          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2787   La Familia                                              PA0001858842          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2788   Lift Off                                                PA0001768255          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2789   Live By The Gun                                         PA0001746038          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2790   Living The Life                                         PA0001648817          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2791   Love Money Party                                        PA0001870000          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2792   Made In America                                         PA0001768256          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2793   Mirror                                                  PA0001842434          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2794   Mosh                                                    PA0001284524          WB Music Corp. / Warner-Tamerlane Publishing Corp.




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                                                            EXHIBIT B - MUSICAL COMPOSITIONS

                               Track                                Reg. No.                                    Plaintiff
2795   My Wild Frontier                                        PA0000901850          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2796   Neva End                                                PA0001856290          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2797   New Day                                                 PA0001941862          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2798   Nickels And Dimes                                       PA0001858821          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2799   No Love                                                 PA0001735858          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2800   Panty Droppa (Intro)                                    PA0001703149          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2801   Part II (On The Run)                                    PA0001858831          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2802   Partition                                               PA0001918144          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2803   Piece Of My Heart                                       PA0000669975          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2804   Pon de Replay                                           PA0001311248          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2805   Pound Cake / Paris Morton Music 2                       PA0001967812          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2806   Rain Man                                                PA0001284524          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2807   Revolver                                                PA0001764628          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2808   Ridaz                                                   PA0001848889          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2809   Run This Town                                           PA0001678122          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2810   Saving Amy                                              PA0001694078          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2811   Shine                                                   PA0001305505          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2812   Smoke, Drank                                            PA0001847147          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2813   SMS (Bangerz)                                           PA0001870020          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2814   Somewhereinamerica                                      PA0001858818          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2815   Stronger                                                PA0001597242          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2816   Sugar                                                   PA0001638753          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2817   Swagger Jagger                                          PA0001884104          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2818   Take You                                                PA0001884089          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2819   Tattoo                                                  PA0001872991          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2820   The Big One                                             PA0001945087          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2821   Timber                                                  PA0001868393          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2822   Truth Gonna Hurt You                                    PA0001852655          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2823   TTG (Trained To Go)                                     PA0001739067          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2824   Turn On The Lights                                      PA0001852654          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2825   Two More Lonely People                                  PA0001741421          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2826   Underground/Ken Kaniff                                  PA0001848054          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2827   We Can't Stop                                           PA0001870026          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2828   Welcome To The Jungle                                   PA0001816412          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2829   Who Gon Stop Me                                         PA0001850662          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2830   Wild One                                                PA0000901850          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2831   Worst Behavior                                          PA0001967813          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2832   You Deserve It                                          PA0001808144          WB Music Corp. / Warner-Tamerlane Publishing Corp.
2833   You Give Me Love                                        PA0000901849          WB Music Corp. / Warner-Tamerlane Publishing Corp.
                                                                                     WB Music Corp. / Warner-Tamerlane Publishing Corp. / Unichappell
2834 Ni**as In Paris                                           PA0001762035
                                                                                     Music, Inc.
2835 Cop Car                                                   PA0001878240          WB Music Corp. / Warner/Chappell Music, Inc.
                                                               Eu0000845843
2836 Don't Let Me Be Misunderstood                                                   WB Music Corp. / Warner/Chappell Music, Inc.
                                                               EP0000198593
                                                               EP0000198593
2837 Don't Let Me Be Misunderstood                                                   WB Music Corp. / Warner/Chappell Music, Inc.
                                                               RE0000650481
2838 Radio                                                     PA0001939474          WB Music Corp. / Warner/Chappell Music, Inc.
                                                               EU0000887417
2839 Streets Of Laredo                                                               WB Music Corp. / Warner/Chappell Music, Inc.
                                                               RE0000617611
2840 Thank God For Hometowns                                   PA0001848754          WB Music Corp. / Warner/Chappell Music, Inc.




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